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 5
                                    UNITED STATES DISTRICT COURT
 6
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                         SACRAMENTO DIVISION
 8
 9   UNITED STATES OF AMERICA,                           Case No. 2:18-CR-119-WBS-1
10                 Plaintiff,                            DEFENDANT’S REPLY AND MOTION FOR
                                                         DISMISSAL TO THE GOVERNMENT’S
11                         v.                            OPPOSITION TO DEFENDANT’S RENEWED
                                                         MOTION FOR DISCOVERY [DE 87];
12   FIRDOS SHEIKH,                                      MEMORANDUM OF POINTS AND
                                                         AUTHORITIES
13                 Defendant.
                                                         Hearing Date: March 9, 2020
14                                                       Time:         9:00 a.m.
15                                                       Trial Date: TBD
16                                                       Judge: Hon. William B. Shubb
                                                         Courtroom: Five (14th Floor)
17
18          Defendant Firdos Sheikh, M.D. (“Dr. Sheikh” or “Defendant”), by and through her counsel of
19   record, Yasin M. Almadani, hereby files the above-captioned reply and motion for dismissal necessitated
20   by new Brady violations found in the government’s latest opposition and elsewhere independently by
21   the Defense. This filing is based upon the attached memorandum of points and authorities, the files and
22   records in this case, and such further evidence and argument as the Court may permit.
23
24    Dated: March 9, 2020                           Respectfully submitted,
25                                                   ALMADANI LAW
26
                                                         /s/ Yasin M. Almadani
27                                                   Yasin M. Almadani, Esq.
                                                     Attorney for Defendant
28
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION AND PROCEDURAL HISTORY
 3          While this is intended to be a reply to the Defense’s renewed discovery motion [DE 87]1 (which
 4   it is), new revelations by the government and independently discovered information by the Defense raise
 5   grave concerns of prosecutorial misconduct, including what appears to be additional, newly discovered
 6   instances of deliberate (or at least reckless) suppression of Brady information by the prosecutors; there is
 7   also a credible concern that the grand jury was misled. Up to this point, the Defense has been circumspect
 8   not to raise prosecutorial misconduct despite numerous misrepresentations by the government to the
 9   Defense and to the Court concerning the completeness of the government’s Brady disclosure. The Court
10   has also been very patient with the government. But newly discovered information demonstrates that the
11   government’s “mea culpas” and requests for do-overs have gone too far—the government has ignored

12   the law, ignored the orders of this Court, actively steered the Court and Defense away from exculpatory
13   information, and begrudgingly revealed exculpatory information only when forced to do so. The sheer
14   number and gravity of the violations raise issues of government misconduct that tie directly into the
15   discovery motion and Dr. Sheikh’s speedy trial rights. At this point, it is all but impossible to trust the
16   current prosecutors to reliably execute their discovery obligations and, as such, under Ninth Circuit
17   caselaw, the delays resulting from the government’s disregard of this Court’s orders and Dr. Sheikh’s
18   constitutional rights have become presumptively unreasonable (regardless of whether the government’s
19   misconduct was negligent, reckless, or intentional) so to warrant this Court’s exercise of its supervisory
20   powers to dismiss the indictment. For the reasons set forth below, the indictment should be dismissed.
21          A.      The Hearing on February 25, 2020
22          At the hearing on February 25, 2020, the government acknowledged one Brady violation while
23   trying to minimize others. (Ex. AAA: R/T 2/25/20 at 13).2 Thereafter, the Court had to repeatedly explain
24   the government’s Brady obligations to the prosecutors as they tried to make excuses to cover their
25
            1
26            “DE” refers to “docket entry” followed by a docket control number. The page number
     references the PACER page citation across the document’s top margin.
27          2
              “R/T” denotes “record transcript” followed by the date, followed by the page number. The
28   relevant lines in the transcript are highlighted for the Court’s convenience.
                                                            1
     Defendant’s Reply in Support of Renewed Motion for Discovery              Case No. 2:18-CR-119-WBS-1
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 1   violations. (Ex. AAA: R/T 2/25/20 at 15, 25). The Court found that Dr. Sheikh, Defense Counsel, and
 2   the Court had already suffered prejudice as a result of the government’s admitted Brady violation as of
 3   the February 25 hearing. Importantly, the Court stated:
 4                  As you point out, Dr. Sheikh has a right to have this case brought to trial,
                    and brought to trial quickly.
 5
                    Now, if I hear again that there’s material that I find to be Brady material
 6                  that hasn’t been turned over after this, I guarantee you the sanctions are
                    going to be as severe as the law allows.
 7
     (Ex. AAA: R/T 2/25/20 at 27) (emphasis added).
 8
            The Court later reiterated the point:
 9
                    They’ve already been ordered to turn over Brady material. If they haven’t,
10                  that’s the violation. They don’t get to keep coming back and saying: How
                    much Brady do we give you now? How much Brady do we give you later?
11                  When do we give it to you? They don’t get to do that. They are
                    representing to the Court that they have given you all Brady material.
12                  If that representation is false, we’ll deal with it.
13   (Ex. AAA: R/T 2/25/20 at 33) (emphasis added).
14          It turns out that the government’s representation to the Court was again false; it turns out that even
15   at the February 25 hearing, the government was still knowingly holding onto Brady/Giglio material while
16   also failing to disclose other important Brady material unknown to the Defense at the time and which the
17   Defense recently independently discovered, as discussed in more detail below. Based on the Court’s
18   admonitions, Dr. Sheikh respectfully requests dismissal, which is a permissible sanction available to the
19   Court under these circumstances.
20          B.      Summary of the Reply
21          This Reply is presented in three parts. In the first part, the Defense will demonstrate that due to
22   Brady violations and other misrepresentation issues, the prosecutors in this case have engaged in reckless
23   if not intentional misconduct. In doing so, they did not hold steadfast to the prosecutorial standards
24   expected of them by this Court and the Supreme Court, as well as the ethical standards expected of them
25   by the California Bar. Hence, the government can no longer be relied upon to faithfully prosecute this
26   case including meeting its serious discovery obligations.
27          In the second part of the Reply, the Defense will argue two bases for dismissal in lieu of additional
28
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 1   discovery production:
 2           (1)     Brady Violation as a Basis for Dismissal. New demonstrable Brady violations yet again
 3   demonstrate a violation of this Court’s orders and a reckless disregard for Dr. Sheikh’s constitutional
 4   rights; this in turn implicates the Court’s guarantee at the February 25, 2020 hearing to levy the severest
 5   of sanctions, which under the present circumstances is dismissal pursuant to the Court’s inherent
 6   supervisory powers. This theory of dismissal is controlled by the Ninth Circuit’s precedent in United
 7   States v. Chapman, 524 F.3d 1073, 1085 (9th Cir. 2008).
 8           (2)     Six Amendment Speedy Trial Violation as a Basis for Dismissal. The government’s
 9   failures to date, including various misrepresentations and Brady violations, have trampled Dr. Sheikh’s
10   constitutional Sixth Amendment speedy trial rights. Under this theory, even negligent failures by the
11   government warrant dismissal. This theory of dismissal is controlled by the Ninth Circuit’s precedent in

12   United States v. Mendoza, 530 F.3d 758, 762 (9th Cir. 2008).
13           In the third part of the Reply, the Defense will address stipulated as well as outstanding discovery
14   issues, with the hope that a dismissal will have mooted any such issues.
15   II.     PART I: FACTS ESTABLISHING A PATTERN OF GOVERNMENT MISCONDUCT
             AND THE UNRELIABILITY OF THE PROSECUTORS TO FAITHFULLY MEET
16           THEIR DISCOVERY OBLIGATIONS
17           A.      Legal and Ethical Standards of Prosecution
18           Being a prosecutor is a privilege “and this privilege requires federal prosecutors to adhere to the
19   highest standards of fairness and justice.” United States v. Leslie, 759 F.2d 366, 373 (5th Cir. 1985)
20   (citing Berger v. United States, 295 U.S. 78, 88 (1935)).
21           “The United States Attorney is the representative not of an ordinary party to a controversy, but of
22   a sovereignty whose obligation to govern impartially is as compelling as its obligation to govern at all;
23   and whose interest, therefore, in a criminal prosecution is not that it shall win a case, but that justice shall
24   be done. . . . [W]hile he may strike hard blows, he is not at liberty to strike foul ones. It is as much his
25   duty to refrain from improper methods calculated to produce a wrongful conviction as it is to use every
26   legitimate means to bring about a just one.” Berger 295 U.S. at 88.
27           Under Brady and its progeny, the government is required to produce evidence that exculpates a
28
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 1   defendant when such evidence is material to guilt or punishment. Brady v. Maryland, 373 U.S. 83 (1963),
 2   and Giglio v. United States, 405 U.S. 150 (1972). Because this is a Constitutional obligation, Brady
 3   material must be disclosed early and regardless of whether the defendant makes a request for it. See
 4   Kyles v. Whitley, 514 U.S. 419, 432-33 (1995); U.S. v. Bagley, 475 U.S. 667, 676 (1985). Under Giglio
 5   and its progeny, the government is required to produce material that impeaches a witness. 405 U.S. at
 6   154. As with Brady material, Giglio material must be disclosed regardless of whether the defendant
 7   makes a request for it. Kyles, 514 U.S. at 432-33. The duty under Giglio includes a duty to check agent
 8   personnel files for impeachment information. United States v. Henthorn, 931 F.2d 29 (9th Cir. 1991).
 9   Evidence of an alleged victim’s criminal record must also be disclosed. United States v. Agurs, 427 U.S.
10   97 (1976). A prosecutor’s pre-trial obligations to disclose favorable or impeaching evidence may arise
11   more broadly under a prosecutor’s ethical or statutory obligations. Cone v. Bell, 556 U.S. 449 (2009).

12          The rules of ethics require the prosecutor in a criminal case to “[m]ake timely disclosure to the
13   defense of all evidence or information known to the prosecutor that the prosecutor knows or reasonably
14   should know tends to negate the guilt of the accused, mitigate the offense, or mitigate the sentence, except
15   when the prosecutor is relieved of this responsibility by a protective order of the tribunal.” Cal. R. Prof.
16   Conduct 5-110(G).
17          B.      New Brady Material Disclosed After the February 25, 2020 Hearing, Brady
                    Material that was Misrepresented by the Government, and Potential Brady
18                  Information That Remains Outstanding
19                  1.      Failure to Disclose Agents’ Pre-Warrant Knowledge of a Strip Mall with
                            Restaurants and a Convenience Store Within a Mile of Dr. Sheikh’s Ranch
20
            As discussed at the February 25, 2020 hearing, exculpatory/impeachment information relevant to
21
     the Franks issue in this case falls within the ambit of Brady/Giglio. As such, the agents’ knowledge of
22
     exculpatory facts prior to the warrant being executed was highly relevant.
23
            One salient allegation in the government’s warrant narrative (Ex. W) was that Prakash (Witness
24
     2) and Alfredo (Witness 3) were being starved by Dr. Sheikh and did not have sufficient access to food.
25
     The agents’ pre-warrant knowledge of three key facts taken together would completely undercut this
26
     allegation in a Franks analysis: (1) The ranch was very easy to leave, and Dr. Sheikh was almost never
27
     there; (2) Dr. Sheikh paid the men $300-$400 per month and the men were free to walk off (as they
28
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 1   eventually ended up doing) and earn money elsewhere; and (3) there was a strip mall with restaurants
 2   and a convenience store within approximately a mile of the ranch.
 3          It is the agents’ pre-warrant knowledge of this third fact, the nearby strip mall, that prosecutors
 4   failed to disclose despite having the information and despite understanding that the fact was important to
 5   one of Dr. Sheikh’s Franks arguments. Indeed, the Defense raised the precise issue in its Franks motion
 6   (DE 84) suspecting it to be true, but there was nothing in the discovery with which to cross-examine or
 7   impeach the agent on this fact. The operational plans within the government’s possession (or at least this
 8   particular information contained within them about the agents’ pre-warrant knowledge of the strip mall)
 9   would provide the cross-examination material for the Franks hearing owed to the Defense under Brady.
10          Under Kyles, this Brady material should have been disclosed at the outset; if not, it should have
11   been disclosed when the Court ordered all Brady material to be produced by August 30, 2019 (over one

12   year after the case was filed) and the government confirmed that all Brady material had been produced
13   by that date; if not, it should have been produced prior to Agent Webster testifying in September and then
14   again in December 2019; if not, it should have been produced when the Defense filed its Franks motion
15   on January 13, 2020, spelling out the relevance of the information; if not, it should have been disclosed
16   prior to the Franks hearing on February 25, 2020, which the government tried to have the Court cancel
17   attempting to escape production all together. (See DE 85 at 20 (“The government, therefore respectfully
18   requests that this Court convert the February 25, 2020, Franks hearing to a status conference to schedule
19   a trial date.”)). Had the hearing been cancelled per the government’s request, the government may have
20   escaped producing even the Brady material it did end up producing at the last minute essentially on the
21   eve of the Franks hearing after all briefing had been completed. The government’s lack of disclosure
22   went far beyond negligence and rose to the level of at least recklessness.
23          Moreover, had there not been a different Brady violation identified at the February 25 hearing,
24   the hearing would have gone forward and the Defense would have been deprived of the opportunity to
25   cross examine and impeach the agent with the benefit of the strip mall information (to counter the points
26   of hunger and isolation); the discovery was needed for effective impeachment because there is no telling
27   whether the agent would have been honest about it. The Court would also have been deprived in its
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 1   administration of justice.
 2          The February 25 hearing allowed the Defense to identify the government’s recklessness with
 3   respect to Brady and then issue spot for the government, making granular requests to obtain Brady
 4   information, which the Defense should never have to do. And it was only then, after the February 25,
 5   2020 hearing, after the Defense made a specific request to obtain operational plans to assess precisely
 6   this information—the agents’ pre-warrant knowledge of the strip mall approximately a mile away (see
 7   DE 87 at 6-7)—that the government finally half-way revealed the information in its Opposition (DE 90
 8   at 4-5) filed on March 2, 2020.
 9                  2.      Failure to Disclose That a Court in This District Has Found That Special
                            Agent Carol Webster May Have Committed Perjury and Been Involved in
10                          Brady and Naupe Violations; the Court Has Ordered Investigation and
                            Discovery in That Case
11
            Securing a court’s permission to move forward with discovery and investigation on a motion
12
     brought under 28 U.S.C. § 2255 is no easy task. It requires specific, credible allegations with supporting
13
     facts sufficient to show significant constitutional violations resulting in prejudice. (See Ex. BBB at 5-6).
14
            Special Agent Carol Webster (“Webster”) is one of the lead agents in this case. She has authored
15
     numerous reports, and many of the charges filed against Dr. Sheikh, including the false statements
16
     charges, result directly from Webster’s work on the case. Webster was also the agent who testified before
17
     this Court in September and December 2019, where she gave a starkly different account from the Defense
18
     witnesses whose accounts were all consistent with one another. Webster’s credibility was directly on the
19
     line and the Defense identified several areas where her credibility was impeached by conflicting evidence.
20
            On March 6, 2020, however, the Defense learned for the very first time that on December 17,
21
     2017, a court in this District had granted an evidentiary hearing on a Section 2255 motion and ordered
22
     investigation and discovery on the basis of what appear to be factually supported allegations that Webster
23
     may have committed perjury and overlooked the immigration fraud of one of her alleged victims, and the
24
     government may have elicited false testimony and failed to disclose Brady material in that matter. United
25
     States v. Sekhon, et al. Case No. 2:06-CR-0058-JAM-EFB P; (See Ex. BBB at 1, 6-7; Declaration of
26
     Yasin M. Almadani (“Almadani Decl.”) at ¶ 2). The allegations, which appear to be supported by a
27
     number of declarations before the court, show that Webster may have given false testimony at trial in
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 1   combination with her alleged victim for whom she helped secure immigration benefits and may also have
 2   purposely overlooked significant immigration fraud on the part of that alleged victim. (See id. at 6-7).
 3          That a court has found that these very serious allegations are sufficiently supported to merit
 4   discovery in a Section 2255 context certainly bears upon this case; it is Brady/Giglio material that should
 5   have been disclosed to the Defense, and should also have been brought to this Court’s attention before
 6   Webster took the stand in September and December 2019. The Defense does not know whether the Court
 7   was apprised, but the Defense certainly was not.
 8          So much of the government’s case rides on Webster’s credibility, and the key defense here (which
 9   is already supported by significant tangible evidence) is that the HSI agents (including Webster), Opening
10   Doors, and the alleged victims all worked together to fabricate unsupported charges against Dr. Sheikh
11   each for their own respective benefit. (See Declaration of Former Supervisory HSI Special Agent David

12   Wright (“Wright Decl.”)). As such, the Defense submits that it is a significant Brady violation for the
13   government to have not disclosed this important information; it should have been brought to the Court’s
14   attention and appropriately addressed.
15                  3.      Providing Misleading Information About the T-Visa Benefits in Violation of
                            Brady
16
            In response to the Court’s order to provide all Brady material by August 30, 2019, the government
17
     sent a letter on August 29, 2019, that contains misleading information in violation of Brady. In that letter,
18
     the prosecutor stated that three of the government’s witnesses had received “T-Visas” in this case. (Ex.
19
     CCC). The prosecutor went on to explain, “A T-Visa is a temporary immigration benefit that enables
20
     certain victims of a severe form of human trafficking to remain in the United States for up to 4 years if
21
     they have assisted law enforcement in an investigation or prosecution of human trafficking. T-Visa
22
     nonimmigrant status is also available for certain qualifying family members of trafficking victims.” (Ex.
23
     CCC at 3). That was the full extent of the prosecutor’s explanation of the benefit, which turned out to be
24
     misleading.
25
            Defense counsel took the prosecutor at his word and understood the T-Visa benefit to only allow
26
     a temporary stay in the United States. As a result, the Defense assigned an impeachment value to this
27
     seemingly temporary benefit that was inaccurate.
28
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 1           On or about March 5, 2020, Defense Counsel coincidentally learned that the T-Visa can actually
 2   be converted to a permanent residency (green card) as long as the victim continues to assist law
 3   enforcement in the case and the prosecution of the alleged trafficker is completed. (Almadani Decl. at
 4   ¶ 3). This is a highly significant part of the benefit that would motivate the victims in this case to lie on
 5   the stand. By affirmatively providing a misleading and incomplete description of the T-Visa benefit
 6   (omitting the most significant benefit and motivation to lie), the government lulled the defense into a
 7   false impression; had the Defense continued to reasonably rely on the government’s misleading
 8   description, Dr. Sheikh would have lost a significant impeachment opportunity and defense counsel
 9   would have been set up for an ineffective assistance of counsel claim.
10           When the government attorney takes it upon himself to explain a benefit, especially the complex
11   immigration context, that description should be fully accurate, and the Defense should be able to fully

12   rely on it. For the government to have misled the Defense in this way is beyond reckless.
13                   4.      Failure to Disclose the Impeachable Close Relationship Between HSI and
                             Opening Doors
14
             On March 9, 2020, the Defense independently learned for the first time that HSI and Opening
15
     Doors may have a long-standing relationship whereby Opening Doors helps HSI increase its prosecution
16
     statistics by finding and referring alleged victims, and HSI in turn gives millions of dollars a year to
17
     Opening Doors. (Almadani Decl. ¶ 4). The information remains unverified and the Defense remains
18
     unaware of the details of this relationship. If true, this relationship naturally creates an illicit incentive to
19
     overlook exaggerated stories of alleged victims for HSI to increase its prosecution statistics and for
20
     Opening Doors to collect millions in grant money, while each uses the other to give the appearance of
21
     legitimacy.
22
             The impeachment potential is particularly significant in this case because an examination of the
23
     evidence here shows that HSI and Opening Doors together pushed through T-Visa applications of
24
     Prakash, Alfredo, and at least one other witness by rubber stamping obviously exaggerated stories of
25
     these individuals that significantly lacked credibility when compared with the full breadth of evidence
26
     known to the government. (See Wright Decl.). The evidence shows that the agents here ignored
27
     significant exculpatory information to obtain a warrant by presenting a misleading picture to the
28
                                                     8
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 1   magistrate, and the government likely misled the grand jury in similar fashion to obtain an indictment.
 2   (See id.). In this context, the details of the close relationship between HSI and Opening Doors and the
 3   way that the statistics-money exchange works are fruitful grounds for impeachment at trial and is even
 4   relevant to the Franks issue. This is Brady material within the government’s possession that still has not
 5   been produced.
 6                  5.      Affirmative Misrepresentation and Failure to Disclose Discussions Between
                            Victim Prakash and the Agents with Respect to Immigration Benefits for
 7                          Assisting with Dr. Sheikh’s Prosecution
 8          In the August 29, 2019 letter, the prosecutor also represented that the agents did not have any
 9   discussions with any of the government witnesses until those witnesses were provided immigration
10   benefits starting in 2014. (See Ex. CCC at 2). The Defense has reason to believe that the government is
11   concealing its discussions concerning immigration benefits that were discussed with the alleged victims

12   in this case when those alleged victims were first identified, prior to the search warrant being authored,
13   which bears upon the credibility of their statements for purposes of the Franks hearing as well as for trial.
14          Two facts inform this issue. First, as discussed above, Opening Doors has a close feeder
15   relationship with HSI, and a primary function of Opening Doors is to secure immigration benefits for
16   alleged victims of human trafficking with HSI’s active support in exchange for the alleged victims
17   assisting HSI with prosecution of their alleged oppressors. At the hearing on December 17, 2019,
18   Webster testified that on July 1, 2013, HSI referred Prakash to Opening Doors (R/T 2/17/2019 at 128); it
19   is important to note that Prakash had told agents that same day that he was afraid of being deported and
20   had made four investigative monitored phone calls to Dr. Sheikh at the agents’ request. It is inconceivable
21   that under these circumstances, the agents had no discussions with Prakash about immigration benefits,
22   as the government represents. The Defense submits that in similar fashion to the Sekhon case discussed
23   above (where agents Webster is currently being investigated for perjury), Webster and the government
24   are not being truthful with respect to Brady/Giglio information about immigration benefits discussed with
25   the alleged victims when the victims were first apprehended.
26                  6.      Potential Failure to Disclose Payment or Waiver of Filing Fees
27          The Defense has reason to believe that the government either waived, paid directly, or paid
28
                                                     9
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 1   indirectly through grant money provided to Opening Doors significant immigration application filing fees
 2   (believed to be over $1,000 each) for its alleged “victims” and witnesses that applied for T-Visas. The
 3   Defense has not seen this information in the discovery and believes this Brady/Giglio material has not
 4   been disclosed.
 5          C.      Brady Information Disclosed on the Eve of the February 25, 2020 Hearing After the
                    Government First Attempted to Have That Hearing Cancelled
 6
            Because the government’s continued Brady violations in this case have undermined the discovery
 7
     process beyond reason and made this motion to dismiss necessary, the Defense presents a brief discussion
 8
     of the government’s earlier Brady violations for purposes of completeness.
 9
            The search warrant in this case was obtained on July 8, 2013 at 3:00 p.m. and was executed the
10
     next morning at 7:25 a.m. This subsection discusses a number of items under Brady/Giglio that were
11
     disclosed for the very first time on February 19, 2020, essentially on the eve of the Franks hearing, after
12
     the government had repeatedly represented and confirmed that all Brady material had been produced and
13
     tried to have the hearing cancelled. It should be noted that the following items are important for both
14
     trial and the Franks issue, and as such, the fact that agents knew this information prior to executing the
15
     search warrant is material because the exculpatory facts were not disclosed to the magistrate. Contrary
16
     to the government’s claim, the Defense submits that there was more than just one Brady item not
17
     disclosed until February 19, 2020; there were several. Not disclosed in prior discovery is agents’
18
     knowledge of the following exculpatory facts that were kept from the magistrate:
19
            1.      On July 2, 2013, Alfredo informed agents that he told Sheikh that he was going to leave a
20
     week prior to actually leaving and she said it was fine. (Ex. DDD at 11528). This negates Alfredo’s
21
     claim of forced labor and the government admits that it was a Brady violation to not disclose it.
22
            2.      On July 2, 2013, Alfredo informed agents that he had a brother in Texas who was a legal
23
     permanent resident. (Ex. DDD at 11535). The fact that Alfredo actually had family in the United States,
24
     in combination with the many other exculpatory facts missing in the warrant affidavit (see Wright Decl.),
25
     further negates the claim that Alfredo had nowhere to go and no one to turn to, and thus negates the claim
26
     of forced labor, thereby falling under Brady/Giglio. Agents’ knowledge of this fact prior to the warrant
27
     affidavit being authored is likewise Brady information.
28
                                                     10
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 1          3.      On July 2, 2013, Alfredo informed agents that Dr. Sheikh never raised her hands on
 2   anyone. (Ex. DDD at 11535). In a forced labor case, in combination with the many other exculpatory
 3   facts missing in the warrant affidavit (see Wright Decl.), the fact that the alleged victim admitted that Dr.
 4   Sheikh never raised a hand on anyone further negates the claim of forced labor, and thus falls under
 5   Brady/Giglio. Agents’ knowledge of this fact prior to the warrant affidavit being authored is likewise
 6   Brady information.
 7          4.      On June 26, 2013, Gildardo informed agents that Dr. Sheikh was a 50+ year-old woman
 8   who lived alone, while Prakash and Alfredo (the alleged victims) were 40-year-old men. (Ex. EEE at
 9   11538). In a forced labor case, in combination with the many other exculpatory facts missing in the
10   warrant affidavit (see Wright Decl.), the fact that the alleged victims were men at least 10 years younger
11   than the 50+ year-old woman (Sheikh) who was their alleged oppressor living alone further negates the

12   claim of forced labor, and thus falls under Brady/Giglio. Agents’ knowledge of this fact prior to the
13   warrant affidavit being authored is likewise Brady information.
14          5.      On June 26, 2013, Gildardo informed agents that Dr. Sheikh was not present at the ranch
15   six days out of the week from 9 a.m. to 3 a.m. (Ex. EEE at 11545). In a forced labor case, in combination
16   with the many other exculpatory facts missing in the warrant affidavit (see Wright Decl.), the fact that
17   Dr. Sheikh was at the property only six hours a night further negates the claim of forced labor, and thus
18   falls under Brady/Giglio. Agents’ knowledge of this fact prior to the warrant affidavit being authored is
19   likewise Brady information. [The government had previously disclosed that the witnesses had stated
20   that Sheikh was gone from the property six days a week from 9 a.m. to after midnight, but the Defense
21   would submit that the fact that the government knew that she was gone an entire third of the night (until
22   3 a.m.) is significant and has a greater impact on the fact finder in terms of a forced labor charge.]
23          6.      On June 26, 2013, Gildardo informed agents that Alfredo and Prakash would work from
24   7:30 a.m. to 3:30 p.m. (Ex. EEE at 11540). In a forced labor case, in combination with the many other
25   exculpatory facts missing in the warrant affidavit (see Wright Decl.), the fact that the government’s own
26   reporting witness stated that Alfredo and Prakash worked reasonable hours and that this information
27   directly contradicted Alfredo and Prakash’s claims of working 12 and 14 hours to casts themselves as
28
                                                     11
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 1   victims of “extreme” trafficking, which is the type of hardship required to obtain a T-Visa, further negates
 2   the claim of forced labor, and thus falls under Brady/Giglio. Agents’ knowledge of this fact prior to the
 3   warrant affidavit being authored is likewise Brady information.
 4          7.      On July 1, 2013, Prakash informed agents that prior to his work with Sheikh, he was
 5   homeless for two months after which he took up employment with a man named James Brewer; Brewer
 6   gave Prakash a place in a camper and $200 per month, and Prakash voluntarily worked there until Brewer
 7   had no work remaining, and Prakash was then referred to Dr. Sheikh. (Ex. FFF at 11548). In a forced
 8   labor case, in combination with the many other exculpatory facts missing in the warrant affidavit (see
 9   Wright Decl.), the fact that Prakash was working voluntarily on worse terms with Brewer than at Dr.
10   Sheikh’s ranch (because he would otherwise be homeless), further negates the claim of forced labor, and
11   thus falls under Brady/Giglio. It should be noted that Dr. Sheikh had no obligation to house or employ

12   any of these men regardless of whether they were homeless, and it is clear from the evidence that they
13   were free to leave any time. Agents’ knowledge in this regard prior to the warrant affidavit being authored
14   is likewise Brady information.
15          8.      On July 1, 2013, Prakash informed agents that he had a friend living nearby in Fruitridge.
16   (Ex. FFF at 11549). In a forced labor case, in combination with the many other exculpatory facts missing
17   in the warrant affidavit (see Wright Decl.), had a friend nearby, in combination with the many other
18   exculpatory facts missing in the warrant affidavit (see Wright Decl.) further negates the claim that
19   Prakash had nowhere to go and no one to turn to, and thus negates the claim of forced labor, thereby
20   falling under Brady/Giglio. It should be noted that Dr. Sheikh had no obligation to house or employ any
21   of these men regardless of whether they were homeless, and it is clear from the evidence that they were
22   free to leave any time. Agents’ knowledge of this fact prior to the warrant affidavit being authored is
23   likewise Brady information.
24          Even if the Court finds any one of these facts by themselves to not be sufficiently significant, their
25   combination certainly is quite significant under Brady. Yet neither these facts nor the agents’ pre-warrant
26   knowledge of them was disclosed prior to February 19, 2020.
27
28
                                                     12
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 1          D.      Brady Information Disclosed Over One Year into the Litigation and Only After the
                    Defense Requested a Court Order
 2
            The government’s letter of August 29, 2019 (produced over a year into the litigation) contained
 3
     affirmative misrepresentations (as identified above), was woefully incomplete, and was itself late under
 4
     the Brady requirement of expeditious disclosure. (Ex. CCC)
 5
            E.      Other Outstanding Issues of Concern
 6
                    1.      Prakash’s Debriefs
 7
            On March 6, 2020, the Defense asked the government whether there exist any notes of the agents’
 8
     conversations with alleged victim Prakash who had made four separate monitored calls to Dr. Sheikh on
 9
     July 1, 2013, at the agents’ request.3 During these calls, which contained a mixture of Urdu and English,
10
     it became clear that, in stark contrast to Prakash’s fabricated claim of “forced labor,” Dr. Sheikh did not
11
     make a single threat of harm or legal process against Prakash to force him to come back to her; the calls
12
     completely cut against Prakash’s made up story of such threats. Nevertheless, this material exculpatory
13
     information was omitted from the warrant affidavit. The calls suggest, and it makes sense that the agents
14
     debriefed Prakash after every call and there is some indication that the agents may have been coaching
15
     Prakash to try to goad Dr. Sheikh into making threats.4 The Defense is entitled to know what the agents
16
     learned during these debrief sessions and how they coached Prakash between the calls, because it bears
17
     upon the agents’ knowledge of material exculpatory information that was kept from the magistrate. That
18
     is, the magistrate was entitled to know that Dr. Sheikh did not make any threats of harm or legal process
19
     even after four consecutive coached calls by the government’s star “victim”. For purposes of cross
20
     examination and impeachment, it is important for the Defense to know what was discussed in the debriefs
21
     between the calls and what type of coaching occurred. If notes of these debrief sessions exist, the Defense
22
     is entitled to those notes. If notes were made, but are now lost or destroyed, the Defense is entitled to
23
     know that, as well. See California v. Trombetta, 467 U.S. 479, 488, 104 S. Ct. 2528, 2534 (1984)
24
     (government has a duty to preserve evidence that “might be expected to play a significant role in the
25
            3
26              The government has responded that they will be unable to provide a response by the date of
     this filing.
27            4
                There is no dispute that Prakash speaks English relatively well and would have been able to be
28   debriefed on his conversations with Sheikh.
                                                         13
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 1   suspect’s defense”). Indeed, the fact of spoliation of potentially exculpatory information is itself relevant
 2   to impeachment and exculpation under Brady.
 3          Finally, Brady information within the knowledge of the government need not be memorialized to
 4   be discoverable. See, e.g., United States v. Toilolo, No. 11-00506 LEK, 2014 U.S. Dist. LEXIS 34571,
 5   at *19 (D. Haw. Mar. 17, 2014) (“While the initial statement was not memorialized in a written statement,
 6   report, or notes, it was known to law enforcement, and the Government's counsel should have disclosed
 7   this information by letter as Brady/Giglio material. Failure to notify defense counsel therefore constitutes
 8   a Brady/Giglio violation.”). Even if notes were never made, it was the prosecutors’ duty (especially when
 9   the Franks issue came to the fore on December 18, 2019, and the Court found there to be significant
10   issues sufficient to merit a Franks hearing (R/T 12/18/19 at 372)), to inquire about and disclose what the
11   agents learned during the debriefs after each of Prakash’s calls and why the agents felt it necessary to

12   have Prakash make four separate calls one after another. The Defense submits that if the agents were to
13   tell the truth, both the agents and the alleged “victim” would admit that they were frustrated that Dr.
14   Sheikh was not making any of the threats one would expect in a human trafficking or forced labor case.
15   This information—the agents’ pre-warrant knowledge that even after repeated attempts, Dr. Sheikh did
16   not make any threats that would be expected in a “forced labor” case—is significant to the Franks issue
17   and thus also falls within the ambit of Brady as material evidence favorable to the Defense.
18          This is but one example of potential exculpatory/impeachment material within the government’s
19   knowledge (whether memorialized or not) that still has not been produced. The Defense does not have a
20   crystal ball and it is unfair for the government to require the Defense to issue spot Brady for the
21   government. Indeed, even the Court pointed this out at the February 25 hearing: “I don’t think it’s my
22   job. I think it’s the United States Attorney’s job. Brady says so much, and I insist that the United States
23   Attorney do his or her job.” (Ex. A: R/T 2/25/20 at 25). The Court’s understanding is consistent with
24   that of the Ninth Circuit:
25                 The prosecution, which alone can know what is undisclosed, must be
                   assigned the consequent responsibility to gauge the likely net effect of all
26                 such evidence and make disclosure when the point of “reasonable
                   probability” is reached. This in turn means that the individual prosecutor
27                 has a duty to learn of any favorable evidence known to the others acting on
                   the government's behalf in the case, including the police. But whether the
28                 prosecutor succeeds or fails in meeting this obligation (whether, that is, a
                                                        14
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 1                   failure to disclose is in good faith or bad faith, see Brady, 373 U.S. at 87),
                     the prosecution’s responsibility for failing to disclose known, favorable
 2                   evidence rising to a material level of importance is inescapable.” Kyles, 514
                     U.S. 419, 432-33 (emphasis added). Such an obligation flows naturally and
 3                   directly from Justice Sutherland’s admonition in Berger v. United States,
                     295 U.S. 78, 88 (1935), that a prosecutor's interest is ‘not that it shall win a
 4                   case, but that justice shall be done.
 5   United States v. Hanna, 55 F.3d 1456, 1461 (9th Cir. 1995).
 6          Unfortunately, the current prosecutors have repeatedly demonstrated that they cannot be relied
 7   upon to conduct a timely and faithful Brady review. As a result, the Court, Defense Counsel, and Dr.
 8   Sheikh have been significantly prejudiced; the just result is dismissal, not more production.
 9                   2.     Grand Jury
10          The Defense further submits that when the Court found that a Franks hearing was warranted based
11   on significant issues of material misrepresentations and omissions negating probable cause, it triggered

12   the prosecutors’ duty to review grand jury testimony to confirm whether it also suffers from similar
13   defects. If it does, then the prosecutors, acting in good faith in pursuit of justice as required by the
14   Supreme Court and the rules of ethics of this State’s Bar, had a duty to disclose the grand jury testimony
15   to the Defense so that a motion to dismiss could be brought before the Court. The troubled history of this
16   case makes it crucial that there be an unbiased review of grand jury testimony in this case. The issue is
17   briefed more fully in Part III of this Reply.
18                   3.     Illicit Motivations
19          The Wright Declaration demonstrates that this was a significantly ill-charged case. As noted in
20   the Wright Declaration (¶ 8), illicit investigating and charging motivations should be explored in this
21   case. These motivations may be contained in text messages, emails, notes, and/or conversations between
22   and among the agents and prosecutors. Evidence of illicit motivations for career advancement may also
23   be found in personnel files. There is no indication that this material was ever searched; it was certainly
24   not produced.
25   III.   PART II: REQUEST FOR DISMISSAL
26          A.       Background
27          When it comes to human trafficking, forced labor, and indentured servitude, Dr. Sheikh is not the
28
                                                     15
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 1   usual suspect. She is a highly decorated physician. (Ex. GGG). She is well-respected by colleagues and
 2   community leaders. (Ex. HHH). And she is beloved by her patients. (Ex. III). In a small-knit community
 3   like Sacramento and Elk Grove, prosecution of a person like Dr. Sheikh, especially for “human
 4   trafficking”—similar to the prosecution of a prominent lawyer, prosecutor, judge, politician, or other
 5   well-respected community member on such a charge—was sure to grab headlines. And it certainly did,
 6   spurred on by the government’s own ominous-sounding press release against Dr. Sheikh. (Ex. JJJ).
 7          The government got its headlines and statistic. The alleged “victims,” whose inconsistent stories
 8   did not add up got significant immigration benefits. And Dr. Sheikh got her life turned up-side-down.
 9          But in getting there, the government trampled all over Dr. Sheikh’s constitutional rights, including
10   rights under Brady, Franks, and the Six Amendment.
11          It is also noteworthy that the U.S. Attorney’s Office for the Eastern District of California has not

12   joined in this prosecution. 5 Indeed, the significant exculpatory information and weaknesses in this case
13   vis-à-vis the guidance for prosecutors provided by the Department of Justice make clear that this case
14   should have not been charged. The United States Attorney’s Manual (“USAM”) states, in relevant part,
15   “both as a matter of fundamental fairness and in the interest of the efficient administration of justice, no
16   prosecution should be initiated against any person unless the attorney for the government believes that
17   the admissible evidence is sufficient to obtain and sustain a guilty verdict by an unbiased trier of fact.”
18   USAM at 9-27.220. The Defense submits that when the government’s cherry-picked, misleading story
19   to the magistrate (and likely to the grand jury) is supplemented (and completed) with the numerous
20   exculpatory facts known to the government, even probable cause is eviscerated let alone guilt beyond a
21   reasonable doubt as required by the USAM.
22          But to be clear, the Defense does not ask for the Court to invade upon prosecutorial discretion,
23   but only to dismiss the indictment under the Court’s supervisory powers in order to remedy the violation
24
            5
25             The current prosecutors claim that this is a recusal case. But the “recusal” issue that the
     current prosecutors keep relying on could have been addressed by walling off the particular prosecutor
26   whose mother knew Dr. Sheikh; moreover, the Defense is informed and believes that the AUSA on
     whom the “recusal” is based left the U.S. Attorney’s Office long ago, yet the Office still has not joined
27   this case. Based on the available evidence and Brady material continuing to trickle in from the
     government, the Defense would submit that a careful prosecutor in the Eastern District of California
28   would not have charged this incredibly weak case. See USAM at 9-27.220.
                                                          16
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 1   of Dr. Sheikh’s recognized statutory or constitutional rights, to preserve judicial integrity, and to deter
 2   future unlawful conduct. See infra, Chapman, 524 F.3d 1073, 1085 (9th Cir. 2008).
 3          Moreover, at least one former supervisory agent with the Department of Homeland Security
 4   Investigations (“HSI”), David Wright, looking at this case with fresh eyes has opined that under the HSI’s
 5   investigatory standards in 2013, this case should have been closed based on what the agents saw and
 6   learned at the “welfare check” and interviews they had conducted by July 2, 2013. (See Wright Decl.)
 7          B.      Dismissal Based on the Prosecutors’ Disregard for Dr. Sheikh’s Constitutional
                    Brady Rights
 8
            Request for Dismissal. Under the standards set by the Ninth Circuit in Chapman, Dr. Sheikh
 9
     respectfully requests that this Court dismiss the indictment in exercise of the Court’s inherent supervisory
10
     powers to remedy the flagrant misbehavior by the government in recklessly disregarding Dr. Sheikh’s
11
     constitutional Brady rights; a dismissal would to preserve judicial integrity of these proceedings and deter
12
     any such future conduct. See Chapman, 524 F.3d at 1085. Recklessness on the part of the government
13
     suffices for dismissal. Id.
14
            Legal Standard. Federal courts possess an inherent power to supervise the administration of
15
     justice in order to establish and maintain civilized standards of procedure and justice. McNabb v. United
16
     States, 318 U.S. 332, 340 (1943); see United States v. Payner, 447 U.S. 727, 734-35 & n.7 (1980);
17
     Bartone v. United States, 375 U.S. 52, 54 (1963) (per curiam); Burton v. United States, 483 F.2d 1182,
18
     1187 (9th Cir.), aff’d on rehearing,483 F.2d 1182 (9th Cir. 1973).
19
            In Chapman, the Ninth Circuit reiterated that a district court may exercise its supervisory power
20
     “to implement a remedy for the violation of a recognized statutory or constitutional right; to preserve
21
     judicial integrity by ensuring that a conviction rests on appropriate considerations validly before a jury;
22
     and to deter future illegal conduct.” Chapman, 524 F.3d at 1085 (quoting United States v. Simpson, 927
23
     F.2d 1088, 1090 (9th Cir. 1991). “However, because dismissing an indictment with prejudice encroaches
24
     on the prosecutor’s charging authority, this sanction may be permitted only in cases of flagrant
25
     prosecutorial misconduct.” Chapman, 524 F.3d at 1085 (9th Cir. 2008) (internal citations and quotation
26
     marks omitted).
27
            For a district court to find “flagrant misbehavior” on the part of the government, the court need
28
                                                     17
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 1   not find intentional misconduct; rather, a finding of “reckless disregard for the prosecution’s
 2   constitutional obligations” is sufficient for dismissal. Chapman, 524 F.3d at 1085 (“We have never
 3   suggested, however, that ‘flagrant misbehavior’ does not embrace reckless disregard for the prosecution’s
 4   constitutional obligations.”) (emphasis added).
 5           At the previous hearing (February 25, 2020), the Court had relied upon the government’s
 6   representation that all Brady material had been produced and warned of the severest of sanctions if there
 7   were not true. (Ex. AAA: R/T 2/25/20 at 27).
 8           As it turned out, the government had not disclosed all Brady material even as of February 25, and
 9   there may be additional Brady material that still has not been produced. And while the Defense fully
10   recognizes that the Court is never bound by any guarantee and that it is always up to the Court’s discretion
11   how deal with matters before it, Dr. Sheikh respectfully requests that this Court exercise its inherent

12   supervisory power to dismiss this action.
13           C.      Dismissal Based on Government Failures Resulting in Speedy Trial Right Violation
14           Request for Dismissal. Under the standards set by the Ninth Circuit in Mendoza, Dr. Sheikh
15   respectfully requests that this Court dismiss the indictment in exercise of the Court’s inherent supervisory
16   powers to remedy the constitutional violation of Dr. Sheikh’s speedy trial rights that was compounded
17   by the repeated reckless violations of Dr. Sheikh’s constitutional Brady rights. See Mendoza, 530 F.3d
18   at 762-64. Negligence on the part of the government suffices for dismissal. Mendoza, 530 F.3d at 762.
19           Legal Standard. In Mendoza, the Ninth Circuit underscored, “The Sixth Amendment guarantees
20   that criminal defendants ‘shall enjoy the right to a speedy and public trial . . . .’” Mendoza, 530 F.3d at
21   762 (citing U.S. Const. amend. VI). To determine whether a defendant’s Sixth Amendment speedy trial
22   right has been violated, courts balance the following four factors: (i) length of delay, (ii) the reason for
23   the delay, (iii) the defendant’s assertion of her right, and (iv) prejudice to the defendant. Id. (citing Barker
24   v. Wingo, 407 U.S. 514, 530 (1972)).
25           “None of these four factors are either necessary or sufficient, individually, to support a finding
26   that a defendant’s speedy trial right has been violated. Rather the factors are related and must be
27   considered together with such other circumstances as may be relevant. Further, the balancing of these
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                                                     18
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 1   factors, and other relevant circumstances, must be carried out with full recognition that the accused’s
 2   interest in a speedy trial is specifically affirmed in the Constitution.” Mendoza, 530 F.3d at 762 (internal
 3   citations and quotation marks omitted).
 4             Length of Delay. “For speedy trial claims, the length of the delay is measured from the time of
 5   the indictment to the time of trial. If the length of delay is long enough to be considered presumptively
 6   prejudicial, an inquiry into the other three factors is triggered. Generally, a delay of more than one year
 7   is presumptively prejudicial.” Mendoza, 530 F.3d at 762 (internal citations and quotation marks omitted)
 8   (emphasis added).
 9             The delay here, which is significantly over one year (approximately one year and eight months to
10   date), creates a presumption of prejudice. The investigation in this case began in June 2013. It appears
11   that nearly all facts upon which the indictment is based and all key government witnesses were known to

12   the government by July 2, 2013, if not just a couple of months after that. (See generally DE 1).
13   Nevertheless, the case was charged approximately five years later on June 21, 2018. Since then, another
14   one year and eight months have passed as the government continues to trickle out Brady material in
15   piecemeal fashion, unreasonably requiring the Defense to issue spot exculpatory material for the
16   government, and burdening the Court to make order after order for timely Brady production.
17             Reason for Delay. The Ninth Circuit has held that prejudice may be presumed when the delay
18   results from negligence on the part of the government. Mendoza, 530 F.3d at 762 (prejudice was
19   presumed upon a finding that government acted with negligence in locating the defendant) (emphasis
20   added).
21             In this case, negligence is a foregone conclusion because the government’s misconduct here
22   (discussed above) is at least reckless. Furthermore, the violations here—repeated failures to disclose
23   Brady material despite repeated Court orders—is far worse a reason for delay than is negligence in
24   locating a defendant, which was the error found to be sufficiently prejudicial in Mendoza. See id. This
25   factor establishes severe prejudice and heavily favors dismissal.
26             Defendant’s Assertion of Speedy Trial Right. This factor is somewhat odd to consider in the
27   context of this case. Dr. Sheikh’s constitutionally guaranteed speedy trial right attached at indictment,
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 1   and whenever she waived time, it was under the good-faith belief that the government understood its
 2   Brady obligations and had expeditiously produced Brady material. It turns out, however, that the
 3   government had been holding on to Brady material and still may be holding on to Brady material. In this
 4   context, the waivers are a bit meaningless.
 5          Prejudice.    As discussed above, prejudice may be presumed when the delay results from
 6   negligence on the part of the government. Mendoza, 530 F.3d at 762. Because the government’s Brady
 7   violations here went far beyond negligence, prejudice is presumed and no further discussion is needed.
 8          Nevertheless, for purposes of completeness, it should be noted that the Supreme Court has
 9   recognized three additional “forms of prejudice that can result from post indictment delay: (1) oppressive
10   pretrial incarceration, (2) anxiety and concern of the accused, and (3) the possibility that the [accused’s]
11   defense will be impaired by dimming memories and loss of exculpatory evidence.” Mendoza, 530 F.3d

12   at 764. While the first of the three factors is inapposite, the latter two are salient here. It goes without
13   saying that a person of Dr. Sheikh accomplishments, stature, and position within the community has
14   suffered and continues to suffer incredible anxiety and embarrassment as the government persists in its
15   irresponsible indictment. In addition, the possibility of memories being dimmed and loss of exculpatory
16   evidence (especially in light of the government’s already known reckless actions) is ever looming.
17          Finally, at the February 25, 2020 hearing, as to prejudice, the Court also underscored:
18                  There’s some prejudice already. The prejudice has been not only to
                    defense counsel, but to the Court. I come out here this morning ready to
19                  hear arguments ready to hear testimony, if necessary, and ready to decide
                    at the end of those arguments and testimony the Franks motion. Now, we
20                  have to put it over, and I have to go through that again. Mr. Almadani has
                    to put additional time, which, I assume, he bills to his client on this case
21                  now, because he wasn’t able to go over these materials earlier in
                    connection with the motion. There’s already some prejudice.
22
     (Ex A. R/T 2/25/2020 at 21).
23
            For the foregoing reasons, the indictment should additionally be dismissed on Speedy Trial
24
     grounds under Mendoza.
25
     IV.    PART III: STIPULATED AND OUTSTANDING DISCOVERY ISSUES
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            The law cited by the government in its Opposition (DE 90) is presumably intended to show that
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     the government is being overly generous with its production when it is actually not, given the discovery
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 1   misconduct to date. Discovery is a fact-intensive process and whether something is discoverable must
 2   be decided on a case-by-case basis. For instance, the government cites cherry-picked caselaw that agents’
 3   notes are not automatically subject to production. (DE 90 at 3-4). But what the government glosses over
 4   is that if the notes contain Brady material (as they did here), they must be produced expeditiously without
 5   the need for a court order. See Kyles v. Whitley, 514 U.S. 419, 432-33 (1995); U.S. v. Bagley, 475 U.S.
 6   667, 676 (1985).
 7          A.      Agent Notes
 8          The Defense requested “all notes generated by agents in this case, including all interview notes
 9   of all witnesses.” (DE 87 at 6). The government has agreed to produce “agents notes in its possession
10   from ROIs the agents authored in this case.” (DE 90 at 3). The Defense remains concerned that there
11   may be agent notes that did not result in an ROI that may contain information favorable to the defense

12   under Brady, material to the preparation of the defense under Rule 16, and/or that “tends to negate the
13   guilt of the accused, mitigate the offense, or mitigate the sentence” under Rule 5-110 of the Cal. R. Prof.
14   Conduct. Moreover, given the tenner of this case, if any notes were lost or destroyed without the creation
15   of a report, the Defense is entitled to that information, too.
16          B.      Operational Plans
17          The Defense’s discovery request concerning operational plans was intended to determine whether
18   agents knew at the time of obtaining the search warrant and/or prior to executing it that a strip mall with
19   payphones, eateries, and a gas station was within a very short walking distance of the ranch. (DE 87 at
20   6). Instead of providing the operational plans, the government has stipulated that “agents were prior to
21   executing the search warrant that a strip mall with commercial businesses was approximately one mile
22   from the defendant’s property.” (DE 90 at 4-5). The Brady violation concerning this new disclosure is
23   discussed above.
24          C.      Grand Jury Testimony
25          The breadth of relevant information missing from the warrant affidavit makes one thing clear: if
26   the grand jury was presented a similarly misleading picture as the magistrate who authorized the warrant,
27   the Defense is entitled to disclosure of grand jury testimony to challenge probable cause.
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 1          Under Federal Rules of Criminal Procedure 6(e)(3)(E)(i) and 6(e)(3)(E)(ii), a court may authorize
 2   disclosure of a grand-jury matter “preliminarily to or in connection with a judicial proceeding” or “at the
 3   request of a defendant who shows that a ground may exist to dismiss the indictment because of a matter
 4   that occurred before the grand jury.” Fed. R. Crim. Pro. 6(e)(3)(E)(i) and (ii). A defendant seeking
 5   disclosure of grand jury proceedings must demonstrate a “particularized need” for the production of those
 6   proceedings. In re Grand Jury Proceedings, 62 F.3d 1175, 1179 (9th Cir. 1995). Mere “unsubstantiated,
 7   speculative assertions of improprieties in the proceedings” do not constitute a particular need. United
 8   States v. Ferreboeuf, 632 F.2d 832, 835 (9th Cir. 1980) (quoting United States v. Rubin, 559 F.2d 975,
 9   988 (5th Cir. 1977), vacated on other grounds, 439 U.S. 810, 99 S.Ct. 67 (1978)).
10          Presenting a misleading picture to the grand jury is grounds for dismissal. The Ninth Circuit has
11   underscored the Supreme Court’s insistence that “the grand jury remains as a shield against unfounded

12   prosecutions.” United States v. Navarro-Vargas, 408 F.3d 1184, 1196 (9th Cir. 2005) (en banc) (citations
13   omitted). While it is unusual for an indictment to be dismissed, an indictment may be dismissed if a
14   district court determines that the grand jury was misled in a manner that “it no longer operated as an
15   independent body and buffer between the Government and the Defendant” and Defendant suffered
16   prejudice as a result. See, e.g., United States v. Estepa, 471 F.2d 1132 (2d Cir. 1972) (indictment
17   dismissed where grand jury misled into believing that hearsay evidence was eyewitness testimony);
18   United States v. Cerullo, No. 05cr1190 BEN, 2007 U.S. Dist. LEXIS 101282, at *2 (S.D. Cal. Sep. 7,
19   2007) (dismissing indictment where grand jury was misled by the prosecutor); see also U.S. v. DeMarco,
20   401 F. Supp. 505, 513 (C.D. Cal. 1975), aff’d at 550 F.2d 1224 (9th Cir. 1977) (dismissal of indictment
21   proper where prosecutor had threatened informant with indictment to obtain testimony in another case
22   and grand jury was unaware of prosecutor’s improper motive for bringing indictment); United States v.
23   Roberts, 618 F.2d 530, 533 (9th Cir. 1980) (“We need not belabor the well-established principle that the
24   prosecutor has a special obligation to avoid ‘improper suggestions, insinuations, and especially assertions
25   of personal knowledge.’”) (quoting Berger v. United States, 295 U.S. 78, 88, (1935)); United States v.
26   Siriprechapong, 181 F.R.D. 416, 426 (N.D. Cal. 1998) (misleading the grand jury may form grounds for
27   dismissal).
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 1          As discussed above, when the Court found that substantial issues with the warrant affidavit had
 2   been raised, it triggered the prosecutor’s duty under standards of justice and rules of ethics to review and
 3   disclose grand jury testimony if it suffered from similar defects. To date, prosecutors resist disclosure
 4   without confirming that the grand jury testimony does not suffer from similar defects. But because the
 5   prosecutors have proven themselves unreliable with respect to Brady disclosures, the Defense submits
 6   that they can no longer be relied upon to conduct a faithful review of grand jury testimony for potential
 7   disclosure. Rather, if the case is not dismissed, the Defense requests that Counsel for Defense be given
 8   an opportunity to conduct such review under protective order (attorney’s eyes only) to determine if a
 9   motion for disclosure is merited and, if merited, file such a motion under seal. Alternatively, the Court
10   can conduct an in camera review, but such review would need to be done after the Court has been fully
11   briefed on the breadth of issues implicated in the Franks motion. And if it does turn out that the

12   government was unjustifiably resisting disclosure, then that would be yet another example of the
13   government’s failure to adhere to principles of fairness.
14          D.      Immigration Benefits Provided to Government Witnesses
15          As discussed above, the Defense believes all Brady material concerning immigration benefits has
16   still not been provided.
17          E.      Reports with Unredacted Witness Names
18          While the Defense accepts the government’s agreement to produce this information, the Defense
19   maintains that the case should be dismissed.
20          F.      Henthorn Request
21          While the Defense accepts the government’s agreement to produce this information, the Defense
22   maintains that the case should be dismissed. The already known Brady violation in this regard—the
23   failure to disclose Carol Webster’s possible perjury in the Sekhon case—is quite significant.
24          G.      Improper Motivations to Investigate and Charge
25          While the Defense accepts the government’s agreement produce this information, the Defense
26   maintains that the case should be dismissed for the significant constitutional violations to date.
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 1          H.     Additional Brady/Giglio Material
 2          The government in this case has proven itself to be unreliable in this regard.
 3   V.     CONCLUSION
 4          For the foregoing reasons, Dr. Sheikh requests that the Court dismiss this case.
 5    Dated: March 9, 2020                            Respectfully submitted,
 6                                                    ALMADANI LAW
 7
                                                      /s/ Yasin M. Almadani
 8                                                    Yasin M. Almadani, Esq.
                                                      Attorney for Defendant
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 5
                                  UNITED STATES DISTRICT COURT
 6
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                       SACRAMENTO DIVISION
 8
 9   UNITED STATES OF AMERICA,                      Case No. 2:18-CR-119-WBS-1
10          Plaintiff,
                                                    DECLARATION OF DAVID WRIGHT
11                   v.

12   FIRDOS SHEIKH,                                 In Support of Defendant’s Reply and
                                                    Motion for Dismissal to the Government’s
13          Defendant.                              Opposition to Defendant’s Renewed
                                                    Motion for Discovery [DE 87]
14
                                                    Hearing Date: March 9, 2020
15                                                  Time:         9:00 a.m.
16                                                  Trial Date: TBD
17                                                  Judge: Hon. William B. Shubb
                                                    Courtroom: Five (14th Floor)
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     Revised Declaration of David Wright                              Case No. 2:18-CR-119-WBS-1
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 1          I, David E. Wright, do hereby state and declare the following:
 2          1.      I am a retired Special Agent (“SA”) of the United States Department of Homeland
 3   Security (“DHS”), Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations
 4   (“HSI”), formerly the United States Customs Service and was employed as such from August 1991
 5   until January 2017 (over 25 years of service). I was assigned to the Office of the Special Agent in
 6   Charge (“SAC”) Los Angeles and Office of the Assistant Special Agent in Charge (ASAC) in
 7   Riverside, California. I was promoted to Group Supervisor in August 2001 and oversaw the
 8   enforcement of federal criminal statutes involving human smuggling/trafficking, drug
 9   smuggling/trafficking and money laundering. I have conducted and supervised numerous
10   investigations of individuals and/or criminal organizations that were involved in smuggling/trafficking
11   activities, as well as tracing the movement of illicit proceeds generated by these crimes.

12          2.      I have received criminal investigative training from the Federal Law Enforcement
13   Training Center (“FLETC”). I have participated in numerous human smuggling/trafficking
14   investigations conducted by HSI, which resulted in the arrest of subjects and the seizure of evidence
15   and/or assets. Through these investigations and training, I am familiar with the operations of
16   international human smuggling/trafficking organizations in the United States and abroad.
17          3.      I have specialized training and experience in smuggling/trafficking and conspiracy
18   investigations. I have participated in numerous investigations, which have included the use of
19   confidential sources and undercover officers, physical surveillance, electronic surveillance, the
20   execution of search and arrest warrants, the use of court-ordered intercepts of wire and/or electronic
21   communications, and the analysis of seized records, physical evidence, and taped conversations. I
22   have been present during the execution of search warrants and consent searches where individuals that
23   were being smuggled or trafficked were located. I have also spoken with defendants and other
24   witnesses who have extensive knowledge of the inner workings of major human smuggling/trafficking
25   organizations. In addition, I have spoken with other experienced HSI investigators concerning the
26   methods and practices of human smugglers and human traffickers.
27          4.      I have reviewed several Reports of Investigation (ROIs) and handwritten notes prepared
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 1   by HSI Sacramento concerning Firdos SHEIKH, who is alleged to have been involved in human
 2   trafficking. I have also viewed numerous photographs that are of SHEIKH’s residence located at 10454
 3   Menlo Oaks Court, Elk Grove, CA, where two individuals were allegedly being held against their will
 4   and forced to perform labor for little or no pay. Human trafficking involves the use of force, fraud, or
 5   coercion to obtain some type of labor or commercial sex act. Based on my training and experience, I do
 6   not believe that SHEIKH was involved in human trafficking, and if I were supervising this case during
 7   my tenure at HSI, I would have closed the case for the following reasons:
 8                  a.      Aside from Alfredo’s claim during a July 2, 2013, interview that SHEIKH
 9   “threatened to cut off both of Alfredo’s hands” because she suspected that Alfredo was stealing from
10   her, none of the other witnesses allege that they were threatened with the use of force. Additionally, the
11   three witnesses are men in their 40’s, while SHEIKH is a woman in her late 50’s. The witnesses also

12   presumably had access to gardening tools, etc., that they could have used as weapons or to defend
13   themselves. I do not see how these male witnesses would reasonably perceive SHEIKH as a physical
14   threat. Moreover, Alfredo’s credibility is undercut by several statements he made that are internally
15   inconsistent as well as inconsistent with those of the other witnesses; and the credibility is severely
16   undermined when taking into account the very significant immigration benefits Alfredo stood to gain
17   by falsely casting himself as a human trafficking victim.
18                  b.      All three witnesses voluntarily agreed to work for SHEIKH and stated that they
19   were paid between $200 and $500 per month at various times. Each of the witnesses also states that
20   they were offered and accepted living accommodations as part of their compensation. Furthermore,
21   inconsistent with Prakash’s story about being forced to work, Prakash readily admitted he was a
22   homeless individual who voluntarily worked for lesser compensation just prior to seeking work from
23   SHEIKH.
24                  c.      When Witness Gil was interviewed on June 28, 2013, he admitted that he was in
25   the United States illegally. Gil did not claim to ever be coerced or to have ever been threatened with
26   SHEIKH contacting Immigration authorities. Gil did not state that Alfredo or Prakash were ever
27   threatened with force or coerced with threats of contacting Immigration authorities.
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 1                  d.     Alfredo and Prakash both claim that SHEIKH had threatened to contact
 2   Immigration if they attempted to leave or did not perform the work they were hired for. During his
 3   interview, Alfredo admitted that his true name was not Alfredo, but that was the name people called
 4   him. Alfredo had been doing odd jobs for SHEIKH since 2009 and previously worked for a local
 5   cement company. Prakash claimed to have been in the United States for over 15 years and held
 6   numerous jobs in both California and Colorado. He voluntarily took a job immediately preceding his
 7   work with SHEIKH on similar terms but lesser compensation. No mention is made of their
 8   Immigration history or if they had previously been deported, but both had managed to elude
 9   Immigration authorities for a significant period of time. Additionally, both Alfredo and Prakash
10   presumably knew that Gil had voluntarily left SHEIKH’s employ and not faced any reprisal.
11                  e.     Furthermore, just a week prior to leaving, Alfredo told SHEIKH that he was

12   going to leave and her response was not threatening at all. She simply said okay.
13                  f.     On July 1, 2013, at the welfare check, Prakash was found outside the property,
14   showing that he could have easily left any time. The agent’s notes also show that Prakash had a friend
15   whose apartment Prakash could go to who was living relatively close by in Fruitridge, CA. From the
16   interview notes, it was clear Prakash had several contacts in the area to whom he could have reached
17   out.
18                  g.     Furthermore, the day of the welfare check (July 1, 2013), Prakash was asked that
19   day by agents to make four consecutive monitored phone calls. From my training and experience, I
20   know that the primary purpose of these calls from a law enforcement perspective was to record
21   SHEIKH threatening Prakash to return either by force or legal process. But SHEIKH never made such
22   threats. On the contrary, SHEIKH appeared to be very nice to Prakash and it was clear from the calls
23   that it was up to Prakash to return or not. Also, from my training and experience, the agents certainly
24   would have debriefed Prakash after each call and coached him on how to get a threat out of SHEIKH,
25   which, again, did not happen. Observing this and knowing that Prakash could be highly motivated to
26   lie hoping for immigration benefits, I would have had serious doubts about his credibility. Based on the
27   totality of the evidence and the conflicting witness statements, I would not have believed that there was
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     Revised Declaration of David Wright                                     Case No. 2:18-CR-119-WBS-1
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 1   a credible basis to seeks a warrant for forced labor or indentured servitude and would have advised my
 2   agents to close the case. I found it curious that none of this was disclosed to the magistrate.
 3          5.         Furthermore, the Homeland Security website (dhs.gov/blue-campaign/indicators-human-
 4   trafficking) offers a list of indicators that can assist in identifying human trafficking. The website also
 5   states, “Not all indicators listed above are present in every human trafficking situation, and the presence
 6   or absence of any of the indicators is not necessarily proof of human trafficking.” Some of the
 7   indicators are:
 8                     a.         Does the person have freedom of movement? Can the person freely leave where
 9   they live? Are there unreasonable security measures?
10                           i.          Each witness admits that Gil was permitted to leave and faced no reprisal
11   for doing so. Gil offered Alfredo several opportunities to leave on June 24 and again on June 26,

12   however Alfredo declined in hopes of receiving his pay. Alfredo stated that SHEIKH’s son, Aamir
13   suggested Alfredo leave if he was unhappy. SHEIKH stated that she had told Alfredo to leave on
14   several occasions because she did not trust him. Alfredo ultimately did leave on June 28 by hopping a
15   small horse fence the height of a hurdle and faced no reprisal from SHEIKH. Alfredo stated that a
16   Vietnamese family had worked at SHEIKH’s property and had left over a pay dispute. No mention is
17   made of the family’s immigration status or of any reprisals taken by SHEIKH. Prakash stated that he
18   was prepared to leave in June, however he was also waiting to see if he was paid. As stated above,
19   when Prakash was contacted by HSI agents on July 1, he was located outside of SHEIKH’s property.
20                          ii.          Alfredo and Prakash stated that SHEIKH had put locks on several gates
21   accessing the property and installed security cameras to prevent them from leaving. In analyzing
22   photos of SHEIKH’s property, it is apparent that much it is enclosed by a waist or chest high fence and
23   that the fencing is broken or dilapidated in some areas. Alfredo stated that he observed that a lock on a
24   rear gate was broken and that he suggested that SHEIKH fix it. During her interview on July 1,
25   SHEIKH stated that the security cameras were installed because she had concerns about unauthorized
26   individuals accessing the property to fish and suspected that some animals and plants had been stolen.
27   Alfredo corroborates SHEIKH’s statement and said that SHEIKH told him and Prakash that the
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     Revised Declaration of David Wright                                          Case No. 2:18-CR-119-WBS-1
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 1   cameras were being installed because she (SHEIKH) suspected them of theft. The ROI describing Gil’s
 2   interview simply states that there were security cameras on the property, however the investigative
 3   notes of the same interview indicates that the cameras were “for burglars”. Prakash stated that
 4   SHEIKH told him that the cameras were installed to ensure that he was working and would not leave.
 5   However, Prakash then stated that he was prepared to leave if he was not paid. Both Alfredo and
 6   Prakash stated that the cameras were not installed until May 2013, approximately one month prior to
 7   HSI arriving.
 8                   b.         Is the person often in the company of someone to whom he or she defers? Or
 9   someone who seems to be in control of the situation, e.g., where they go or who they talk to?
10                         i.          Gil and Alfredo stated that SHEIKH mostly lived alone at the 10454
11   Menlo Oaks Court property, except for when her son, Aamir or her parents visited. The interview notes

12   show that Gil stated that SHEIKH was away from the property six days a week from 9 AM to 3 AM,
13   actually being on the property for only six hours at night during those days. Alfredo corroborated that
14   SHEIKH went to work around approximately 9 AM to 10 AM and did not return until sometime after
15   midnight. SHEIKH’s son Aamir stated that SHEIKH had recently gone to the Caribbean for
16   approximately five days. Based on this information, it is apparent that Gil, Alfredo and Prakash were
17   left unattended for most of the time they were at SHEIKH’s property and possibly for as long as five
18   continuous days without her even being in the country.
19                        ii.          Alfredo claims that initially he only worked at SHEIKH’s property on
20   weekends and held a full-time job at a local cement company. He stated that after several months, he
21   decided to leave the cement company and work at SHEIKH’s full-time. Alfredo stated that SHEIKH
22   provided him with a phone, but that service was discontinued because SHEIKH did not pay the bill.
23   Alfredo stated that this prevented him from being able to contact anyone else that he knew. Both Gil
24   and SHEIKH’s son, Aamir contradicted this statement. Gil stated that he received a call from Alfredo
25   on June 26, 2013; importantly Gil said that Alfredo was using a cell phone provided to Alfredo by
26   SHEIKH. Additionally, Gil provided a number for Alfredo to HSI. On July 1, when SA Eugene
27   Kizenko attempted to call the number, he ended up speaking with Prakash. At the conclusion of
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 1   Prakash’s interview by HSI, the report states that Prakash provided agents with a phone number for
 2   both himself and a friend of Alfredo’s. Aamir stated that Alfredo has his own phone, that Alfredo liked
 3   to frequent nightclubs and he believed that Alfredo had a girlfriend. Alfredo and SHEIKH each
 4   mentioned that SHEIKH did not like Alfredo’s friends coming over to SHEIKH’s property, which
 5   contradicts Alfredo’s assertion that he felt as though he could not leave because he did not know how to
 6   contact anyone.
 7                  c.          Does the person lack personal possessions and appear not to have a stable living
 8   situation?
 9                         i.          Alfredo stated that he left several pieces of personal property behind at
10   SHEIKH’s property to including a television, DVD player, tools and a power washer.
11                        ii.          During Prakash’s interview with HSI agent’s on July 1, 2013, he told

12   agents that his identification documents were in a trailer on SHEIKH’s property. Agents went to the
13   trailer and located two state identity documents within Prakash’s duffle bag. It was clear that SHEIKH
14   had not confiscated any IDs (actually it appears she did not even know Prakash’s ID was in the trailer
15   until agents told her); Prakash had complete control of it. Furthermore, when Alfredo was interviewed
16   by HSI Sacramento he also was able to produce identification which he gave to the agents, it is clear
17   then that SHEIKH did not have Alfredo’s ID either. SHEIKH’s actions were not consistent with human
18   trafficking, forced labor, or indentured servitude, where the oppressor, who is preventing freedom of
19   movement and threatening to report the victims, normally maintains control of their identity documents.
20   An experienced agent investigating human trafficking and forced would have understood this.
21                       iii.          As stated above, both Alfredo and Prakash appear to have be in
22   possession of a cellular phone that had been provided by SHEIKH. This fact is also inconsistent with
23   the suggestion that Alfredo or Prakash were being isolated or held against their will in any way. The
24   witness’s statement that SHEIKH may have checked the phone from time to time, even if true, is to be
25   expected since SHEIKH was apparently paying the bill. There is no indication that Alfredo was
26   punished in any way after any of these alleged checks, which is what one would expect in a human
27   trafficking case.
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     Revised Declaration of David Wright                                         Case No. 2:18-CR-119-WBS-1
             Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 37 of 348


 1                  d.          Does the person show signs of having been denied food, water, sleep, or medical
 2   care?
 3                         i.          Alfredo claims that he was promised food as part of his employment,
 4   however Gil and initially Prakash did not assert that food would be included as terms of their
 5   employment. Later Prakash stated that SHEIKH did not feed him on a regular basis. Alfredo stated
 6   that he was not fed in a consistent manner and sometimes went without food. However, when Prakash
 7   moved in, Alfredo said that SHEIKH told them to buy their own food and SHEIKH would take them to
 8   the grocery store. This corroborates SHEIKH’s statement that she would take Alfredo shopping at
 9   Winco. Moreover, there was a strip mall with fast food restaurants and a convenience store walking
10   distance about one mile from the ranch, which agents knew about but never informed the magistrate
11   when securing the warrant. As to credibility and changing stories, Gil stated that Alfredo and Prakash

12   never had any food to eat so he (Gil) would buy their food for them when he would go to the grocery
13   store. But this is contradicted by statements of the other witnesses. Prakash stated that SHEIKH spent
14   $80 per month on food for him. According to interview notes taken one July 1, 2013, Prakash also
15   admitted that he had the option to stay on SHEIKH’s property rent free and received over $1,700 in pay
16   over the course of his six-month stay; he had no family to support and appeared to have no necessary
17   expenses other than food. Prakash’s statement that he was unable to feed himself is not supported by
18   the indisputable evidence. Based on this information alone, and bearing in mind that Prakash had a
19   motive to lie and exaggerate in pursuit of immigration benefits, it is my opinion that the facts in this
20   case do not establish probable cause to believe that SHEIKH was engaged in the forced labor or
21   involuntary servitude.
22                        ii.          Alfredo claims that he initially was paid approximately $400 per month,
23   but then subjected to deductions that SHEIKH would make, sometimes leaving him with $100. Alfredo
24   did not explain why SHEIKH made these deductions. Alfredo stated that he and Prakash had their pay
25   reduced to approximately $200 per month once Gil and his wife moved in, because Gil would be taking
26   over much of the responsibilities. Alfredo stated that he received $200 in April 2013 and $200 in May
27   2013, but he had not yet been paid for June. Gil stated that he was paid $400 per week and had a set
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     Revised Declaration of David Wright                                       Case No. 2:18-CR-119-WBS-1
            Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 38 of 348


 1   schedule of 7 AM to 3:30 PM, however he quit his position due to a pay dispute. Prakash stated that he
 2   was paid $380 (accounting for the $80 food allowance) for each January and February, $400 for March,
 3   $300 in April, $250 in May 2013 and that he had not yet received payment for June.
 4                       iii.          Alfredo stated that Prakash needed medical treatment on a couple of
 5   occasions and that SHEIKH would treat Prakash, however she would charge Prakash $50 for the
 6   treatments. It seems that SHEIKH, a neurologist, was even providing cheap healthcare to Prakash.
 7   Agents should have picked on the fact that an exam and injection treatment with a certified neurologist
 8   would likely have cost much more than $50 dollars per treatment; to make any real assessment of this
 9   information, they should have inquired how much these treatments would have costs one of SHEIKH’s
10   regular patients. This significantly contradicts Prakash’s statement that SHEIKH would provide little
11   or no assistance when Prakash was ill.

12          6.      While certain claims by the witnesses and some facts, such as the existence of padlocked
13   gates, could be considered indicators, it is my opinion that this case does not meet the threshold to
14   consider human trafficking charges. There are numerous inconsistencies and contradictions with the
15   witnesses’ statements concerning if they were free or able to leave, if they had means of contacting
16   others, whether they had access to food and other necessities, etc.
17                  a.          The impression the warrant affidavit gave was that the property was a fenced off,
18   locked down compound difficult to leave. But looking at the photographs of the property and knowing
19   how easily Gil, Alfredo, and Prakash left without any threat or consequence, the only reasonable
20   conclusion was that SHEIKH was not forcing anyone to stay and work on her property. She had no
21   obligation to employ, house, or feed them. They were free to leave any time if they felt unhappy or
22   slighted, and the evidence shows that they did leave. But reading the warrant affidavit, there is no
23   escaping the conclusion that the magistrate was severely misled in this case.
24                  b.          Gil, Alfredo and Prakash had all been in the United States for several years,
25   worked for other area employers and knew other people in the local community. All three left other
26   jobs and voluntarily accepted employment with SHEIKH. Gil and Alfredo stated that SHEIKH worked
27   long hours and was absent from the property for much of the day. All three witnesses appear to have
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     Revised Declaration of David Wright                                         Case No. 2:18-CR-119-WBS-1
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 1   possessed cellular phones and had been paid in the months prior to June 2013. Alfredo and Prakash
 2   knew that Gil had left without reprisal from SHEIKH, but both stated that they chose to remain in
 3   anticipation of receiving additional payment. Based on my training and experience, the evidence makes
 4   it almost impossible to believe that Alfredo or Prakash felt that they were be being forced to work under
 5   the threat of force, fraud, or coercion.
 6                  c.      SHEIKH stated that prior to employing Gil, Alfredo and Prakash, she had
 7   employed teams of workers to perform landscaping tasks at the Menlo Oaks property. When HSI
 8   executed the search warrant on July 9, 2013, they found a team of workers performing work on the
 9   grounds. In most human trafficking scenarios, the trafficker typically profits from the work of the
10   victims, such as with a pimp/prostitute or restaurant owner/restaurant employee relationship. In this
11   case, SHEIKH is a well-to-do neurologist who is purported to be too cheap to pay for landscaping

12   work. From a practical standpoint, it does not make sense to me for SHEIKH to jeopardize her
13   lucrative career by threatening and forcing people to live and work on her property.
14                  d.      Alfredo and Prakash stated that SHEIKH did not feed them on a regular basis,
15   however Alfredo later stated that SHEIKH would take he and Prakash to the grocery store. Gil stated
16   that he would often buy food for them when he went to the grocery store. Both Alfredo and Prakash
17   said that they had received payment from SHEIKH and admit that they were left unattended much of
18   the day. I researched the immediate area and found that there is a Subway, a pizza shop and other
19   restaurants approximately 1.3 miles from SHEIKH’s residence. Because agents conducted two field
20   operations at SHEIKH’s property (including one on July 1, 2013) and because in 2013 HSI required
21   agents to create operational plans prior to conducting field operations for agent safety, I believe agents
22   in this case would have known this information well prior to executing the search warrant. Indeed, I am
23   informed that the government finally confirmed just last week that agents did know this information
24   prior to executing the search warrant. This information is highly relevant because Alfredo and Prakash
25   could have walked a short distance to purchase food with money they were receiving and given that
26   they had no rent to pay or any other significant expenses. The magistrate should have been informed of
27   this.
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     Revised Declaration of David Wright                                      Case No. 2:18-CR-119-WBS-1
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 1          7.      Looking at the totality of the evidence, I would have had serious questions about
 2   Prakash, Alfredo, and Gil’s credibility as well as their motivation to obtain immigration benefits by
 3   falsifying information to cast themselves as human trafficking victims. As an HSI supervisor, I would
 4   not have found this case to merit further investigation after the welfare check and witness interviews of
 5   Gil, Prakash, and Alfredo, all of which was concluded by July 2, 2013. I am surprised that the
 6   investigation was allowed to move forward and a warrant was sought.
 7          8.      Based on my experience, there can be illicit motivations for pursuing investigation and
 8   prosecution that do not accord with the high standards of the Department of Homeland Security
 9   Investigations. These would include media attention with an unusual or high-profile target, potential
10   for awards or promotions, to achieve work performance targets set by the Department, specific animus
11   towards the target, etc.

12          9.      Finally, based on my training and experience in interacting with many magistrates and
13   obtaining warrants, I believe that if I or any HSI agent that I supervised had disclosed the full picture,
14   the real totality of the circumstances, to a magistrate, as the law requires, the warrant in this case would
15   have not have been issued.
16          10.     I have attempted to provide the facts and analysis contained in this declaration to the best
17   of my abilities. This declaration is not meant to be my complete and final analysis of the case.
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19                                         *              *                *
20          I declare under penalty of perjury under the laws of the State of California that the foregoing is
21   true and correct.
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23    Dated: March 9, 2020                              Respectfully submitted,
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                                                        /s/ David Wright
25                                                      David Wright
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     Revised Declaration of David Wright                                       Case No. 2:18-CR-119-WBS-1
            Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 41 of 348


 1   Yasin M. Almadani (Cal. Bar No. 242798)
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 2   14742 Beach Blvd., Suite 410
     La Mirada, California 90638
 3   (213) 335-3935 | YMA@LawAlm.com
 4   Attorney for Defendant
 5
                                  UNITED STATES DISTRICT COURT
 6
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                       SACRAMENTO DIVISION
 8
 9   UNITED STATES OF AMERICA,                      Case No. 2:18-CR-119-WBS-1
10          Plaintiff,
                                                    DECLARATION OF YASIN M. ALMADANI
11                   v.

12   FIRDOS SHEIKH,                                 In Support of Defendant’s Reply and Motion
                                                    for Dismissal to the Government’s Opposition
13          Defendant.                              to Defendant’s Renewed Motion for Discovery
                                                    [DE 87]
14
                                                    Hearing Date: March 9, 2020
15                                                  Time:         9:00 a.m.
16                                                  Trial Date: TBD
17                                                  Judge: Hon. William B. Shubb
                                                    Courtroom: Five (14th Floor)
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     Revised Declaration of Yasin M, Almadani                         Case No. 2:18-CR-119-WBS-1
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 1           I, Yasin M. Almadani, do hereby state and declare the following:
 2           1.     I am an attorney at law, duly licensed to practice before all state and
 3   federal courts in California, and counsel of record for Defendant in this action. I am submitting this
 4   declaration in support of Defendant’s Reply to the Government’s Opposition to Defendant’s Renewed
 5   Motion for Discovery. The facts stated in this declaration are based upon my own personal knowledge,
 6   and if called as a witness, I could and would testify competently about the same.
 7           2.     On March 6, 2020, I learned for the very first time that on December 17, 2017, a court in
 8   this District granted an evidentiary hearing on a Section 2255 motion and ordered investigation and
 9   discovery on the basis of what appear to be factually supported allegations that Webster may have
10   committed perjury and overlooked immigration fraud of one of her alleged victims, and the government
11   may have elicited false testimony and failed to disclose Brady material in that matter.

12           3.     On or about March 5, 2020, I learned for the very first time that the T-Visa can actually
13   be converted to a permanent residency (green card) as long as the victim continues to assist law
14   enforcement in the case and the prosecution of the alleged trafficker is completed. I am not an
15   immigration expert and learned this information only coincidentally, prior to which I was fully relying
16   on the government’s description that the T-Visa was only a tempor2ary immigration benefit that had
17   already been provided and thus would not really affect trial testimony.
18           4.     On March 9, 2020, I learned for the very first time that HSI and Opening Doors may
19   have a long-standing relationship whereby Opening Doors helps HSI increase its prosecution statistics
20   by finding and referring alleged victims and HSI in turn gives millions of dollars a year to Opening
21   Doors. The information remains unverified and the Defense remains unaware of the details of this
22   relationship. If true, this relationship naturally creates an illicit incentive to overlook exaggerated
23   stories of alleged victims for HSI to increase prosecution statistics and Opening Doors to
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     Revised Declaration of Yasin M, Almadani                                   Case No. 2:18-CR-119-WBS-1
            Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 43 of 348


 1   collect millions in grant money, while each uses the other to give the appearance of legitimacy.
 2                                       *               *              *
 3          I declare under penalty of perjury under the laws of the State of California that the foregoing is
 4   true and correct.
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 6    Dated: March 9, 2020                             Respectfully submitted,
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                                                       /s/ Yasin M. Almadani
 8                                                     Yasin M. Almadani
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     Revised Declaration of Yasin M, Almadani                                  Case No. 2:18-CR-119-WBS-1
Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 44 of 348
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Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 47 of 348


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Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 48 of 348


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   notes are materially inconsistent with the reports on important

   issues, and there is                ‐‐    there is      information in those notes

                                                             0 agistrate.
   t h a t s h o u l d have been d i s c l o s e d t o t h e M                              ,I w a s n ' t

   a b l e to b r i e f t h a t to       t h e C o u r t , because ,
                                                                   I wasn't given the

   B r aGd y m a t e r i a l , y o u r H o n o r .

                  7 ( C2857
                  THE  O U RT:         6
                                       So w h a t a r e t h e o t h e r ‐‐         ,I r e a d a b o u t t h e

   statement t h a t $
                     A l f r e d o t o l d h e r h e was g o i n g t o                l e a v e , and she

   said it      was o k a y.        :
                                    W h a t ' s t h e o t h e r B r aGd y m a t e r i a l y o u a r e

   r e f e r r i n g t o"
                        ?

                  05 $/0$'$1,
                  MR. ALMADANI:             ,
                                            I w i l l ‐‐    ,I ' l l l i s t it     out f o r the

   Court, your Honor.




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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                    7 ( C2857
                         O U RT:       C o u l d y o u come u p t o t h e l e c t e r n h e r e .

                    05      $/0$'$1,
                            ALMADANI:      6
                                           Should ,
                                                  I a l s o , y o u r H o n o r"
                                                                               ?

                    05      12/$1
                            NOLAN:     ,I a s s u m e d h e w a s g o i n g t o f o l l o w .

                    7 ( C2857
                         O U RT:       :
                                       Whoever i s s p e a k i n g , j u s t b e a t t h e

   lectern.

                    05 $/0$'$1,
                    MR. ALMADANI:           Ye s , y o u r H o n o r .   6
                                                                         So, y o u r H o n o r, t h e r e

   a r e notes from Gildardo's interview t h a t were n o t ‐‐                             and

   t h e r e ' s statements t h a t were n o t contained in                     the reports.

   Here a r e a couple of              statements t h a t were n o t contained in                    the

   reports.

                    ,I n f a c t , t h e r e p o r t s s t a t e d t h a t '
                                                                           Dr. 6
                                                                               S h e i k h was n o t

   t h e r e at     h e r ranch except 0
                                       M o n d a y.           6
                                                              S o s i x d a y s o f t h e week s h e

   wasn't there from 9:00 a.m. to p a s t midnight.                              7
                                                                                 T h a t ' s what t h e

   report stated.              7
                               Turns o u t , a c t u a l l y, t h a t t h e notes s t a t e d t h a t

   '
   Dr. 6
       S h e i k h was n o t t h e r e o n t h o s e days f r o m 9 : 0 0 a . m . t o 3 : 0 0

   a.m.       7
              T h a t ' s what G i l d a r d o h a d t o l d them.

                    6
                    So i t ' s n o t j u s t t h e whole d a y, i t ' s t h e whole day and

   a t h i r d of the night she's not there.                        ,I n t h e c o n t e x t o f a

   forced labor, indentured servitude,                         c a s e where t h e y ' r e



   watched a l l t h e time,            t h i s completely cuts against t h a t , your

   H o n o r, and t h e f a c t t h a t between 12:00 a . m . and 3:00 a . m . is

   s i g n i fi c a n t .

                    1
                    Number t w o , G i l d a r d o h a d d i s c l o s e d t o t h e a g e n t s t h a t

   h e knew '
            Dr. 6
                S h e i k h was o v e r 5 0 y e a r s o l d , a n d t h e o t h e r t w o men




                                       7,3
                                       T I P H A$11(        52:(
                                                 N N E G . CROWE
                  2)),
                  O F F I C,$/    2857 5(3257(5
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   t h a t were supposedly being h e l d captive were 40 years o l d .

   7
   They w e r e men, a n d she was l i v i n g a l o n e .                6
                                                                          She was n e v e r t h e r e .

   7
   Those f a c t s w e r e n o t i n t h e r e p o r t s , a n d t h o s e w e r e i m p o r t a n t

                        0 agistrate in
   facts to t e l l the M                                 t h e c o n t e x t o f what ‐ ‐      the

   story they are presenting here.

                  3
                  Prakash and $
                              A l f r e d o had claimed t h a t t h e y were f o r c e d

   to work ‐‐        3
                     Prakash had claimed t h a t he had been f o r c e d to work

   10 h o u r s a d a y, 7 days a week.                   $
                                                          A l f r e d o was s a y i n g something

   along the lines of              12 to      14 hours.

                  ,I t w a s d i s c l o s e d t h e n i n t h o s e n o t e s , n o t i n t h e

   r e p o r t s , t h a t Gildardo had s a i d t h a t t h e y a c t u a l l y worked f r o m

   7:00 a.m. to 3:30 p.m.                   ,
                                            It   cuts against the s t o r y.              7
                                                                                          The

   0 agistrate is
   M                       e n t i t l e d t o know i f       t h e i r witnesses have

   inconsistent stories,                and e s p e c i a l l y a n u n l i k e l y work schedule,

   t h e w a y t h a t t h e s e , y o u k n o w, v i c t i m s who h a v e t o a c t u a l l y




   o r d e r t o g e t t h e i r i m m i g r a t i o n b e n e fi t s .   7
                                                                          The 0
                                                                              Magistrate is

   e n t i t l e d t o know t h i s i n f o r m a t i o n .      7
                                                                 T h i s was n o t d i s c l o s e d t o

   us.

                  0
                  M o v i n g o n , t h e y k n e w, a n d t h e y d i d n ' t d i s c l o s e t o u s ,

   that 3
        P r a k a s h , p r i o r t o w o r k i n g , o r h a v i n g some w o r k w i t h '
                                                                                           Dr.

   6
   S h e i k h , h a d some o d d j o b s w i t h a n o t h e r man named -
                                                                          James B r e w e r ,

   who i n t r o d u c e d h i m , o r who i n t r o d u c e d h i m t o a n o t h e r m a n who

   introduced him to '
                     Dr. 6
                         Sheikh.

                  $
                  At t h a t time 3
                                  P r a k a s h was a c t u a l l y h o m e l e s s .        H e was




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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   j u s t l o o k i n g f o r somebody to         give him work.             7
                                                                              T h a t was n o t in

   t h e r e p o r t s , and t h e f a c t i s     that -
                                                        James ‐ ‑

                 7 ( C2857
                 THE  O U RT:        ,I s t h a t i n t h e s e r e p o r t s t h a t y o u n o w

         "

                 05 $/0$'$1,
                 MR. ALMADANI:            ,
                                          I t ' s in    t h e n o t e s t h a t we n o w h a v e ,

   your Honor.

                 7 ( C2857
                 THE  O U RT:        $
                                     A l l right.

                 05 $/0$'$1,
                 MR. ALMADANI:            ,
                                          In   fact, -
                                                     James B r e w e r , y o u r H o n o r ,

   3
   P r a k a s h v o l u n t a r i l y a g r e e d , a n d was happy t o w o r k f o r -
                                                                                       James

   Brewer f o r a room in            a c a m p e r, a n d $200 a m o n t h .           H e was h a p p y

   w i t h t h a t , and v o l u n t a r i l y working u n t i l Brewer c o u l d n ' t r e a l l y

   afford ‐‐       d i d n ' t have a n y work f o r h i m ‐ ‑

                 7 ( C2857
                 THE  O U RT:        1
                                     N o w, i s    a l l t h i s in    t h o s e n o t e s"
                                                                                          ?

                 05 $/0$'$1,
                 MR. ALMADANI:            7
                                          T h i s is    in   t h e n o t e s , y o u r H o n o r, and

   i t ' s not in the reports.

                 7 ( C2857
                 THE  O U RT:        ,I j u s t w a n t t o make s u r e t h a t w h a t y o u

   t e l l me is     something you j u s t discovered f r o m these n o t e s .

                 05 $/0$'$1,
                 MR. ALMADANI:            $ b s o l u t e l y , y o u r H o n o r , a n d ,I ' v e g o n e
                                          A

   t h r o u g h t h e n o t e s a n d t h e r e p o r t s w i t h a fi n e ‐ t o o t h   comb, a n d

   t h i s i s n o t t h e r e p o r t s , and i t ' s i n t h e n o t e s .

                 When '
                      Dr. 6
                          Sheikh ‐‐               what t h e y a r e c l a i m i n g a r e these

   t e r r i b l e conditions t h a t ‐‐          that 3
                                                       P r a k a s h t h e n c l a i m e d h e was

                                                                                 ,

   g e t t i n g p a i d more b y '
                                  Dr. 6
                                      Sheikh.

                 6
                 So it     begs t h e q u e s t i o n , t h e 0
                                                              Magistrate ‐‐               if   the




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                                                                                                        8
   0 a g i s t r a t e knew t h a t h e v o l u n t a r i l y was w o r k i n g f o r t h i s o t h e r
   M

   m a n , who h e t h e n a s k e d t o        i n t r o d u c e t o somebody e l s e , a n d t h e n

   came a n d w a s w o r k i n g o d d j o b s f o r '
                                                      Dr. 6
                                                          Sheikh on b e t t e r terms,

   and then he turns around and says t h a t those a r e bad

                   0 agistrate is
   conditions, the M                                  e n t i t l e d t o know t h a t , y o u r

   Honor.

                 7 ( C2857
                 THE  O U RT:          6
                                       So y o u a r e s a y i n g t h a t we s h o u l d n o t go

   a h e a d w i t h t h e F r a n k s h e a r i n g t o d a y"
                                                              ?   7
                                                                  That y o u s h o u l d have a n

   o p p o r t u n i t y t o p r e s e n t t h e m a t e r i a l s t h a t y o u have r e c e n t l y

   r e c e i v e d , a n d t o g i v e m e a n o t h e r b r i e f o n why t h e i n f o r m a t i o n

   in these materials would a f f e c t t h e Franks hearing; is                              that

   w h a t y o u a r e s a y i n g"
                                  ?

                 05 $/0$'$1,
                 MR. ALMADANI:            :
                                          Well, ,
                                                I c a n ‐‐         ,I c a n ‐‐    ,I c a n a c t u a l l y

   answer t h a t q u e s t i o n i n t h e a l t e r n a t i v e , y o u r H o n o r, a c t u a l l y .

   ,I ' m s o r t o f s a y i n g t h a t , b u t n o t p r e s s i n g t h e i s s u e , b e c a u s e ,I

   have h a d a chance t o            l o o k t h r o u g h some o f t h e s e n o t e s , a n d ,
                                                                                                 I

                     ,                                  ,

   t h i s i n t o t h e r e c o r d , and p r e s e n t t h e argument to            the Court.

   ,I f t h e C o u r t w o u l d l i k e i t    i n a b r i e f , which t h e C o u r t might

   want t o c o n s i d e r, t h e n ,
                                     I would be happy to do t h a t , b u t ‐‑

                 7 ( C2857
                 THE  O U RT:         :
                                      W e l l , b u t how am ,
                                                             I g o i n g ‐‐         you a r e

   relying on the fact that ,
                            I ' m going t o b e a b l e t o take such

   careful notes.            7
                             T h a t i t ' s n o t w r i t t e n down a n y w h e r e .     ,I ' l l

   l i s t e n t o what you ask t h e agent, and t h e n ,
                                                         I ' l l b e able t o

   a l l t h e i n f o r m a t i o n t h a t w a y.




                                    7,3
                                    T I P H A$11(        52:(
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                  05 $/0$'$1,
                  MR. ALMADANI:            W e l l , y o u r H o n o r , a c t u a l l y ‐‑

                  7 ( C2857
                  THE  O U RT:          $ r e n ' t y o u e v e n g o i n g to
                                        A                                           give the Court

   t h e n o t e s"
                  ?

                  05 $/0$'$1,
                  MR. ALMADANI:            Ye s .       7
                                                        The C o u r t makes a g r e a t p o i n t .            ,I

   a c t u a l l y have g i v e n t h e n o t e s a s w e l l ‐ ‐        t h e C o u r t has a

   b i n d e r, y e s , b u t , y o u r Honor ‐ ‑

                  7 ( C2857
                  THE  O U RT:          '
                                        Do ,
                                           I have t h i s"
                                                         ?            ,I d i d n ' t g e t t h i s .

                  7 ( C/(5.
                  THE  LERK:          We'll ,
                                            I ' m putting it               together f o r you.

                  7 ( C2857
                  THE  O U RT:        2
                                      O k a y, s o ,
                                                   I h a v e n ' t s e e n t h i s y e t"
                                                                                        ?

                  05 $/0$'$1,
                  MR. ALMADANI:            Yo u h a v e n o t s e e n t h a t , y o u r H o n o r,

   because ,
           I was g o i n g to             c r o s s on t h a t .

                  Yo u r H o n o r, a c t u a l l y ,    ,I w o u l d b e h a p p y t o p r e s e n t t h e

   C o u r t w i t h a supplemental b r i e f .               2
                                                              On t o p of t h a t , y o u r H o n o r, ,
                                                                                                       I

   b e l i e v e t h a t w e h a v e n ' t h a d t h e e n t i r e B r aGd y d i s c l o s u r e s t i l l .

                  7
                  The G o v e r n m e n t i s    s t i l l in    v i o l a t i o n of   the Court's

   order and t h e r u l e s .          W e h a v e n ' t h a d t h e f u l l B r aGd y d i s c l o s u r e .

   ,I h a v e p u t t h a t i t    o u r s u r ‐ r e p l y.     We're e n t i t l e d t o t h e



   plan is      g o i n g t o t e l l u s w h a t t h e y knew a b o u t t h e a r e a b e f o r e

   they executed t h e ‐‐             or before t h e y authored t h e search

   warrant.

                  We're a l s o e n t i t l e d to what we h a v e n ' t received.

   $re ‐‐
   A           is the ‐‐       we've g o t the 7
                                               TV's application f o r 3
                                                                      Prakash,

   but we're also entitled of the 7
                                  TV's application f o r the other

   alleged victim,            who i s $
                                      A l f r e d o , and ,
                                                          I can t e l l the Court t h a t




                                     7,3
                                     T I P H A$11(        52 (
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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   ,I ' v e l o o k e d a t t h a t 79
                                    TV's application, and t h e r e ' s l o t s of

   m a t e r i a l i n t h e r e t h a t w o u l d impeach 3
                                                           Prakash a t a t r i a l , and s o

   w e ' r e e n t i t l e d t o have t h a t i n f o r m a t i o n a l s o f o r $
                                                                                  Alfredo.

                  Yo u r H o n o r, w e ' r e e n t i t l e d t o have ‐ ‑

                 7 ( C2857
                 THE  O U RT:        7
                                     That's ‐ ‐ t h a t ' s d i f f e r e n t than t h e Franks

   issue.       7
                They d i d n ' t t e s t i f y a t a F r a n k s h e a r i n g y e t , and s o

   whether y o u need i n f o r m a t i o n to          cross‐examine them d o e s n ' t

   p e r t a i n t o t h e Franks issue.

                 05 $/0$'$1,
                 MR. ALMADANI:              ,
                                            It   doesn't pertain to t h i s particular

   Franks i s s u e , y o u r H o n o r, b u t i t       does p e r t a i n t o t h e o v e r a l l

   B r aGd y o b l i g a t i o n t h a t t h e y ' v e h a d f o r a y e a r a n d a h a l f .

                 7 ( C2857
                 THE  O U RT:                                                   0 r. 1
                                     W e l l , l e t me h e a r f r o m y o u , M    Nolan.

   '
   D i d t h e C o u r t o r d e r y o u t o p r o d u c e B r aGd y m a t e r i a l "
                                                                                     ?

                 05 12/$1
                 MR. NOLAN:          ,I t   d i d , y o u r Honor.

                 7 ( C2857
                 THE  O U RT:        $
                                     A n d w h y d i d n ' t y o u do i t "
                                                                          ?

                 05 12/$1
                 MR. NOLAN:          We d i d , y o u r H o n o r .     What    ,I w o u l d l i k e t o

   do if    ,
            I could, to address t h i s , is address two t h i n g s w i t h t h e

   Court.       2
                One, ,
                     I ' d l i k e to take a minute to explain t h e

   d i s c l o s u r e t h a t w e made s i x d a y s a g o , w h i c h l e d t o t h e m o t i o n

   last night.

                 $
                 And t h e n ,
                             I ' d l i k e to ask t h e Court f o r an opportunity

   to   respond to t h e w r i t t e n motion l a s t n i g h t in               writing

   ourselves, and ,
                  I ' l l g o i n t o some o f t h a t i n a moment, i f                         ,I

                                     ,

   d i s c l o s u r e a n d how t h a t came a b o u t .




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                                                                                                       11
                 ,I f w e c o u l d b a c k u p t o t h e fi r s t       hearing t h a t we had,

   w h i c h w a s in   r e g a r d s to    the 4th $
                                                    Amendment i s s u e , a n d t h e

   0 iranda i s s u e .
   M                         7
                             T h a t h e a r i n g encompassed e v e n t s t h a t t o o k p l a c e

   on o n e d a y, a n d o n e d a y on -
                                        J u l y 1, 2013, a n d t h o s e ‐‐                 a n d we

   were going to c a l l one witness, which we d i d , t h e agent f o r

   t h a t case.

                 ,
                 In preparing f o r t h a t hearing, we sent an e‐mail.                                ,I

   d o n ' t r e c a l l e x a c t l y how m a n y d a y s b e f o r e , b u t i n ‐ ‐    before

   t h a t hearing, in preparation to counsel, ,
                                               I said:                               We intend to

   c a l l one witness, 6
                        Special $
                                A g e n t C a r o l We b s t e r.                 7
                                                                                  The e v e n t s h e ' s

   g o i n g t o t e s t i f y t o , o r m e m o r i a l i z e d i n 52,
                                                                     ROI 1, and here a r e t h e

   n o t e s , a n d w e d i s c u s s e d t h e n o t e s f r o m 52,
                                                                   ROI 1.

                 $
                 A t t h a t s a m e t i m e w e a l s o made a r e p r e s e n t a t i o n t h a t

   w e h a d g o n e t h r o u g h o t h e r n o t e s i n t h e c a s e , s p e c i fi c a l l y C a r o l

   W e b s t e r ' s , c o m p a r e d t h e m t o 52,
                                                   R O I ' s , and found them to be

   c o n s i s t e n t a s d e f e n s e c o u n s e l j u s t s a i d , s o w e h a d made t h a t

   representation at t h a t time.

                 7
                 Then w e g e t t o t h i s h e a r i n g , a n d i n p r e p a r a t i o n f o r

   t h i s hearing we send an e‐mail to defense counsel saying we



                              $gent .
   required, which w i l l be A     K i z e n k o , t h e a f fi a n t .

                 H i s a f fi d a v i t    i s based o n e s s e n t i a l l y f o u r t h i n g s .

   What h a p p e n e d t h a t d a y , w h i c h h e a l r e a d y h a d t h e n o t e s f r o m , a s

   w e l l as t h e i n t e r v i e w of t h r e e d i f f e r e n t witnesses, and we

   disclosed t h e notes of those three d i f f e r e n t witnesses.




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                    When w e r e ‐ r e v i e w e d t h o s e n o t e s ‐ ‐          and we do t h i s

   o f t e n ‐‐     we double‐check o u r notes.                           We double‐check o u r

   disclosures.             7
                            That's b u i l t i n t o the process ‐‐ we found t h a t

   t h e r e was a m i s t a k e .           We f o u n d t h a t t h e r e was something in                the

   n o t e s , s p e c i fi c a l l y   ‐‐    and reading from t h e notes ‐ ‐                    t h a t about

                      $lfredo ‐‑
   a week b e f o r e A

                   7 ( C2857
                   THE  O U RT:              ,
                                             I ' m s o r r y, a r e these the notes you

   a l r e a d y t u r n e d o v e r t o t h e m"
                                                ?

                   05 12/$1
                   MR. NOLAN:            Ye s .

                   7 ( C2857
                   THE  O U RT:          $
                                         A n d s o w h a t a r e y o u t e l l i n g m e n o w"
                                                                                              ?          7
                                                                                                         There

   was something w r o n g in                 t h e n o t e s"
                                                             ?

                   05 12/$1
                   MR. NOLAN:            1
                                         No.        1
                                                    No.        We t u r n e d o v e r t h e n o t e s , a n d a t

   t h e same t i m e , w e p o i n t e d t o             something in           t h e n o t e s t h a t was

   n o t in    t h e 52,
                     R O I and s h o u l d have been.

                   7 ( C2857
                   THE  O U RT:              But can ,
                                                     I b a c k up             t h e n"
                                                                                     ?   What d i d t h e

   o r d e r r e q u i r i n g y o u t o d i s c l o s u r e B r aGd y i n f o r m a t i o n s a y "
                                                                                                   ?

                   05 12/$1
                   MR. NOLAN:            -
                                         J u s t t o d i s c l o s e a l l B r aGd y i n f o r m a t i o n .

                   7 ( C2857
                        O U RT:          '
                                         D i d it      s a y w h e n"
                                                                    ?

                   05     12/$1
                          NOLAN:         Ye s .

                   7 ( C2857
                        O U RT:          What       d i d it      s a y"
                                                                       ?

                   05     12/$1
                          NOLAN:         ,I t h i n k t h e e x a c t d a t e w a s b a c k i n

   $

                   7 ( C2857
                   THE  O U RT:          2
                                         O k a y.      1
                                                       N o w, y o u a r e t e l l i n g m e t h a t t h i s




   t h e witnesses t h a t were going to t e s t i f y at                           the previous




                                       7,3
                                       T I P H A$11(        52 (
                                                 N N E G . CROWE
                  2)),
                  O F F I C,$/    2857 5(3257(5
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   h e a r i n g"
                ?

                    05 12/$1
                    MR. NOLAN:       1
                                     No.        :
                                                What ,
                                                     I ' m saying i s , t h i s is a mistake

   on o u r p a r t .      ,
                           It   was n o t d i s c l o s e d , because w e m i s s e d i t .              ,I t

   was a l i g n e d i n    t h e n o t e s , t h a t e x i s t e d i n t h e n o t e s , t h a t was

   n o t i n t h e 52,
                   ROI ‐ ‑

                    7 ( C2857
                    THE  O U RT:     B u t how c a n y o u d i s c l o s e some o f            the notes

   and n o t d i s c l o s e a l i n e"
                                      ?            :
                                                   What d i d y o u d o , b l a c k i t    o u t"
                                                                                                ?

                    05 12/$1
                    MR. NOLAN:       1
                                     No.        1
                                                No.        1
                                                           No, ,
                                                               I ' m sorry.        ,I m a y h a v e

                                                                       :

                 $u g u s t .
   notes back in A                           :
                                             We reviewed them.             ,I t ' s n o t o u r ‐ ‐   i t ' s

   n o t o u r normal procedure to                      disclose a l l of t h e notes.              :
                                                                                                    We

   disclosed the reports.

                    :

                                         ,                             0



                                               6



                    7 ( C2857
                    THE  O U RT:

        G

                    05 12/$1
                    MR. NOLAN:

                    7 ( C2857
                    THE  O U RT:                    "

                    05 12/$1
                    MR. NOLAN:

                    7 ( C2857
                    THE  O U RT:                                                    G

                                                          "

                    05 12/$1
                    MR. NOLAN:       :




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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                                                                                                                             14
                    7 ( C2857
                    THE  O U RT:                  :
                                                  W e l l , y o u s e e , y o u hD
                                                                                 a v e to           e r r on t h e s i d e

   o f d i s c l o s i n g t o o much i f                   you D
                                                                a r e going to do it                    t h e wDa y y o u d o

   i t , becD
            ause t h e consequences of                                  n o t d i s c l o s i n g mDa t e r iDa l t h D
                                                                                                                      at

   y o u s h o u l d hD
                      ave d i s c l o s e d D
                                            a r e m u c h g r e Da t e r t h D
                                                                             an the

   consequences of                    d i s c l o s i n g mDa t e r iDa l t h D
                                                                              a t y o u d i d n o t hD
                                                                                                     ave to

   disclose.

                    05 12/$1
                    MR. NOLAN:                 8
                                               U n d e r s tD
                                                            a n dDa b l e , y o u r H o n o r , D
                                                                                                and t hD
                                                                                                       a t is

   why w e b u i l d i n              these double ‐‐                   D
                                                                        and even t r i p l e ‐‐              checks D
                                                                                                                    as we

   move c l o s e t o          triD
                                  al.              6
                                                   S o w h e n w e d i d fi n d i t , D
                                                                                      and d i d discover

           D                                                                                                        D

                    7
                    T hDa t v e r y e v e n i n g w e s e n t D
                                                              a n e ‐ mDa i l t o d e f e n s e

                        :
                        W e p o i n t e d e xDa c t l y w h e r e i t             wD
                                                                                   as i n     the notes.

   ( D             where i t           s h o u l d hD
                                                    ave been in                 t h e 52,
                                                                                      ROI.       ,I t       wD
                                                                                                             as D
                                                                                                                a

           D            ,
                        It   wD
                              as D
                                 an honest mistD
                                               ake.                             7
                                                                                The D
                                                                                    agent missed i t , D
                                                                                                       and

                missed it                  i n t h e r e v i e w.          :
                                                                           W e cD
                                                                                aught it         i n t h e second

                   t h e r e v i e w, D
                                      and we disclosed it                              i m m e dD
                                                                                                iately ‐‑

                    7 ( C2857
                    THE  O U RT:                   1
                                                   N o w, 0
                                                          Mr. $
                                                              A l mDa dDa n i i s D
                                                                                  about to t e l l me

   s e v e rDa l o t h e r i n s t aDn c e s i n                t h e n o t e s w h e r e h e c l aDi m s i t           is

   B r aGd y mDa t e r iDa l t h D
                                 a t wD
                                      as n o t p r e v i o u s l y d i s c l o s e d .

                    ,                  ,      D                            D                                  D              D

                    D                                       D                             D

       D       D              '               D         D                                               D

   D                                                                       D       D                                    D

           D             D        D

                    05 12/$1
                    MR. NOLAN:                 5
                                               Right.




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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                                                                                                             15
                    7 ( C2857
                    THE  O U RT:            6
                                            So what a b o u t a l l t h e s e o t h e r examples

                          0 r. A
   from the notes t h a t M    $lmadani i s                         t e l l i n g m e c o n s t i t u t e B r aGd y

   m a t e r i a l"
                  ?

                    05 12/$1
                    MR. NOLAN:              5
                                            Right.      6
                                                        So we w o u l d a r g u e t w o t h i n g s on

   that.         2
                 O n e , fi r s t       t h i n g i s w e have n o t seen what e x a c t l y ‐ ‑

   we're hearing it                 f o r t h e fi r s t    time as w e l l ‐‐        what e x a c t l y,

   a d d i t i o n a l l y , t o w h a t w e p o i n t e d o u t a s B r aGd y , t h e d e f e n s e i s

                                                        G

                    6
                    S o w e ' r e l e a r n i n g o f t h a t n o w, a n d w e w o u l d l i k e a n

   opportunity to respond to t h a t .

                    7 ( C2857
                    THE  O U RT:            1       7                                   G

                        0       $



                            G       ,

                        ,                         7



                    1                                                                       0      $

                                                        G                     7

                    05 12/$1
                    MR. NOLAN:              5
                                            Right.      $
                                                        And y o u a r e a b s o l u t e l y r i g h t , y o u r

                  ,
                  I guess what ,
                               I ' m suggesting is t h a t ‐‐                          two t h i n g s .

   2
   One, ,
        I ' m n o t c o n v i n c e d e v e r y t h i n g h e i s c l a i m i n g t o b e B r aGd y i s

   B r aGd y .

                    7 ( C2857
                    THE  O U RT:            :
                                            W e l l , t h e s e t w o t h i n g s w e ' v e h e a r d so f a r



                    05 12/$1
                    MR. NOLAN:              $
                                            And t h e n t h e second t h i n g i s , ,
                                                                                     I am n o t ‐‑




                                       7,3
                                       T I P H A$11(        52:(
                                                 N N E G . CROWE
                  2)),
                  O F F I C,$/    2857 5(3257(5
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   ,I ' m f a i r l y c e r t a i n m u c h o f w h a t h e h a s a l r e a d y s a i d w a s

   disclosed in another form, n o t necessarily t h e notes.                                    6
                                                                                                So while

   t h e n o t e s may n o t have h a d a l l o f t h a t m a t e r i a l , t h a t

   material ‐‐         a l l t h e things about 3
                                                Prakash's other jobs, things

   l i k e t h a t , were disclosed in o t h e r r e p o r t s , and have already

   been disclosed.

                  7 ( C2857
                  THE  O U RT:        7
                                      T h a t ' s a good p o s s i b i l i t y , b u t r i g h t now

   w e d o n ' t k n o w.     /
                              L e t me see if          ,I c a n s t r e a m l i n e t h i s

   discussion.

                  05 12/$1
                  MR. NOLAN:          2
                                      Of course.

                  7 ( C2857
                  THE  O U RT:        Yo u b o t h seem t o b e t e l l i n g ‐ ‐             no, ,
                                                                                                  I guess

   0 r. A
   M    $lmadani s a i d he i s , a n d he i s n ' t , b u t y o u seem to                       be

   t e l l i n g m e y o u d o n ' t want t o g o f o r w a r d w i t h t h i s Franks

   hearing u n t i l you've had an opportunity to respond to a l l of

   t h e a r g u m e n t s a b o u t t h e B r aGd y m o t i o n , r i g h t "
                                                                             ?

                  05 12/$1
                  MR. NOLAN:          ,I a m ‐ ‐ ,I a m s a y i n g t h a t i f        the defense's




   opportunity to prepare f o r t h i s hearing, then, yes, we would

   l i k e t o d o two t h i n g s .

                  2
                  O n e , fi r s t   of   a l l , if    the defense's i n i t i a l reaction

   t o r e c e i v i n g t h i s was:      H e y, t h e r e ' s m a t e r i a l i n    here t h a t ,
                                                                                                    I

   need to b r i e f .        ,
                              I ' m going to do a motion to postpone based on

   your disclosing this at this time.                            :
                                                                 We, o f c o u r s e , w o u l d n o t

   have o b j e c t e d t o t h a t .

                  6
                  S o t h a t ' s t h e fi r s t    thing, so we are not necessarily




                                    7,3
                                    T I P H A$11(        52:(
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                                                                                                     17
   i n o b j e c t i o n t o g i v i n g t h e d e f e n s e a s much t i m e a s i t         needs i f

   it   feels this material is                h e l p f u l t o a Franks hearing, and w e

   would l i k e t h e opportunity to respond to t h a t , so ,
                                                              I guess

   t h a t ' s what ,
                    I ' m saying.

                 ,I f   i t ' s n o t , if   t h e defense is        saying:      Y o u k n o w, ,
                                                                                                 I

   w a s n ' t g o i n g t o u s e a n y o f t h i s m a t e r i a l a n y w a y, t h e n ,
                                                                                          I think

   we can proceed w i t h t h e Franks hearing.

                 7 ( C2857
                 THE  O U RT:         7
                                      They a r e n o t s a y i n g t h e y w e r e n ' t g o i n g t o

   use this material.               7
                                    T h e r e a r e a c t u a l l y some t h i n g s t h e y a r e

   t e l l i n g m e t h a t t h e y n o t o n l y were g o i n g t o u s e , t h e y d o want

   t o u s e , and t h e y t h i n k i t ' s h i g h l y r e l e v a n t .    /
                                                                              L e t me ask you

   another question.

                 05 12/$1
                 MR. NOLAN:           2
                                      Of course.

                 7 ( C2857
                 THE  O U RT:         :
                                      What d o y o u t h i n k t h e s a n c t i o n o u g h t t o b e

   if   t h e C o u r t fi n d s y o u d i d v i o l a t e B r a G
                                                                 d y"
                                                                    ?

                 05 12/$1
                 MR. NOLAN:           5
                                      Right.      6
                                                  So t h e important t h i n g on t h i s is

   t h a t as soon as we discovered t h i s piece of material, we

   disclosed i t .          :
                            We disclosed a l l of the notes.                   Here they are.

   :

   fi r s t   hearing.

                 7 ( C2857
                 THE  O U RT:         Yo u w e r e g o i n g to     do what    a n y w a y"
                                                                                          ?

                 05 12/$1
                 MR. NOLAN:           '
                                      Disclosing the notes ‐‑

                 7 ( C2857
                 THE  O U RT:         $
                                      A l l of   t h e n o t e s"
                                                                ?

                 05
                 MR. 12/$1
                     NOLAN:           1
                                      No, n o t every note, b u t t h e notes t h a t

   were permanent to             t h i s hearing.       6
                                                        So now knowing t h a t t h i s was




                                    7,3
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                                              N N E G . CROWE
               2)),
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                                                                                                          18
   n o t done i n t e n t i o n a l l y , w e w e r e n o t t r y i n g t o h i d e m a t e r i a l s .

   :
   W e w e r e n o t d o i n g t h a t i n a n y k i n d o f i n t e n t i o n a l w a y.      2
                                                                                               Once

                                                                                                      6

   t h e n t h e q u e s t i o n becomes:        :
                                                 What i s t h e p r e j u d i c e "
                                                                                  ?      $
                                                                                         And i n

   terms o f t r i a l , t h e r e ' s n o p r e j u d i c e .     :
                                                                   We're w e l l b e f o r e t r i a l ,

   so it     can b e used a t t r i a l .

                 7
                 The p r e j u d i c e , n e c e s s a r i l y , i s w h a t ‐ ‐ w h a t ‐ ‐ c a n w e

   u s e t h i s m a t e r i a l i n t h i s h e a r i n g , a n d t h a t may r e q u i r e

   postponing the hearing, and we understand t h a t .

                 1
                 N o w, i n t e r m s o f s a n c t i o n s , t h e '
                                                                    Defendant's motion,

   w h i c h w a s fi l e d   l a s t n i g h t , t h e discovery motion, and t h i s is

   why ,
       I would ask f o r an opportunity to respond.                               ,I ' v e o n l y h a d a

   chance t o      read it      one time,         and haven't spent the thorough

   research t h a t a motion l i k e t h a t deserves to be a b l e to

   respond.        B u t m y i n i t i a l reading i s h e s e t s f o r t h , e s s e n t i a l l y,

   a l i s t of sanctions.              6
                                        S i x requests t h a t h e ' s asking the Court

   to   o r d e r t h e Government to           do to     cure this defect.

                 :
                 What ,
                      I would ask is an opportunity to respond to i t ,

   b e c a u s e when ,
                      I r e a d t h o s e , some o f         those ,
                                                                   I t h i n k e i t h e r may

   have a l r e a d y been done.             ,I t h i n k t w o o f t h e m a c t u a l l y w e r e

   done.      6
              Some o f t h e m ,
                               I think we can do.                    :
                                                                     We're n o t n e c e s s a r i l y

   obligated to do, b u t we can be reasonable, and w e ' l l do i t .

                 7 ( C2857
                 THE  O U RT:        ,I d o n ' t k n o w w h a t t h o s e s i x t h i n g s a r e .          ,I

   am n o t p r i v y to t h a t request.

                 05 12/$1
                 MR. NOLAN:          ,I t   was i n   the motion.           ,I d o n ' t h a v e t h e




                                    7,3
                                    T I P H A$11(        52:(
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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   h a r d c o p y w i t h me, because it                w a s j u s t fi l e d   last night

   e l e c t r o n i c a l l y, b u t t h e r e ' s a series o f e s s e n t i a l l y s i x t h i n g s .

   ,I b e l i e v e i t     was s i x , i t     may have been m o r e .            But it      was $
                                                                                                   A

   t h r o u g h maybe )
                       F,          G ‐‐    do y o u have a c o p y, 0
                                                                    Mr. $
                                                                        Almadani, a h a r d

   c o p y"
          ?

                      05 $/0$'$1,
                      MR. ALMADANI:           2
                                              O n l y on my ‐‑

                      05 12/$1
                      MR. NOLAN:          H e r e w e g o , y o u r H o n o r.     7
                                                                                   The d e f e n s e ' s

   motion has in 6
                 Section ‐‐                     6         $ t h r o u g h G , e x c u s e me, $
                                                Section 3 A                                   A

   through H.

                      7 ( C2857
                      THE  O U RT:        $
                                          A l l right.       ,I d o n ' t h a v e i t   r i g h t in   front

   o f m e n o w, b u t ,
                        I ' l l believe you.

                      05 12/$1
                      MR. NOLAN:          6
                                          S o what w e would l i k e i s t h e o p p o r t u n i t y

   to   r e s p o n d t o t h a t , because t h e r e may b e a r e a s where w e c a n d o

   that.       ,I f    t h e r e a r e a r e a s where w e c o u l d n ' t d o t h a t , w e ' d l i k e

   t o b e able t o b r i e f that.

                      ,I ' d l i k e t o b e a b l e t o g i v e t h e m o t i o n c o n s i d e r a t i o n .

   ,I ' d l i k e t o b e a b l e t o t a l k w i t h o t h e r s a t t h e '
                                                                            Department to

   make s u r e t h a t w h a t w e m a y a g r e e t o d o i s              consistent with



                      $
                      And t h e n where t h e r e ' s a r e a s where w e t h i n k w e

   s h o u l d n ' t d o t h a t , w e ' r e n o t o b l i g a t e d t o d o i t , and w e have a

   disagreement between t h e defense and t h e prosecutors, w e ' d l i k e

   to   b r i e f t h a t so t h a t we can narrow these issues to the Court,

   and then t h e C o u r t can r u l e on what it                      needs t o d o h a v i n g been

   briefed.




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
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                7 ( C2857
                THE  O U RT:         7

   2

         ,                                                                    0      $




                7                                         '                                       G

                                                                              "              ,

                                                                  G




                ,                          G

                                                              ,

                                                      :

                                                                                                      ,



                05 12/$1
                MR. NOLAN:           5
                                     Right.

                7 ( C2857
                THE  O U RT:         1
                                     N o w, i t ' s ‐ ‐       i t ' s not negotiable.            Yo u

   don't ‐‐      if   i t ' s B r aGd y m a t e r i a l , y o u t u r n i t       over.   7
                                                                                          That's ‐‑

   t h a t ' s t h e b o t t o m l i n e , a n d t h e n e x t q u e s t i o n becomes, i f           you

   h a v e n ' t done t h a t , what i s       t h e s a n c t i o n"
                                                                    ?   6
                                                                        So if        you a r e going

   to b r i e f something, ,
                           I suppose t h a t ' s t h e second question t h a t

   you need t o b r i e f .

                05 12/$1
                MR. NOLAN:           $
                                     And ,
                                         I would argue t h a t the sanction

   depends o n t h e p r e j u d i c e , a n d s o ,
                                                   I think that's the




                                   7,3
                                   T I P H A$11(        52:(
                                             N N E G . CROWE
              2)),
              O F F I C,$/    2857 5(3257(5
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                                                                                                            21
   intermediate step is                   t o d e t e r m i n e w h a t p r e j u d i c e h a s b e e n made

   by the timing of the ‐‐

                  7 ( C2857
                  THE  O U RT:            5           7

   7

                 ,




                  1                                                         ,

                             0    $                                                                          ,




                                      7

                  6      ,

        G

             ,

                  2              0 r. A
                                 M    $ l m a d a n i , how d o y o u s u g g e s t w e p r o c e e d

                     "

                  05 $/0$'$1,
                  MR. ALMADANI:               Yo u r H o n o r, ,
                                                                I t h i n k it     d o e s t h e n make

   sense to p u t it             over f o r us to be able to                r e v i e w, b u t ,
                                                                                               I would

   l i k e to respond to a couple of t h e p o i n t s 0
                                                       Mr. 1
                                                           N o l a n was m a k i n g ,

   because ,
           I don't think they are entirely f a i r.

                  )
                  F i r s t o f a l l , y o u r H o n o r , when t h e G o v e r n m e n t

   represents t h a t i t s gone o v e r these notes, and t h e r e ' s n o t h i n g

   inconsistent, and ,
                     I d o n ' t fi n d j u s t o n e l i n e , y o u r H o n o r .                    ,I

   fi n d   l i n e a f t e r l i n e , item a f t e r item.            7




                                      7,3
                                      T I P H A$11(        52:(
                                                N N E G . CROWE
                 2)),
                 O F F I C,$/    2857 5(3257(5
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                                       D                                                D        D                       D

                           ,                   D                                             D                                           D

                       D                                       D                                                     D               D                       $

                                   D                                                                                                     D

                                                                                            D            D                       D

                           7 D                             D

                                                                                        D            D                       D

   ‐D          D           D                           T                    h                            a                   t                       '       7 D     s
   n o t o kD
            ay f o r t h e Government to                                                    d o , b e cD
                                                                                                       ause we t r u s t them to

   give us ‐‐                      t o o v e r ‐ p r o d u c e s o t hD
                                                                      a t w e cD
                                                                               an D        D
                                                                                  a l s o make D
                                                                                               a

   d e t e r m i nDa t i o n .

                           C l eDa r l y t h e y ' v e g o n e o v e r t h e s e t h i n g s , D
                                                                                               a n d t h e y hD
                                                                                                              ave

   n o t u n d e r s t o o d w hDa t B r a Gd y i s .                                   7
                                                                                        T h e y hD
                                                                                                 ave to e r r on t h e s i d e of

   cD                  a       0           u                       tD           i                    o                   n           .                   D           ‐
   _D      6                       7       D                                7
                                                                            T hDa t ' s w h y y o u h D
                                                                                                      ave t o g o ‐ ‐ D
                                                                                                                      as D
                                                                                                                         a

   f o r m e r p r o s e c u t o r, ,
                                    I wD
                                       as D
                                          a l wD
                                               a y s t aDu g h t t o g o o v e r y o u r fi l e

   before you i n d i c t .                                    Y o u hD
                                                                      ave t h e c o n t r o l ‐ ‐                            the timing of the

                                                       D

   y o u r B r aGd y mDa t e r i Da l t o g e t h e r .

                                           D                                                     D           D       D       D               D           D   D       D

       D           D                           D                        D           D                            D

   '               D                               D                        D                                                                    D

                                                                        D                                    D

           D                       D                                                        D                                                                    D

           D




                                            7,3
                                            T I P H A$11(        52:(
                                                      N N E G . CROWE
                       2)),
                       O F F I C,$/    2857 5(3257(5
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                                                                                                                            23
                       Y o u k n o w, t h e o t h e r t h i n g i s       t h i s notion, D
                                                                                          and t h i s

           D      D                              D                               D




   _
   D                        D                           D         D      D                         ,               D    D

   i n t e r v i e w o f , l e t ' s s Da y , 3
                                              P rD
                                                 a kD
                                                    ash o r $
                                                            A l f r e d o done i n 6
                                                                                   September




   ‑
   of      2018, D
                 a n d s o m e t h i n g l i k e t h i s wD
                                                          as d i s c l o s e d in                       t hD
                                                                                                           at

   p Da r t i c u l Da r 52,
                         R O I , t hD
                                    at is not ‐‐              t h Da t ' s s t i l l n o t D
                                                                                           a s u f fi c i e n t

   d i s c l o s u r e , b e cD
                              a u s e t h e t i m i n g mDa t t e r s .              ,
                                                                                     ‑

                                                          D                                                D

                                     D       D                D              D           D

                       6
                       So if      they've disclosed it                in D
                                                                         a n 52,
                                                                             R O I , y o u k n o w, t w o

   y eD     D t e r h e s Da i d t h e s aDm e t h i n g , t h Da t ' s n o t s u f fi c i e n t ,
      ars l a                                                                                                          your

   Honor.             7
                      T h i s hD
                               a s b e e n p r e t t y s i g n i fi c aDn t .                Y o u k n o w, t h e o t h e r

   p Da r t o f       it   i s , y o u r H o n o r , t h Da t ,
                                                              I hD
                                                                 ave been D
                                                                          a s k i n g them D
                                                                                           and

   D
   a s k i n g them, D
                     and ,
                         I ' v e been v e r y n i c e D
                                                      about i t , D
                                                                  a n d v e r y p Da t i e n t

   D
   about i t .             7
                           T h e y hD
                                    a v e n ' t e v e n d i s c l o s e d t h e u n r e dDa c t e d r e p o r t ,

   so we could D
               a c t uDa l l y h D
                                 ave D
                                     a m eDa n i n g f u l c r o s s ‐ e x D
                                                                           a m i nDa t i o n w i t h

          Dm e 3
   t h e na    P rD
                  a kD
                     ash on t h e r e .                 7
                                                        These r e p o r t s r e f e r t o 3
                                                                                          P..
                                                                                            K. D
                                                                                               and

   (
   E . /L . , D
              and /
                  L, D
                     a n d t h e C o u r t hD
                                            a s hD
                                                 ad discussions w i t h them D
                                                                             about

   i t .

                       :
                       We ' r e e n t i t l e d t o t hD
                                                       a t i n f o r mDa t i o n .               7
                                                                                                 There i s n o

   w i t n e s s sD
                  a f e t y i s s u e h e r e , y o u r H o n o r, D
                                                                   absolutely none, D
                                                                                    and s o

   w e ' r e e n t i t l e d t o hD
                                  ave t h e r e p o r t s .             :
                                                                        We're D
                                                                              also entitled to

   hD
    a v e t h e u n r e dDa c t e d r e p o r t s , b e c D
                                                          a u s e t h i s cD
                                                                           ase is                       built

   e n t i r e l y o n i m p eDa c hDa b l e w i t n e s s t e s t i m o n y .                ,I t ' s D
                                                                                                       a l l ‐‐   i t ' s

   t h e s e i n d i v i d u Da l s who wDa n t e d i m m i g rDa t i o n b e n e fi t s ,               D
                                                                                                         and t h e y




                                       7,3
                                       T I P H A$11(        52:(
                                                 N N E G . CROWE
                  2)),
                  O F F I C,$/    2857 5(3257(5
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                                                                                                            24
   have t w i s t e d and exaggerated s t o r i e s to                   g e t them, a n d t h a t ' s

   w h y t h i s woman i s s i t t i n g h e r e , a n d h e r l i f e i s t u r n e d u p s i d e

   down b e c a u s e o f      t h a t , and t h a t ' s n o t f a i r .

                  $
                  And s o w e ' r e e n t i t l e d t o i n v e s t i g a t e t h e i r witnesses

   ourselves.          :
                       We're n o t going to go bother t h e witnesses, b u t

   w e ' r e e n t i t l e d t o i n v e s t i g a t e who t h e s e p e o p l e a r e t h a t a r e

   accusing h e r.            6
                              S h e ' s e n t i t l e d t o t h a t , y o u r H o n o r, a n d ‐ ‑

                  7 ( C2857
                  THE  O U RT:         6
                                       S o what i s t h e r e about t h e r e p o r t s t h a t

   prevents you from doing t h a t"
                                  ?

                  05 $/0$'$1,
                  MR. ALMADANI:               B e c a u s e w h e n we g e t a n a m e ‐‐        w h e n we

   get a report t h a t ' s saying (
                                   E . /L . s a i d t h a t , w e d o n ' t k n o w who

   (
   E ./
      L . i s , w e ' d l i k e t o b e a b l e t o k n o w who (
                                                                E ./
                                                                   L. i s .                   :
                                                                                              What t h e

   t r u e name i s      so t h a t we c a n r u n a ‐‐              y o u k n o w, r u n o u r o w n

   p r i v a t e i n v e s t i g a t o r t o c h e c k o u t who t h i s p e r s o n i s , w h a t t h i s

                                                                                   7

   c r e d i b i l i t y o f these witnesses apparently t h e Government has

   banked i t s e n t i r e case o n .

                  7 ( C2857
                  THE  O U RT:         :
                                       Well, ,
                                             I ' m n o t so s u r e t h a t w h a t y o u a r e

   t a l k i n g a b o u t h e r e i s B r aGd y m a t e r i a l .     7
                                                                       The a b i l i t y t o

   cross‐examine a w i t n e s s .

                  05 $/0$'$1,
                  MR. ALMADANI:               7
                                              That f a l l s under 5
                                                                   Rule 16, y o u r Honor.

   ,I a p o l o g i z e ‐ ‐

                  7 ( C2857
                  THE  O U RT:         ,I t   d o e s , b u t t h a t ' s n o t B r aGd y .    6
                                                                                               Some

   c o u r t s have undertaken to                r e v i e w e v e r y t h i n g t h e G o v e r n m e n th a s ,

   and g o through i t             a n d d e c i d e w h a t ' s B r aGd y m a t e r i a l a n d w h a t




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
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   isn't.        ,
                 I hD
                    a v e n e v e r done t hD
                                            at.

                   7
                   The o n e r eD
                                ason ,
                                     I h Da v e n ' t d o n e i t            is ,
                                                                                I d o n ' t hD
                                                                                             ave t h e

   time.       $
               Another reD
                         ason ,
                              I hD
                                 a v e n ' t done i t , i s t hD
                                                               at ,
                                                                  I'm not D
                                                                          as

   fD
    a m i l iD
             ar with the reports D
                                 as t h e Government i s .                              ,I ' m n o t D
                                                                                                     as

   fD
    a m i l iD
             a r w i t h t h e p o t e n t iDa l d e f e n s e s , D
                                                                   and i t       is D
                                                                                    almost

   i m p o s s iEb l e f o r m e t o k n o w w hDa t ' s e x c u l pDa t o r y w i t h o u t k n o w i n g

   m o r e DE
           a b o u t t h e cD
                            ase, which ,
                                       I don't.

                   B u t t h e p r i mDa r y r e D
                                                 a s o n t hD
                                                            at ,
                                                               I d o n ' t d o t hD
                                                                                  a t is               ,I d o n ' t

   think i t ' s my joE
                      b.                 ,
                                         I think i t ' s the 8
                                                             United 6
                                                                    S t Da t e s $
                                                                                 Attorney's

   joE
     b.       B r aGd y s D
                          a y s s o much, D
                                          and ,
                                              I i n s i s t t h Da t t h e 8
                                                                           United 6
                                                                                  S tD
                                                                                     ates

   $ttorney do h i s or her joE
   A                          b.                         7
                                                         T hDa t ' s t h e p r i mDa r y r e D
                                                                                             ason ,
                                                                                                  I don't

   do it.

                   6
                   So ,
                      I ' m n o t g o i n g t o t aD k e t h e G o v e r n m e n t ' s r e p o r t s D
                                                                                                     and

   look D
        a t w hDa t t h e y ' v e r e d Da c t e d D
                                                   a n d d e c i d e w h e t h e r i t ' s B r aGd y

   mDa t e r iDa l o r n o t .      ,
                                    I ' m n o t g o i n g t o t aD k e t h e G o v e r n m e n t ' s

   reports D
           and l o o k D
                       a t t h i n g s t hD
                                          a t t h e y hD
                                                       aven't turned over D
                                                                          and

   d e c i d e w h e t h e r i t ' s B r aGd y mDa t e r iDa l o r n o t .     7
                                                                               T hDa t ' s t h e

   Government's j oE
                   b, D
                      a n d when y o u hD
                                        ave D
                                            a d o uEb t , y o u t u r n i t                             over.

   7
   T hDa t ' s t h e ‐ ‐ t h D
                             a t ' s t h e o n l y wDa y i t         works.

                   6
                   So, ,
                       I ' m n o t going to o r d e r t h e Government to t u r n o v e r

   u n r e dDa c t e d r e p o r t s .    ,I ' v e D   Dd y o r d e r e d t h e G o v e r n m e n tt o
                                                   alrea

   t u r n o v e r B r aGd y mDa t e r iDa l , D
                                               and ,
                                                   I ' m g o i n g t o hD
                                                                        ave y o u E
                                                                                  b r i e f the

   question of whether there is D
                                a c o n t i n u i n g B r aGd y v i o l a
                                                                        Dt i o n ,

                              D     E        D       G           D                      D       D         D

   p Da r t o f t h D
                    a t question, ,
                                  I wDa n t t o k n o w w hDa t t h e s D
                                                                        anctions D
                                                                                 are,




                                      7,3
                                      T I P H A$11(        52:(
                                                N N E G . CROWE
                 2)),
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                                                                                                         26
   if   t h e r e hD
                   ave been.             1
                                         N o w, i t   u n d o u b t e d l y w i l l depend o n t h e

   e x t e n t t h Da t t h e C o u r t mDa y o r mDa y n o t fi n d D     D t i o n , b u t ,I
                                                                     a viola

   wDa n t t o k n o w t h D
                           at.

                   ,
                   I believe D
                             a l l o f t hD
                                          a t is D
                                                 a s e pDa rDa t e q u e s t i o n f r o m t h e

   F r a n k s h eDa r i n g , w h i c h w e ' r e s t i l l g o i n g t o g o f o r wDa r d w i t h .       6
                                                                                                             So

   ,I h Da t e t o h D
                     ave to do t h i s D
                                       a gDa i n , b u t ,
                                                         I ' l l l e t y o u fi l e            new

   b r i e f s o n t h e Franks issue, D
                                       and ,
                                           I ' l l D
                                                   a s k t h Da t y o u p u t i t                  D
                                                                                                   a l l

   together in            o n e p l aDc e ,   so ,
                                                 I d o n ' t hD
                                                              a v e t o g o bD
                                                                             ack to t h e o l d

   briefs D
          a n d t h e n e w, D
                             a n d d e c i d e w hDa t ' s n e w D
                                                                 a n d w hDa t i s n ' t .

   :
   W e ' l l s tD
                a r t f r o m s c rD
                                   atch on the Franks motion.

                   :
                   W e ' l l s t Da r t w i t h 0
                                                Mr. $
                                                    A l mDa dDa n i ' s b r i e f , D
                                                                                    and then if            you

                                D
   n e e d m o r e t i m e t o make sure you've got D
                                                    a l l t h e mDa t e r iDa l t h e

   Government is             going to         give you, then ,
                                                             I ' l l g i v e y o u t hD
                                                                                      a t time.

   7
   T h e n w e ' l l hD
                      ave t h e Government's b r i e f , D
                                                         and D
                                                             a r e p l y, D
                                                                          and then

   w e ' l l come bD
                   ack here f o r D
                                  a h eDa r i n g .

                   0
                   M y p o s i t i o n o n t h e h eDa r i n g wDa s t h D
                                                                         at if     D
                                                                                   a n y b o d y wDa n t s

   t o c Da l l D
                a w i t n e s s , t h e C o u r t w i l l h eDa r t h o s e w i t n e s s e s i n t h e

   F r a n k s h eDa r i n g .    ,I k n o w t h Da t t h e r e D
                                                                a r e c o u r t s t hD
                                                                                     a t hD
                                                                                          a v e s Da i d w e

   d o n ' t need D
                  a F r a n k s h eDa r i n g , D
                                                and t h e y ' v e w r i t t e n l o n g opinions

   D
   a b o u t why t h e y do n o t , D
                                    a n d sometimes t h o s e o p i n i o n s D
                                                                              are

   D                  6                          D

                   But ,
                       I D
                         a l wD
                              ays l i k e to           sD
                                                        a y t hD
                                                               a t if     the issue is         serious

                              Dl k i n g D
   enough f o r u s t o b e t a          a b o u t i t , i t ' s s e r i o u s enough f o r

   me to     h eDa r w hDa t e v e r e v i d e n c e o n e s i d e o r t h e o t h e r wDa n t s m e t o

   h eDa r o n t h e m o t i o n .




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
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                                                                                                         27
                    6
                    So on t h e Franks motion, if                    e i t h e r one of y o u wants to

   c a l l witnesses, ,
                      I w i l l hear those witnesses, and t h a t w i l l be

   t h e Franks hearing.                1
                                        Now a t t h e same t i m e , w e m i g h t a s w e l l

   h a v e t h a t B r aGd y i s s u e f u l l y b r i e f e d s o t h a t w e c a n d e c i d e t h a t

   at   t h e same t i m e , b e c a u s e w e c a n ' t j u s t k e e p g o i n g w i t h t h i s

   case .      $                                 '   6



                    1            ,                                                                  ,

                    G                                                                                         ,



                           $                     6

                    05 $/0$'$1,
                    MR. ALMADANI:            0 ay ,
                                             M    I h a v e a moment to              l o o k at    my

   c a l e n d a r , y o u r H o n o r"?

                    7 ( C2857
                    THE  O U RT:        Ye s .

                    05 12/$1
                    MR. NOLAN:          0
                                        May ,
                                            I ask a simple question on t h i s in

   t e r m s t h a t y o u t a l k e d a b o u t b r i e fi n g ‐ ‐      redo t h e Franks

   hearing, and ,
                I j u s t want t o b e c l e a r o n t h a t .                      6
                                                                                    So t h i s w i l l be

   as if     it     supercedes t h e l a s t o n e ; is              t h a t w h a t y o u a r e s a y i n g"
                                                                                                            ?

                    7 ( C2857
                    THE  O U RT:        Ye s , ,
                                               I want i t        a l l together in           one




                    05 12/$1
                    MR. NOLAN:          2
                                        O k a y, s o ‐ ‐ a n d t h e n t h e r e i s c u r r e n t l y a

   pending m o t i o n o n d i s c o v e r y.            :
                                                         Would y o u want t h e G o v e r n m e n t t o

   respond to           t h a t m o t i o n t h a t w a s fi l e d    l a s t n i g h t by t h e

   d e f e n s e"
                ?

                    7 ( C2857
                    THE  O U RT:        5
                                        Refresh my recollection.                    '
                                                                                    Didn't ,
                                                                                           I t e l l




                                       7,3
                                       T I P H A$11(        52:(
                                                 N N E G . CROWE
                  2)),
                  O F F I C,$/    2857 5(3257(5
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                                                                                                           28
   you in t h i s case ,
                       I would hear discovery motions instead of t h e

   0 agistrate, or is
   M                            t h a t a d i f f e r e n t c a s e"
                                                                   ?

                 05 12/$1
                 MR. NOLAN:            ,
                                       I d o n ' t know if         t h a t ' s come u p .

                 7 ( C2857
                 THE  O U RT:        2
                                     Our l o c a l r u l e s a r e t h e discovery motions,

   in criminal or c i v i l cases, a r e heard by o u r magistrate judges.

   2
   O n some o c c a s i o n s , i n o r d e r t o s i m p l i f y i t , e x p e d i t e m a t t e r s ,

   a n d keep a l l t h e m o t i o n s b e f o r e me, ,
                                                        I ' v e said ,
                                                                     I would hear

   discovery motions.

                 ,I d o n ' t k n o w i f     ,I s a i d t h a t i n t h i s c a s e .    ,I f ,I

   d i d n ' t , i t ' s t h e magistrate judge t h a t w i l l hear i t .

                 05 $/0$'$1,
                 MR. ALMADANI:              Yo u r H o n o r, may ,
                                                                  I address t h a t"
                                                                                   ?                -J u s t

   because of        t h e h i s t o r y of    t h i s case, and w h a t ' s gone on, and

   t h e way t h a t t h e Government has n o t d i s c l o s e d m a t t e r s , we would



   up to the Court.

                 7 ( C2857
                 THE  O U RT:        ,I t h i n k t h a t p r o b a b l y m a k e s s e n s e i f , f o r

   no o t h e r r e a s o n , besides what 0
                                           Mr. $
                                               Almadani s a y s , t i m i n g .                       ,I

   w a n t t o make s u r e t h a t ‐ ‐        t h e w a y w e d o t h e s e m o t i o n s makes

   sense.

                 6
                 S o w h a t ' s t h e d i s c o v e r y m o t i o n"
                                                                    ?     ,I s t h a t o n fi l e       n o w"
                                                                                                             ?

                     05
                     MR. 12/$1
                         NOLAN:             Ye s ‐‑

                     05
                     MR. $/0$'$1,
                         ALMADANI:             ,It   is   on fi l e ,   y o u r H o n o r, and ,
                                                                                               I just

   had it     open, ,
                    I apologize.                 2
                                                 O k a y, h e r e i t   i s , y o u r H o n o r.      6
                                                                                                      So

   w e ' v e made a d i s c o v e r y m o t i o n o n t h e b a s i s o f n o t j u s t B r aGd y ,

   but 5
       Rule 16, 5
                Rule 26.2,                  a n d , w e l l , G i g l i o a n d HHe n t h o r n a r e




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
                        I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
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                                                                                                          29
   r e l a t e d t o B r aGd y , s o t h o s e w o u l d b e p a r t o f t h e B r aGd y m o t i o n .

                  B u t there is        a motion on 5
                                                    Rule ‐‐                on t h e basis of 5
                                                                                             Rule

   16.     7
           T h a t has t o d o w i t h t h e ‐ ‐ t h e w i t n e s s ' names, y o u r H o n o r.

   7
   T h e r e ' s n o r e a s o n t o have r e d a c t e d w i t n e s s names, because w e

   a r e e n t i t l e d t o k n o w who t h e s e p e o p l e a r e , who t h e a c c u s e r s

   are.

                 $
                 And e s p e c i a l l y g i v e n t h e f a c t t h a t t h e s e witnesses,

   b a s e d o n t h e n o t e s t h a t w e ' r e g e t t i n g n o w, a n d t h e r e p o r t s t h a t

   w e ' r e g e t t i n g , t h e y a r e h i g h l y impeachable witnesses.                     :
                                                                                                  We're

   e n t i t l e d t o d o o u r own i n v e s t i g a t i o n o n them.

                 :
                 W e ' r e n o t ‐ ‐ y o u k n o w, t h e r e ' s n o ‐ ‐ t h i s i s n o t a

   gang case.         ,
                      I t ' s n o t a drug case ‐‑

                 7 ( C2857
                 THE  O U RT:         1
                                      N o m i n o r s i n v o l v e d"
                                                                     ?

                 05 $/0$'$1,
                 MR. ALMADANI:             1
                                           No m i n o r s i n v o l v e d , y o u r H o n o r .

                 7 ( C2857
                 THE  O U RT:         :
                                      When i s t h a t m o t i o n n o t i c e d f o r h e a r i n g "
                                                                                                     ?

                 05 $/0$'$1,
                 MR. ALMADANI:             $ c t u a l l y , y o u r H o n o r , we i n c l u d e d it
                                           A

                                           ,

   that if      the Court would l i k e .

                 7 ( C2857
                 THE  O U RT:         0
                                      Make i t     separate.            /
                                                                        L e t ' s keep t h e s e t h i n g s

   separate.

                 05
                 MR. $/0$'$1,
                     ALMADANI:             6
                                           Sure, y o u r Honor.

                 7 ( C2857
                 THE  O U RT:         1
                                      Now t h e r e ' s t h r e e t h i n g s .     7
                                                                                    There's the

   F r a n k s i s s u e , t h e B r aGd y i s s u e , a n d n o w t h e r e ' s t h e d i s c o v e r y

   motion.

                 05 $/0$'$1,
                 MR. ALMADANI:             Ye s , y o u r H o n o r .




                                    7,3
                                    T I P H A$11(        52:(
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
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                                                                                                           30
                   7 ( C2857
                   THE  O U RT:          3
                                         Put the discovery motion on f o r hearing.

   ,I t h i n k i t       makes s e n s e b e f o r e w e g o f o r w a r d w i t h t h e r e s t o f

   t h e Franks hearing.

                   05 $/0$'$1,
                   MR. ALMADANI:              Ye s , y o u r H o n o r .

                   7 ( C2857
                   THE  O U RT:          6
                                         So you've already got i t .                   :
                                                                                       When w o u l d y o u

   l i k e to    ‐‐       how much t i m e w o u l d y o u w a n t t o       r e s p o n d"
                                                                                          ?

                   05 12/$1
                   MR. NOLAN:            14 d a y s .

                   7 ( C2857
                   THE  O U RT:          6
                                         S o i t ' s o n fi l e    n o w.    ,I f   y o u h a d 14 d a y s

   t o r e p l y , y o u ' d h a v e u n t i l a b o u t t h e s e c o n d week i n 0
                                                                                    March.

   ,I ' l l g i v e y o u u n t i l M
                                    0 arch t h e 9 t h to respond.                   '
                                                                                     Do you want to

   r e p l y"
            ?    '
                 D o y o u w a n t a week t o r e p l y"
                                                       ?

                   05 $/0$'$1,
                   MR. ALMADANI:              Ye s , y o u r H o n o r .

                   7 ( C2857
                   THE  O U RT:          0
                                         M a r c h t h e 1 6 t h , a n d t h e n we c a n h e a r t h a t

      0 arch t h e 23rd, through t h e discovery motion, on 0
   on M                                                     March t h e

   23rd.

                   05 $/0$'$1,
                   MR. ALMADANI:              ,
                                              If   y o u r H o n o r c a n g i v e me j u s t a moment

   t o check m y c a l e n d a r.           0
                                            March 2 3 sounds dangerous t o me, b u t i f



                   ,
                   I a p o l o g i z e , y o u r H o n o r, ,
                                                            I h a v e a c a s e management

   conference t h a t day i n 6
                              Southern C a l i f o r n i a .

                   7 ( C2857
                   THE  O U RT:          '
                                         Do y o u w a n t to      p u t it   o v e r o n e week to

   0 a r c h 3 0 t h "?
   M

                   05
                   MR. $/0$'$1,
                       ALMADANI:              7
                                              That works f o r me.

                   7 ( C2857
                   THE  O U RT:          6
                                         So t h a t w i l l be t h e o r d e r t h e n .         /
                                                                                                 Let's set

   t h e F r a n k s h e a r i n g f o r some t i m e a f t e r t h a t .           1
                                                                                    N o w, t h e q u e s t i o n




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
                         I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
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                                                                                                         31
   i s , d o y o u n e e d t o know w h a t m a t e r i a l s y o u a r e g o i n g t o h a v e

   f r o m t h e d i s c o v e r y m o t i o n b e f o r e y o u b r i e f t h e F r a n k s m o t i o n"
                                                                                                        ?

   ,I d o n ' t w a n t t o h a v e t o d o i t       a t h i r d time.

                  05 $/0$'$1,
                  MR. ALMADANI:           ,
                                          I a g r e e , y o u r Honor.              :
                                                                                    We ‐‐   ,I d o n ' t ‐‑

   ,I j u s t h a v e n o t b e e n g i v e n t h e m a t e r i a l s , s o ,
                                                                            I have n o i d e a

   what to expect ‐‑

                  7 ( C2857
                  THE  O U RT:       2
                                     O k a y.     /
                                                  L e t ' s go back here a minute, and

   a s k w h e t h e r y o u r e a l l y n e e d t w o weeks t o        respond to          this

   discovery motion.              H a v e y o u s e e n t h e d i s c o v e r y m o t i o n"
                                                                                           ?

                  05 12/$1
                  MR. NOLAN:         ,I r e a d i t    through once l a s t n i g h t .

                  7 ( C2857
                  THE  O U RT:       '
                                     D o e s it    l o o k l i k e you r e a l l y need two

   weeks, or does it             l o o k l i k e y o u c o u l d do it         in    a c o u p l e d a y s"
                                                                                                          ?

                  05 12/$1
                  MR. NOLAN:         :
                                     W e l l , because ,
                                                       I would l i k e to ‐‐ ,
                                                                             I don't

   know i f     a couple o f days, n e c e s s a r i l y, j u s t scheduling i n o t h e r

   cases ‐‐

                  7 ( C2857
                  THE  O U RT:       /
                                     L e t me see the discovery motion.                          '
                                                                                                 Do you

   have a copy o f i t "
                       ?            ,
                                    I have i t        r i g h t here.      /
                                                                           Let me look.

                  05 12/$1
                  MR. NOLAN:         ,I t ' s s p e c i fi c a l l y ‐ ‐ i t ' s 6
                                                                                 Section 3 is

           ,

                  7 ( C2857
                  THE  O U RT:       :
                                     W e l l , i t ' s t w o p a g e s , b u t it        covers a l o t

   of categories.

                  05 $/0$'$1,
                  MR. ALMADANI:            Ye s , y o u r H o n o r .    ,It    s t a r t s on p a g e

   four.       7
               These a r e e s s e n t i a l l y renewed d i s c o v e r y r e q u e s t s .          7
                                                                                                      These

   a r e a l l t h i n g s t h a t t h e y a r e o b l i g a t e d t o produce w i t h o u t u s

   r e a l l y a s k i n g f o r them.




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
                         I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
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                                                                                                             32
                  05 12/$1
                  MR. NOLAN:          ,I f   ,
                                             I c o u l d address t h a t , y o u r Honor ‐‑

                  7 ( C2857
                  THE  O U RT:        Well, they are not a l l things.                       ,I ' m j u s t

   looking at t h e t i t l e here, "Grand -
                                           J u r y t e s t i m o n y. "                    7
                                                                                           They a r e

   n o t r e q u i r e d to g i v e you Grand -
                                              J u r y t e s t i m o n y, p e r s e .

                  05 $/0$'$1,
                  MR. ALMADANI:              8
                                             U n l e s s it    f a l l s within 5
                                                                                Rule 26.2, your

   Honor.       7
                That's a l l we're asking f o r.                     ,I f   it   f a l l s within 5
                                                                                                  Rule

   26.2, we're e n t i t l e d to i t .              2
                                                     Otherwise, t h e C o u r t is c o r r e c t .

                  05 12/$1
                  MR. NOLAN:          7
                                      T h a t i s why w e w o u l d l i k e t h e o p p o r t u n i t y

   to   respond to        i t .    ,I d o t h i n k t h e r e a r e t h i n g s i n t h e r e t h a t w e

   e i t h e r have done a l r e a d y, a n d w o u l d l i k e t o b e a b l e t o p o i n t

   t h a t o u t , and go o v e r t h a t w i t h defense counsel ‐‑

                  7 ( C2857
                  THE  O U RT:        Y o u k n o w, ,
                                                     I don't care.                 $
                                                                                   At   this point,

   u n l e s s w e ' r e t a l k i n g a b o u t B r aGd      ‐‑

                  05 12/$1
                  MR. NOLAN:          2
                                      O k a y ‐‑

                  7 ( C2857
                  THE  O U RT:        ‐‐     ,
                                             I d o n ' t c a r e a b o u t t h a t y o u ' v e d o n e it

   before.        7
                  They s h o u l d have known.                 7
                                                               These t y p e s o f i s s u e s .     ,I

   j u s t w a n t t o know s h o u l d ,
                                        I grant i t , or should ,
                                                                I deny i t "
                                                                           ?                              ,I f

                                                                                           ,

                  $
                  And i f     t h e r e ' s some r e a s o n t h a t y o u s h o u l d n ' t b e

   required to turn it               o v e r, o r y o u d o n ' t want t o t u r n i t          o v e r,

   then ,
        I n e e d t o know t h a t .

                  05 12/$1
                  MR. NOLAN:          $
                                      And t h a t ' s what w e ' d l i k e t h e o p p o r t u n i t y

   to do.       ,
                I j u s t haven't had the opportunity ‐‑

                  7 ( C2857
                  THE  O U RT:        ,I ' l l g i v e y o u o n e w e e k .       How a b o u t o n e

   w e e k"
          ?   0
              March t h e 2nd.




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
                        I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
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                                                                                                           33
                  05 $/0$'$1,
                  MR. ALMADANI:                  7
                                                 T h a t w o u l d make o u r r e p l y , y o u r H o n o r ,

   due on 0
          M a r c h 9"?

                  7 ( C2857
                  THE  O U RT:            0
                                          M a r c h 9.

                  05 $/0$'$1,
                  MR. ALMADANI:                  Ye p .

                  7 ( C2857
                       O U RT:            $
                                          And t h e n ,
                                                      I c o u l d h e a r it           0 arch t h e
                                                                                    on M




                  05       $/0$'$1,
                           ALMADANI:             0 a r c h 16 w o u l d w o r k f o r u s , y o u r
                                                 M



                  7 ( C2857
                       O U RT:            ,I s   t h a t a l l r i g h t f o r y o u"
                                                                                    ?

                  05
                  MR. 12/$1
                      NOLAN:              Can ,
                                              I d o u b l e ‐ c h e c k"
                                                                       ?

                  05 $/0$'$1,
                  MR. ALMADANI:                  $ t h e y a r e checking t h a t , y o u r H o n o r,
                                                 As

   there is         a n i s s u e w i t h t h e B r aGd y .           :
                                                                      Webelieve there's s t i l l

   o u t s t a n d i n g B r aGd y m a t e r i a l , a n d b e f o r e w e b r i e f t h e i s s u e o f

                       G

   would have to               ‐‐   ,I t h i n k t h e y h a v e t o make s o m e s u p p l e m e n t a l

   disclosures, b u t , you know...

                  7 (          2857       :                   7

                           G                         ,

                           7

                G                                         "                     G

           "    :                                                 "    7

   7

       G                            ,



                  05 $/0$'$1,
                  MR. ALMADANI:                  Ye s , y o u r H o n o r .




                                    7,3
                                    T I P H A$11(        52:(
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
                        I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 78 of 348


                 7 ( C2857
                      O U RT:        6
                                     So is      t h e 1 6 t h o k a y"
                                                                     ?

                 05 12/$1
                 MR. NOLAN:          We w i l l make t h a t w o r k .

                 7 ( C2857
                 THE  O U RT:        $
                                     A l l right.

                 7 ( C/(5.
                 THE  LERK:          ,I s t h a t 9 : 0 0 o ' c l o c k "
                                                                        ?

                 7 ( C2857
                 THE  O U RT:        Well,      t h a t ' s t h e c a l e n d a r.        /
                                                                                          L e t me see




   i n a l i t t l e l a t e r s i n c e y o u ' r e coming i n f r o m o u t o f town.

                 7 ( C/(5.
                 THE  LERK:          1
                                     N o t h i n g r i g h t now ‐ ‑

                 7 ( C2857
                 THE  O U RT:        2
                                     O k a y, 9 : 0 0 o ' c l o c k .

                 05 $/0$'$1,
                 MR. ALMADANI:            Ye s , y o u r H o n o r .

                 7 ( C2857
                 THE  O U RT:        $
                                     And t h a t ' s j u s t t h e h e a r i n g o n t h e

   discovery motion.

                 05 $/0$'$1,
                 MR. ALMADANI:            Ye s , y o u r H o n o r .

                 7 ( C2857
                 THE  O U RT:        2
                                     O k a y.     ,
                                                  I s t h e s c h e d u l e c l e a r n o w"
                                                                                           ?

                 05 12/$1
                 MR. NOLAN:          7
                                     The s c h e d u l e i s c l e a r f o r t h e d i s c o v e r y ,

   and then ,
            I ‐‑

                 7 ( C2857
                 THE  O U RT:        Well, t h e schedule f o r everything else,



                 05 12/$1
                 MR. NOLAN:          $
                                     A n d t h e n at      t h a t t i m e , is      it    at   t h a t time

   t h a t w e ' l l t h e n s e t o u t a s c h e d u l e f o r F r a n k s"?

                 7 ( C2857
                 THE  O U RT:        5
                                     Right.         W e ' r e g o i n g to   b r e a k it       down   the

   way ,
       I said.

                 05 12/$1
                 MR. NOLAN:          ,I u n d e r s t a n d .

                 05 $/0$'$1,
                 MR. ALMADANI:            7
                                          Thank y o u , y o u r H o n o r .

                 7 ( C2857
                 THE  O U RT:        $
                                     A l l right.




                                    7,3
                                    T I P H A$11(        52 (
                                              N N E G . CROWE
               2)),
               O F F I C,$/    2857 5(3257(5
                        I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
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                       (7
                        The proceedings D
                                        adjourned D
                                                  at                      9:48 D
                                                                               a.m.)

                                                  ‐‐o2
                                                     Oo‐‑

   ,I c e r t i f y t h Da t t h e f o r e g o i n g i s D
                                                         a c o r r e c t t r aD n s c r i p t f r o m t h e

   record of proceedings in t h e D
                                  a b o v e ‐ e n t i t l e d mDa t t e r .

                                                 7     D
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             7,3 $11( G. CROWE
                                             TIPHANNE       52:(
                                              65 1
                                             CSR N O . 10958




                                     7,3
                                     T I P H A$11(        52:(
                                               N N E G . CROWE
                2)),
                O F F I C,$/    2857 5(3257(5
                         I A L COURT  REPORTER, 86'     USDC ‐ ( 9 1 6 ) 7 4 3 ‐ 0 1 2 2
Case 2:18-cr-00119-WBS Document 92 Filed 03/10/20 Page 80 of 348




                 Ex. BBB
      Case2:06-cr-00058-JAM-EFB
     Case   2:18-cr-00119-WBS Document 92 726
                                Document   FiledFiled
                                                 03/10/20   Page
                                                      12/20/17   81 of1 348
                                                               Page     of 15

 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        No. 2:06-cr-0058-JAM-EFB P

12                      Respondent,
13          vs.                                       ORDER

14   JAGDIP SINGH SEKHON, MANJIT
     KAUR RAI,
15
                        Movants.
16

17

18          Movants Jagdip Singh Sekhon and Manjit Kaur Rai have filed motions to vacate, set

19   aside, or correct their sentences pursuant to 28 U.S.C. § 2255.1 ECF Nos. 622, 627. The court

20   has determined that two claims (presented in both § 2255 motions) merit an evidentiary hearing.

21   ECF No. 678. The first of these claims alleges that government witnesses Carol Webster and

22   Ranbir Khera offered testimony which the government knew to be false in violation of Napue v.

23   Illinois, 360 U.S. 264 (1959). The second is that the government failed to disclose that it had

24   offered Khera legal permanent residency in exchange for his testimony in violation of Brady v.

25   Maryland, 373 U.S. 83 (1963). Movant Rai now asks the court for leave to conduct Khera’s

26   deposition and to amend her § 2255 motion. ECF Nos. 705, 710. She has filed a proposed

27
            1
               These motions were assigned, for statistical purposes, the following civil case numbers:
28
     No. 2:15-cv-2491-JAM-EFB and No. 2:16-cv-00067-JAM-EFB.
                                                     1
      Case2:06-cr-00058-JAM-EFB
     Case   2:18-cr-00119-WBS Document 92 726
                                Document   FiledFiled
                                                 03/10/20   Page
                                                      12/20/17   82 of2 348
                                                               Page     of 15

 1   amended motion. ECF No. 711. Movant Sekhon has filed single-paragraph notices of joinder in
 2   Rai’s motion for deposition and motion to amend. ECF Nos. 712, 713.
 3   I.      Background
 4           In 2009, movant Sekhon was convicted of a single count, and movant Rai of several, of
 5   violating federal law in connection with the filing of fraudulent asylum applications. In its
 6   opposition to Sekhon’s § 2255 motion, the government includes a brief summary of the facts of
 7   the case. The court reproduces this summary in part solely for background purposes.
 8                Sekhon & Sekhon was founded in 1995 by Defendant and his younger
                  brother, Jagprit Sekhon. ECF No. 504-11 at 54–57 (RT 6215–18). The
 9                firm focused on representing clients in immigration proceedings. Id. at 54,
                  59 (RT 6215, 6220). The firm maintained offices in San Francisco and
10                Sacramento. ECF No. 502-9 at 46 (RT 652). Defendant was based in the
                  San Francisco office while Jagprit was based in the Sacramento office. Id.
11                Defendant specialized in asylum work. ECF No. 504-11 at 59 (RT 6220).
12                In 2002, a United States asylum officer, Mark Temple, became suspicious
                  about asylum claims filed on behalf of Sekhon & Sekhon clients. ECF No.
13                502-7 at 50–51 (RT 455–56). The matter was referred to Immigration and
                  Customs Enforcement (ICE) Special Agent Carol Webster for
14                investigation. ECF No. 502-7 at 55–56 (RT 460–61). During the course of
                  the investigation, Special Agent Webster had a confidential informant pose
15                as a potential Sekhon & Sekhon client. ECF No. 503-10 at 79–80 (RT
                  2295–96). The informant recorded meetings with defendants Jagprit
16                Sekhon, Rai, Caza, and Harmath; those recordings were later played at
                  trial. ECF No. 504 at 23–29 (RT 3487–93).
17

18   ECF No. 646 at 7-8. At trial, the government introduced testimony and evidence from various
19   sources with the intent of proving that Sekhon & Sekhon was a “fraud factory” wherein “each
20   defendant played a different role in the process, but each was vital to the overall scheme, the
21   processing of fraudulent asylum claims.” Id. at 9-13; ECF No. 504-14 (RT 6680).
22           A.      False Testimony
23           Movants argue that the government knowingly presented false testimony from Agent
24   Webster and Ranbir Khera. ECF No. 622 at 62-72; ECF No. 627 at 49-54. As noted above,
25   Webster was an Immigration and Customs Enforcement agent who investigated Sekhon &
26   Sekhon for asylum fraud. ECF No. 502-7 at 55-56 (RT 460–61). Khera is an Indian national
27   who first sought immigration assistance from Sekhon & Sekhon’s Sacramento office in 2000.
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 1   ECF No. 503-2 at 75-79 (RT 1633-1637). Khera testified that he met with Sekhon’s brother
 2   Jagprit, signed several documents, and subsequently received an asylum application from the firm
 3   by mail. Id. at 76-84 (RT 1634-1642). He testified that the application contained several
 4   statements which falsely described both his involvement with a Sikh separatist movement and
 5   local police retaliation against him stemming from that affiliation. Id. at 85-90 (RT 1643-1648).
 6   Khera testified that he called Jagprit Sekhon and informed him that, due to the falsity of those
 7   statements, he would not attend his asylum interview. Id. at 92 (RT 1650). Khera would later
 8   marry a United States citizen and seek renewed adjustment to his immigration status. Id. at 93-94
 9   (RT 1651-1652). Officials referred him to the Sacramento Immigration Office sometime in 2005,
10   and he testified that he first met Webster at that time. Id. at 95 (RT 1653).
11          Both movants allege that, at trial, Khera and Webster misrepresented their interactions.
12   They state that both witnesses falsely testified about a 2005 meeting in Sacramento between
13   Webster, Khera, and his wife, Sarbjit Kaur, which actually never occurred. ECF No. 503-3 at 81-
14   85 (RT 1743-1747); ECF No. 504 at 53-54 (RT 3517-3518). Webster testified that, as a result of
15   observing the couple’s interaction at this meeting, she was convinced that their marriage was
16   bona fide. ECF No. 506 at 47- 48 (RT 3804-3805). Webster would go on to maintain that she
17   had not promised Khera any favorable adjudication in exchange for his testimony and state that,
18   based on meeting the couple, she “was confident that he would have gotten his green card” on the
19   bona fides of the marriage. ECF No. 504 at 54-57 (RT 3518-3521); ECF No. 506 at 61-62 (RT
20   3817-3818). Movants argue that Webster’s testimony was perjured and have provided
21   declarations from Kaur which state that she never met Webster or travelled to Sacramento with
22   Khera to discuss his immigration status with anyone. ECF No. 622-10 at 298; ECF No. 627-2 at
23   167. Movants emphasize that Khera and Kaur did attend an interview with a different
24   immigration official in San Francisco in 2003 to establish their marriage bona fides. After
25   meeting with the couple, that immigration official raised numerous concerns about the legitimacy
26   of the marriage. See ECF No. 622-3 at 44; see also ECF No. 627 at 36. Finally, movants point to
27   a 2006 memo from Webster to the Fresno office of Customs and Immigration Services requesting
28   that Khera’s immigration status be adjudicated. ECF No. 622-3 at 29. The memo describes
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 1   Khera as a “key witness in an ongoing ICE criminal investigation regarding the preparers of his
 2   asylum application” and notes that the information he provided was “crucial to the indictment of
 3   three attorneys in an asylum fraud ring.” Id. Movants contend that this language is indicative of
 4   Khera being provided an adjudicative benefit for his testimony. See ECF No. 627 at 36.
 5          Movants state that the foregoing discrepancies are material. They argue that they show
 6   that Khera was not, as the government presented at trial, granted permanent residence as a matter
 7   of course.2 Rather, the movants contend that the fabrication of the 2005 meeting and the
 8   weakness of the 2003 marriage interview both indicate that Khera could only have been granted
 9   permanent residence in exchange for his trial testimony. Movants conclude that the revelation of
10   Agent Webster’s alleged perjury in this matter would have undermined her overall credibility as a
11   witness and the government’s case against them would have weakened significantly.
12          B.       Failure to Disclose
13          Movants also argue that the government violated its obligations under Brady v. Maryland,
14   373 U.S. 83 (1963) by failing to inform the defense that Khera had been granted lawful
15   permanent residence in exchange for his testimony. ECF No. 622 at 81; ECF No. 627 at 56-57.
16   The government maintains that Khera was not given anything in exchange for his testimony.
17   ECF No. 646 at 35; ECF No. 658 at 28-29.
18

19          2
             At trial, Judge Damrell noted his own concerns about the investigation into Khera’s
     marriage. He referenced the 2003 meeting with the San Francisco immigration official where
20   concerns were raised about the legitimacy of Khera’s marriage and stated:
21
                 All the documents seem to point to a problem. The interview points to
22               questions that the hearing officer had that apparently were not resolved at
                 the hearing.
23
                 …
24

25               My concern is it is left on the cliff anticipating something beyond that, and
                 the next thing that we know, the witness has got a permanent status.
26
     ECF No. 503-3 at 102 (RT 1764). Government counsel agreed to look into the matter (Id. at 103
27   (RT 1765)) but stated that “to [his] understanding” Webster had no influence on Khera’s
     adjudication. Webster confirmed that understanding in her testimony the next day. ECF No. 504
28
     at 53-57 (RT 3517-3521).
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 1   II.       The Motion to Depose Ranbir Khera
 2             A.    Governing Law
 3             District courts may, for good cause, authorize parties to a § 2255 motion to conduct
 4   discovery “under the Federal Rules of Criminal Procedure of Civil Procedure, or in accordance
 5   with the practices and principles of law.” Rule 6, Rules Governing Section 2255 Proceedings;
 6   United States v. Finkel, 165 F. App’x 531, 532-33 (9th Cir. 2006); United States v. Dollison, No.
 7   3:09-cr-00106-SLG-DMS, 2017 U.S. Dist. LEXIS 142584, at *17 (D. Alaska Sep. 4, 2017).
 8   Good cause under Rule 6(a) exists “where specific allegations before the court show reason to
 9   believe that the petitioner may, if facts are fully developed, be able to demonstrate that he is
10   entitled to relief.” Finkel, 165 F. App’x at 533 (internal quotation marks and citations omitted).
11   Discovery should not be granted “for fishing expeditions to investigate mere speculation” or
12   “conclusory allegations.” Id.; Dollison, 2017 U.S. Dist. LEXIS 142584, at 17. The Ninth Circuit
13   reviews the district court’s discovery determination for abuse of discretion. Finkel, 165 F. App’x
14   at 533.
15             B.    There Is Good Cause for the Deposition
16             To determine whether there is good cause for the requested deposition, the court must ask
17   whether movants have provided reason to believe that, with further factual development, they
18   could make out their constitutional claims. Those claims are brought under Napue and Brady.
19             The Supreme Court’s decision in Napue v. Illinois holds that “a conviction obtained
20   through use of false evidence, known to be such by representatives of the State” violates a
21   defendant’s rights under the Fourteenth Amendment. 360 U.S. 264 at 269 (1959). Napue is also
22   violated where “the State, although not soliciting false evidence, allows it to go uncorrected when
23   it appears.” Id. Napue draws no distinction between false testimony that goes directly to a
24   defendant’s guilt and testimony that bears only on the credibility of a witness. Id. To prevail on a
25   Napue claim, “the petitioner must show that (1) the testimony (or evidence) was actually false, (2)
26   the prosecution knew or should have known that the testimony was actually false, and (3) that the
27   false testimony was material.” United States v. Zuno-Arce, 339 F.3d 886, 889 (9th Cir. 2003).
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 1   “In assessing materiality under Napue, we determine whether there is any reasonable likelihood
 2   that the false testimony could have affected the judgment of the jury; if so, then the conviction
 3   must be set aside.” Hayes v. Brown, 399 F.3d 972, 984 (9th Cir. 2005) (internal quotations and
 4   citations omitted). “Under this materiality standard, the question is not whether the defendant
 5   would more likely than not have received a different verdict with the evidence, but whether in its
 6   absence he received a fair trial, understood as a trial resulting in a verdict worthy of confidence.”
 7   Id. Mere inconsistencies in testimony are insufficient to establish either that the testimony was
 8   false or that the prosecutor knowingly used false testimony. United States v. Croft, 124 F.3d
 9   1109, 1119 (9th Cir. 1997).
10           Brady v. Maryland, 373 U.S. 83 (1962) and its successors require the prosecution to
11   disclose evidence that is favorable to the accused, “either because it is exculpatory, or because it
12   is impeaching.” Strickler v. Greene, 527 U.S. 263, 282 (1999). There is no violation under
13   Brady unless the evidence the prosecution failed to disclose prejudiced the accused – that is, that
14   there is a reasonable probability the suppressed evidence would have produced a different verdict.
15   Id. at 281.
16           In finding that movants are entitled to an evidentiary hearing on their Napue and Brady
17   claims, the court has already found that they have provided the court with specific factual
18   allegations which, if true, state claims on which relief under § 2255 could be granted. ECF No.
19   671 at 9-10. The court concluded that Sarbjit Kaur’s affidavit did not simply imply that Khera
20   and Webster lied on the stand; instead, it flatly refuted their testimony about the 2005 meeting.
21   Id. at 9. It further found that the inconsistency between Kaur’s account and that of the two
22   government witnesses was not explored at trial and that, “given the import of Webster’s
23   testimony to the government’s case, the court cannot simply dismiss her allegedly false testimony
24   as immaterial.” Id.
25           Movants have provided additional evidence in support of these claims gathered in early
26   November 2017. ECF No. 714-1 (Decl. of Frank W. Huntington III); see discussion regarding
27   Motion to Amend, infra. At that time, Rai’s attorney Kresta Daly traveled to New York City with
28   investigator Frank Huntington to investigate Rai’s case. As part of the investigation, the two
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 1   located and interviewed Maribel Diaz, Khera’s first wife. Id. Diaz told Huntington and Daly that
 2   she had been paid to marry Khera and met him for the first and only time when they were married
 3   at the Clerk’s office. Id. This evidence contradicts Khera’s trial testimony that he and Diaz
 4   married because they were in love and various other representations about the marriage and
 5   subsequent divorce. ECF No. 714 at 1-2.
 6           The evidence provided by movants, if it holds up, indicates that two government witnesses
 7   – including the government’s chief investigator – gave false or misleading testimony at trial. If
 8   Webster falsely testified about meeting Khera and Kaur to determine the bona fides of their
 9   marriage, a reasonable inference from this fact would be that she was also willing to take steps to
10   influence the positive outcome of Khera’s immigration petition, including overlooking his alleged
11   marriage fraud(s). Obviously, the government disputes any these allegations and any such
12   inference. But good cause has been shown to permit movants the discovery they seek on the
13   matter. With further factual development (including deposing Khera to determine the extent of
14   his false testimony, whether any advantages were offered for false testimony, who offered such
15   advantages, etc.), movants may be able to show that the government knew or should have known
16   that it was presenting false testimony (Napue) and/or that it failed to disclose impeaching
17   evidence to the defense (Brady).
18           The government argues that movants already know what Khera will say at the deposition
19   because he will simply repeat his trial testimony. The basis for this assertion is unclear,
20   especially since there are issues that were not explored at trial (e.g., the discrepancy between
21   Kaur’s account of the marriage and Khera’s and the discrepancy between Khera’s and Webster’s
22   account of the Sacramento interview and Kaur’s declaration that no such meeting occurred). The
23   government also argues that movants can develop their claims through resort to other evidence.
24   But Khera is certainly a valid and perhaps the best source of evidence regarding the veracity of
25   his testimony and whether he was induced to provide false testimony. Thus, there is good cause
26   for Khera’s deposition.
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 1   III.   The Motion to Amend
 2          A.      Governing Law
 3          Whether to allow amendment of a § 2255 motion is governed by Federal Rule of Civil
 4   Procedure 15. 28 U.S.C. § 2242 (providing that a petition for writ of habeas corpus “may be
 5   amended or supplemented as provided in the rules of procedure applicable to civil actions.”);
 6   Rule 12, Rules Governing Section 2255 Proceedings (incorporating the Federal Rules of Civil
 7   and Criminal Procedure to § 2255 proceedings to the extent not inconsistent with other statutory
 8   provisions); Mayle v. Felix, 545 U.S. 644, 654-56 (2005). Where, as here, a responsive pleading
 9   has been filed, movants must obtain leave of court to amend, which should be freely given when
10   justice so requires. Fed. R. Civ. P. 15(a)(2).
11          In the Ninth Circuit, courts consider five factors to determine whether to grant leave to
12   amend: (1) bad faith; (2) undue delay; (3) prejudice to the opposing party; (4) futility of
13   amendment; and (5) whether the party has previously amended her pleadings. Bonin v. Calderon,
14   59 F.3d 815, 845 (9th Cir. 1995). The factors do not have equal weight, however: leave to amend
15   may be denied solely on the basis of futility of amendment. Id.
16          The government opposes amendment. It argues that amendment is futile because: (1) the
17   proposed amendments are untimely under 28 U.S.C. § 2255(f) and do not “relate back” to the
18   original claims under Rule 15(c), and (2) the amendments do not state viable claims or materially
19   support the existing claims.
20          B.      The Factors Favor Allowing Amendment
21          Rai’s motion to amend does not identify specifically what she is seeking to add to or
22   change about the original § 2255 motion. Similarly, Sekhon has simply filed a single-page notice
23   of joinder in the motion for leave to amend, without any indication of how that joinder would
24   operate, since his original § 2255 motion is separate from Rai’s and the proposed amended
25   motion concerns Rai only. However, comparing their original § 2255 motions to the proposed
26   amended motion reveals the following proposed changes.
27          Rai’s original petition (ECF No. 627) asserted four claims: (1) a Napue claim based on the
28   alleged perjury of Webster, Khera, and another witness named Mojaddidi; (2) a Brady claim
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 1   based on the alleged perjury of Webster and Khera and potential deal between them to confer an
 2   immigration benefit on Khera; (3) an ineffective assistance of trial counsel claim based on
 3   counsel’s failure to present as a witness Professor Smith, an expert in immigration law; and (4) a
 4   cumulative error claim.
 5           Sekhon’s original petition (ECF No. 622) also asserted four claims: (1) a Napue claim
 6   based on the alleged perjury of Webster, Khera, Mojaddidi, and another witness named Davinder
 7   Singh; (2) a Brady claim just like Rai’s; (3) an ineffective assistance of trial counsel claim based
 8   on (a) counsel’s failure to investigate the bona fides of Khera’s marriage to Kaur and (b)
 9   counsel’s failure to investigate the words or statements prosecution witness Mojaddidi attributed
10   to Jagdip in an alleged conversation; and (4) an ineffective assistance of appellate counsel claim
11   based on counsel’s failure to raise two alleged sentencing errors.
12           Compared to the originals, the proposed amended motion is streamlined – it contains just
13   three claims: (1) the Napue claim based solely on the alleged perjury of Khera and Webster; (2)
14   the associated Brady claim; and (3) a claim of cumulative error. ECF No. 711. All claims of
15   ineffective assistance are omitted, as are claims premised on alleged perjury by Mojaddidi and
16   Singh, which are now abandoned.
17           The only addition is that Rai now argues that Khera lied on the stand not only about his
18   marriage to Kaur, but also about his first marriage, to a woman named Maribel Diaz. Id. at 19-20.
19   Rai argues that Webster knew or should have known that this first marriage was fraudulent but
20   was either incompetent or chose to ignore it “because she needed Khera’s testimony to obtain a
21   conviction on the conspiracy count.” Id. at 28. Rai argues that the evidence of the first marriage
22   fraud is material because it would have undermined the government’s position that Webster was
23   an experienced and dogged immigration investigator. Id. at 30-31. Alternatively, it would
24   suggest that such an experienced and dogged investigator was aware of the problems surrounding
25   Khera’s status but was willing to give him a break as compensation for his cooperation/testimony
26   in the criminal case against the movants. Either way, it would have further undermined the
27   credibility of various other witnesses whose cooperation was secured by Webster. Id.
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 1           It is clear that the amended motion would supplant Rai’s original motion if allowed. But
 2    it is not clear what result Sekhon seeks in “joining” Rai’s motion to amend. At the hearing on the
 3    motion, Sekhon’s counsel did not wish to dismiss claims advanced in his original motion but not
 4    included in Rai’s proposed amended motion but also had not submitted a proposed amended
 5    pleading from which it could be determined how Sekhon wants to amend his § 2255 motion.
 6    Because the proposed amended motion concerns Rai only, and because Sekhon has not presented
 7    to the court a proposed amended motion nor points and authorities justifying such amendment,
 8    Sekhon’s “joinder” in Rai’s motion for leave to amend is denied without prejudice. Sekhon may
 9    file a motion for leave to amend, accompanied by a proposed amended motion, on or before
10    January 17, 2018. Accordingly, the following analysis concerns movant Rai only.
11                   1.      Timeliness
12           The government first argues that amendment should not be allowed because the
13    amendment is not timely. The original motion was timely, but the proposed amended motion was
14    filed more than a year after Rai’s conviction became final. There are two ways in which the
15    amended motion might avoid a timeliness bar: (1) a start date for calculation of the limitations
16    period of § 2255(f)(4), or (2) the relation back provisions of Rule 15(c).
17           28 U.S.C. § 2255(f) provides a one-year statute of limitations for motions brought under
18    § 2255. The limitations period begins from the latest of:
19           (1) the date on which the judgment of conviction becomes final;
20           (2) the date on which the impediment to making a motion created by governmental action
                 in violation of the Constitution or laws of the United States is removed, if the movant
21               was prevented from making a motion by such governmental action;
22           (3) the date on which the right asserted was initially recognized by the Supreme Court, if
                 that right has been newly recognized by the Supreme Court and made retroactively
23               applicable to cases on collateral review; or
24           (4) the date on which the facts supporting the claim or claims presented could have been
                 discovered through the exercise of due diligence.
25

26    Rai argues that the amended petition is timely under § 2255(f)(4) because the new facts
27    supporting her claims were discovered, through the exercise of reasonable diligence, on
28    November 6, 2017, when defense counsel located and interviewed Maribel Diaz.
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 1            “Due diligence” under 2255(f)(4) does not require “maximum feasible diligence” but
 2    rather “reasonable diligence under the circumstances.” Ford v. Gonzalez, 683 F.3d 1230, 1235
 3    (9th Cir. 2012) (evaluating the analogous provision of 28 U.S.C. § 2244(d)(1)(D)). The “due
 4    diligence clock” starts running “when a person knows or through diligence could discover the
 5    vital facts, regardless of when their legal significance is actually discovered.” Id. Rai argues that
 6    she was reasonably diligent under the circumstances. She points out that she filed her original
 7    § 2255 motion pro se. She was appointed counsel after the court ordered an evidentiary hearing
 8    on the Napue and Brady claims, in December 2016. Counsel has been reviewing the discovery in
 9    the case, which is around 12,000 pages long and much of which was not produced by the
10    government until May 2017. Since then, defense counsel and an investigator “have literally
11    travelled around the country interviewing witnesses and locating records.” ECF No. 710 at 4.
12    Rai argues that, even exercising diligence, she could not have become aware of the facts showing
13    that Khera was lying about his marriage to Diaz any earlier, but does not really explain why.
14            The government argues that Rai could have discovered the facts regarding the Diaz
15    marriage at the time of trial. It argues that they knew at that time that Khera had been married
16    twice and that, in fact, defense counsel questioned Khera about the marriage on cross-
17    examination. The trial transcript does reveal that two of the defense attorneys (for Sekhon and for
18    co-defendant Jagprit Sekhon) questioned Khera about his marriage to Diaz and that Khera’s
19    responses were such that would put a reasonable person on alert that the validity of the marriage
20    was questionable. For example, Khera referred to Maribel Diaz as “Marble,” going so far as to
21    spell her name M-A-R-B-L-E. ECF No. 503-3 at 6-7. He testified that he married her three
22    weeks after he arrived in this country, immediately afterward saw an immigration lawyer, and the
23    marriage lasted only a few months. Id. at 6, 48. The court agrees with the government that,
24    based on this testimony, along with Rai’s suspicions regarding Khera’s second marriage, Rai
25    could have become aware of the facts surrounding the Diaz marriage earlier, with the exercise of
26    due diligence. Accordingly, Rai cannot benefit from the later limitations period start-date under
27    § 2255(f)(4).
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 1           Nevertheless, the court agrees with Rai that the new factual allegations (the Diaz marriage
 2    facts) relate back to the allegations in the original § 2255 motions and for that reason they are
 3    timely under Rule 15(c)(1). Under that rule, a claim added to a timely-filed habeas petition after
 4    the limitations period has run is considered timely only if it “relates back” – that is, shares a
 5    common core of operative facts with one of the original, timely claims. Mayle v. Felix, 545 U.S.
 6    644, 659 (2005). A new claim does not relate back “when it asserts a new ground for relief
 7    supported by facts that differ in both time and type from those the original pleading set forth.” Id.
 8    at 650. The question before the court is whether the new allegations that Khera lied about his first
 9    marriage present facts that are different “in time and type” from the old allegations that Khera
10    lied about his second marriage, that both Khera and Webster lied about the 2005 Sacramento
11    meeting, and that the government provided an immigration benefit to Khera in exchange for his
12    testimony that it failed to disclose to the defense.
13           The government contends that the “core of facts” here are the facts regarding Khera’s
14    distinct marriages, and because there were two marriages, there are two distinct sets of facts – one
15    set of facts concerning the first marriage, which occurred a few years earlier in New York, and
16    another set of facts concerning the second marriage, which occurred in the early 2000s in
17    California. The court disagrees. The material facts undergirding movants’ claims are not that
18    Khera was married and the various details about those marriages, but rather that Khera lied about
19    these underlying facts on the stand (and that, possibly, Webster knew or should have known that
20    the marriages were fraudulent and nevertheless facilitated the positive adjustment of Khera’s
21    immigration status in exchange for his testimony). The facts about the marriages are relevant
22    only to show that perjury occurred. The “core of operative facts” are the facts of Khera’s and
23    Webster’s testimonies at trial. The facts supporting Rai’s original § 2255 motion were that Khera
24    and Webster lied at trial to cover up an immigration benefit that Webster facilitated for Khera for
25    his testimony. The facts suggesting that the Diaz marriage was also a sham are related in both
26    time and type because they also support Rai’s claims that the government knowingly presented
27    false testimony and provided an immigration benefit to Khera that he would not have been
28    entitled to otherwise.
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 1           Mayle is instructive about what kind of facts “differ in time and type.” There, the habeas
 2    petitioner timely presented a claim that the introduction of videotaped testimony of a prosecution
 3    witness violated his Confrontation Clause rights under the Sixth Amendment. 545 U.S. at 648.
 4    After the limitations period expired, he sought to add a claim that the use of admissions he made
 5    in a coercive police interrogation violated his right against self-incrimination under the Fifth
 6    Amendment. Id. at 648-49. The Supreme Court held that the Fifth Amendment claim did not
 7    relate back, because it was based on a separate episode (introduction of his police interrogation)
 8    than the Sixth Amendment claim (which was based on the introduction of the videotaped
 9    interview of the prosecution witness). Id. at 660.
10           In contrast, Rai is not presenting a completely unrelated claim based on unrelated facts.
11    Rather, all of Rai’s new allegations are based on three episodes that were challenged in the
12    original petitions: (1) Khera’s trial testimony; (2) Webster’s trial testimony; and (3) an
13    immigration benefit provided to Khera and not disclosed to the defendants. See also Nguyen v.
14    Curry, 736 F.3d 1287, 1297 (9th Cir. 2013) (holding that an ineffective-assistance-of-appellate-
15    counsel claim related back to an original petition where the original petition alleged that the
16    petitioner had been subjected to double jeopardy and the new claim alleged that appellate counsel
17    should have raised the double jeopardy issue on appeal but hadn’t done so, even though some
18    facts supporting the IAC claim arose after the facts supporting the double jeopardy claim).
19                     2.    Other Futility
20           The government further argues that, even if the court were to find the new allegations
21    timely, it would be futile to allow the amendment because the facts of the Diaz marriage only
22    impugn Khera’s credibility and he offered no evidence against Rai. The government concedes,
23    however, that “Khera’s testimony was . . . relevant to Petitioners’ convictions to the extent it
24    related to Special Agent Carol Webster’s credibility.” That a person who allegedly has entered
25    into two sham marriages for the purposes of remaining in this country was given legal status after
26    meeting with Webster and shortly before testifying in this case raises a question about whether
27    that legal status was legitimately conferred. The new allegations are relevant to the resolution of
28    this question.
                                                       13
       Case
     Case   2:18-cr-00119-WBS Document
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 1                   3.       Other Factors
 2           Lastly, the government argues that movants have unduly delayed their amendment and
 3    this delay prejudices the government. The government argues that the amendments are based on
 4    facts that movants have known since trial, but – although Khera’s testimony should have put them
 5    on notice that there was something fishy about the Diaz marriage – there is no evidence that
 6    movants actually knew at that time that the Diaz marriage was a sham. Rai’s counsel filed the
 7    motion to amend and the proposed amended petition almost immediately after her interview of
 8    Diaz in New York. The government argues that allowing the amendment will require more
 9    briefing and that the evidentiary hearing be rescheduled, which will inconvenience witnesses.
10    These inconveniences are not uncommon in litigation and do not amount to prejudice – the
11    government does not allege that allowing the amendment would impair its ability to litigate the
12    merits of the motion.
13           Furthermore, there is no allegation of bad faith by Rai in bringing the motions, and this is
14    her first amendment. Weighing all five factors – some delay, some inconvenience to the
15    government that does not arise to legal prejudice, no bad faith, the amendment is not futile, and
16    Rai has not previously amended her motion – the court finds that leave to amend, as provided by
17    Rule 15(a), should be granted.
18    IV.    Conclusion
19           Accordingly, good cause appearing, IT IS HEREBY ORDERED3 that:
20           1.      The motion for leave to conduct the deposition of Ranbir Khera (ECF No. 705) is
21                   GRANTED. The deposition shall be limited to four hours at a time and place
22                   agreed to by the parties.
23
             3
               The court has issued this order, rather than findings and recommendations, because “a
24
      motion to amend is not a dispositive motion because by its nature it only seeks to add or amend
25    claims or parties rather than dismiss the action in its entirety.” Fernandez v. Nevada, No. 3:06-
      cv-0628-LRH-RAM, 2011 U.S. Dist. LEXIS 6162, at *8 (D. Nev. Jan. 18, 2011); accord Roberts
26    v. Long, No. 14-cv-0427-WQH (DHB), 2014 U.S. Dist. LEXIS 138322, at *9 n.4 (S.D. Cal. Sept.
      29, 2014); Butler v. Kelso, No. 11cv02684 CAB(RBB), 2013 U.S. Dist. LEXIS 63863, at *29 n.4
27    (S.D. Cal. May 2, 2013); Pat Pelligrini Flooring Corp. v. Itex Corp., No. CV 09-376-AC, 2010
      U.S. Dist. LEXIS 25856, at *4 (D. Or. Mar. 16, 2010); Everett v. Cherry, 671 F. Supp. 2d 819,
28
      820 (E.D. Va. 2009).
                                                        14
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 1          2.    Sekhon’s joinder in Rai’s motion for leave to file an amended § 2255 motion (ECF
 2                No. 713) is DENIED without prejudice. If Sekhon wishes to amend his § 2255
 3                motion, he must file a motion for leave to amend, supportive points and
 4                authorities, and the proposed amended § 2255 motion on or before January 17,
 5                2018.
 6          3.    Rai’s motion for leave to file an amended § 2255 motion (ECF No. 710) is
 7                GRANTED, and the amended § 2255 motion (ECF No. 711) is accepted as the
 8                operative motion in this action.
 9          4.    Respondent is directed to file a response to the Rai’s amended § 2255 motion
10                within sixty days from the date of this order. Respondent shall include with any
11                answer any and all transcripts or other documents relevant to the determination of
12                the issues presented in the motion. Rai’s reply, if any, is due on or before thirty
13                days from the date respondent’s answer is filed.
14    DATED: December 19, 2017.
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                 Ex. CCC
       Case 2:18-cr-00119-WBS Document 92U.S. Department
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                                         Civil Rights Division


                                                       Criminal Section - PHB
JF:HA:WN:DNR:rc                                        950 Pennsylvania Ave, NW
50-11E-40                                              Washington DC 20530
                                                       www.usdoj.gov



Via Electronic Mail and Federal Express               August 29, 2019

Yasin M. Almadani, Esq.
14742 Beach Boulevard, Suite 410
La Mirada, CA 90638

       Re: United States v. Sheikh, 2:18-cr-119 (Discovery)

Dear Mr. Almadani:

       This letter follows our correspondence of August 14, 2019, which responded to your letters
dated August 8 and 9, 2019, concerning the extent and nature of redactions in the materials the
government previously produced in discovery, and the government’s duties of disclosure pursuant
to Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972).

        As promised in the August 14 letter, we are enclosing a new complete set of reports of
investigation (ROIs) that contain fewer redactions (ROIs 11-75). These materials are Bates-
numbered USA011183-11458.

        Regarding the specific Giglio questions you raised in the August 8 letter, the government
represents that the investigating agents did not discuss with or provide any benefits to either of the
victims or other witnesses in exchange for cooperation, nor did the investigating agents discuss
criminal histories or other legal consequences related to any individual’s immigration status during
the course of the interviews. However, the victims and some of the witnesses revealed that they
did not have legal authority to be present in the United States. The agents did discuss immigration
issues with those individuals when those individuals were provided with immigration benefits, as
discussed below. The agents did not make any threats or promises to any of the individuals
interviewed. During the course of the investigation, the government provided the victims and
some of the witnesses in this case with immigration-related benefits and witness vouchers.
Specifically, the government provided the following benefits to the following individuals:

   1. Victim E.L.: On September 11, 2013, the government approved Continued Presence for
      E.L. for 1 year. The government renewed E.L.’s Continued Presence status in 2014 and
      again in 2015. On December 17, 2014, the government submitted an I-914 Supplement B
      Form on behalf of E.L., certifying that E.L. is a victim of human trafficking. E.L. received
      a T-Visa in 2016.

   2. Victim P.K.: On September 11, 2013, the government approved Continued Presence for
      P.K. for 1 year. The government renewed P.K.’s Continued Presence status in 2014. On
      December 17, 2014, the government submitted an I-914 Supplement B Form on behalf of
      P.K., certifying that P.K. is a victim of human trafficking. P.K. received a T-Visa in 2015.
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   In addition to the above immigration benefits, the government victim-witness specialist
   provided P.K. with a referral for counseling services for victims of human trafficking.

3. Witness G.M. (ROI 8): On October 31, 2013, the government approved Deferred Action
   for G.M. for 1 year, and renewed G.M.’s Deferred Action status annually from 2014
   through 2018.

4. Witness J.F.T. (ROI 13): On November 27, 2013, the government approved Deferred
   Action for J.F.T. for 1 year, and renewed J.F.T.’s Deferred Action status annually from
   2014 through 2018.

5. Witness R.O.A. (ROI 18): On May 7, 2018, the government approved Deferred Action
   for R.O.A. for 1 year, and renewed R.O.A.’s Deferred Action status in 2019. Witness
   R.O.A. asked the government about receiving Continued Presence on behalf of herself and
   her husband (Witness J.A. noted below), but the government declined.

6. Witness J.A. (ROI 43): On May 27, 2018, the government approved Deferred Action for
   J.A. for 1 year, and renewed J.A.’s Deferred Action status in 2019.

7. Witness M.M.A. (ROI 24): On August 21, 2017, the government approved Continued
   Presence for M.M.A. for 2 years. The government issued a T-Visa in 2018 to M.M.A. and
   the family members listed below (Witnesses J.G.F., J.G.M., E.G.M., B.G.M.) were
   beneficiaries of M.M.A.’s T-Visa.

8. Witness J.G.F. (ROI 44): On August 18, 2017, the government approved Continued
   Presence for J.G.F. for 2 years.

9. Witness J.G.M. (ROI 50): On August 18, 2017, the government approved Continued
   Presence for J.G.M. for 2 years.

10. Witness E.G.M. (ROI 42): On July 25, 2017, the government approved Continued
    Presence for E.G.M. for 2 years.

11. Witness B.G.M. (ROI 49): On August 18, 2017, the government approved Continued
    Presence for B.G.M. for 2 years.

12. Witness C.E. (ROI 11): On May 7, 2018, the government approved Continued Presence
    for C.E. for 1 year.

13. The government provided witnesses V.M.P. (ROI 62), K.S.V. (ROI 63), T.M.P. (ROI 57),
    A.F. (ROI 68), A.M. (ROI 67), C.C. (ROI 36), and S.A. (ROI 38) with $40 witness
    vouchers, and travel reimbursement for those witnesses that traveled from outside of the
    Sacramento area.

14. Witness B.S. (ROI 37) received a parking ticket on the day he met with the agents in this
    case, and he asked the agent whether the government would pay for his parking ticket. The
    government declined.



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        As you are probably aware, Continued Presence is a temporary immigration status provided
to individuals identified by law enforcement as victims of human trafficking. This status allows
victims of human trafficking to remain in the U.S. temporarily during the ongoing investigation
into the human trafficking-related crimes committed against them.

        A grant of deferred action indicates that the government has, temporarily, declined to
exercise its authority to remove a particular individual from the United States. As such, the named
individual may remain, provisionally, in the United States. Deferred action is a form of relief that
is typically granted to individuals whose removal is not in the best interests of the U.S. government.
It does not provide a pathway to permanent residency.

        A T-Visa is a temporary immigration benefit that enables certain victims of a severe form
of human trafficking to remain in the United States for up to 4 years if they have assisted law
enforcement in an investigation or prosecution of human trafficking. T-Visa nonimmigrant status
is also available for certain qualifying family members of trafficking victims.

        Additionally, the physical evidence obtained by the government as part of this investigation
may be viewed at the offices of the U.S. Department of Homeland Security, Homeland Security
Investigations (HSI), at 650 Capitol Mall, Sacramento, CA 95814. As part of our file review, we
have also provided materials not previously disclosed, although these materials do not necessarily
fall under Rule 16 or Brady. These additional materials are Bates-numbered USA011459-11508.

        The government represents that it has complied with the court’s order, Dkt. 63, which
directs the government to provide all Brady materials by August 30, 2019. The government is
aware, however, that our Brady obligations (which include our obligations under Giglio) are
ongoing and we will continue to adhere to our Brady obligations throughout the course of this
case.

       Should you have any questions about the discovery, or if you wish to set a date and time to
review physical evidence at the HSI office, please feel free to contact me by email at
david.reese@usdoj.gov, or by telephone at (202) 514-3851. Thank you for your time and
consideration.

                                                         Sincerely,




                                                        David Reese
                                                        Trial Attorney
                                                       Criminal Section




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                Ex. GGG
         (Curriculum Vitae and Selected Awards)
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                                                                                                                          1

                                                    FIRDOS SHEIKH
SUMMARY:

          A trusted physician passionate about providing optimal healthcare and medical management with cutting edge
          technology and medicine that achieves healthier results for patients. Seeking a challenging new opportunity in
          which to play a key role in developing innovative and cutting edge medical solutions for patients’ healthcare
          challenges and overall betterment of society. Extensive experience in treating and understanding pain and looking
          to implement a comprehensive and complete program to address pain in its totality and implement safe and
          effective non-invasive treatment protocol to improve optimal health and improve quality of life aspects.
          Passionate about society awareness and changing fabric, identifying weakness in community building, citizen
          building, overall betterment of humans above and beyond the medical box. Educating and keeping abreast of
          newer technology, and implementing education in all walks of life. Passionate about helping develop programs
          and protocols to better children and youth with neurologically sound brains and personalities’ to help build a
          strong society

LICENSE / CERTIFICATIONS:
             California State License # 050704
             United States Medical Licensing Examination - Steps I, II, III passed
             Board Certified American Board of Neurology & Psychiatry (2000-Active)
             Board Eligible American Board of Electrophysiology (1995-Active)
             Administrators License for CCLD ( 2009-Active )

EXPERIENCE:

1995-             TEACHING EXPERIENCE : Taught Medical students
Current

1995 -1999        Taught & Trained UCDMC medical students

1999 to 2015      Taught & Trained Residents in Methodist Hospital

2-2015 to        Assistant Clinical Professor in Neurology California Northstate University
Current          Assistant Clinical Professor in ElectroDiagnostic Medicine California Northstate University

2015-2019         NFL players: Principle investigator in evaluating, rating and assessing cognitive damage

04/2015 to        NIH NATIONAL INSTITUTE OF AGING, Fremont, CA
Present           Clinical investigator
                   Clinical Investigator GCP certified AZD3293 in Early Alzheimer's Disease (AMARANTH)
                   IDEAS research study Principle Investigator

2015 to
present           MAPS fellowship programme (Medical Academy of Pediatrics for Special Needs)

1998 to
present           COMMUNITY SERVICE :
                   LOAVES & FISHES
                   A 1000 meal drive. 2015 Christmas to feed the poor at Loaves and Fishes. Communications Diroctor
                    American Muslim Voice.
                   Volunteer, Donator and main spokesperson for the event. Participated in Gathering volunteers,
                    arranging for food and helping in preparing and serving a 1000 meals
                   ASHA FOUNDATION : Provides free medical care for the needy in villages
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                     SHIFA CLINIC – Sacramento Free clinic for the uninsured run through UCDMC affiliation Served
                      for over 10-12 years

                      NEURO-NURTURE MASTER MIND ABACUS, Sacramento, CA
2015 to Present       Country Franchisee for United States

                     Collaborating with Master Mind Abacus. Realizing the changing fabric with an increase in Autism,
                      with a perception of what the future holds. I started analyzing the “normal children” in the context of
                      where we stand with world competition. I see our children here in United States failing in reaching
                      their full potential.
                     Also understand by observing my own children that they don’t have adequate stimulation and
                      development of the right and left brain. As a Neurologist and understanding the ramifications of this I
                      have been involved in Establishing Brain Development Program. Master Mind Abacus in United
                      States. Have prepared an FDD and filing it.
                     Also have done extensive research and reviewed product. Played a key role in product development.
                      Have revised text books and upgraded them to meet the aesthetic and quality standards of US. Have
                      been involved in improving the syllabus and bringing forth trainers and a team to help implement
                      with a passion and goal in mind to empower our children and bring them to the forefront with cutting
                      edge education tools and techniques
                     Establishing ENGAGE an extension of Master Mind Abacus, bringing in 19 products for all age
                      groups starting from 3 yrs. and up.
                     Kiddie arts: to start the process of developing creative and right side of brain along with stimulation
                      of left brain
                     Naughty math’s: A start up course and early establishment of neuronal wiring in terms of setting the
                      foundation to build intellect. Sharpening the focus, concentration, grasping power, retention and
                      recall modes. The stepping stone for higher intellect
                     Write Right: A fabulous course in Calligraphy to start building finer wiring and finger dexterity as
                      well as strengthening the brain motor co-ordination
                     Vedic math: Establishing faster and quicker ways of calculations and thereby absorbing and creating
                      dense neuronal networks
                     Abacus: A mathematic tool used to now strengthen, progress, and speed the pathways between right
                      and left brain. A tool that will now help bilateral brain involvement and build a balanced intelligent
                      and healthy brain
                     Speed Reading
                     All above products are being finalized and developed for US market under the banner of ENGAGE to
                      help children from ground up establish a very strong foundation on which intelligence will be tapped
                      to its maximum and help them evolve as successful individuals ready to conquer the world and step
                      up to the ever demanding environment

2015              AMERICAN MUSLIM VOICE, Sacramento, CA
                  Director of Communications

                     Master of Ceremonies for a PEACE CONVENTION held in Sacramento to spread harmony peace
                      and religious Tolerance. Attended by 500 plus people.
                     Joined American Muslim Voice. An organizing that focuses on spreading a culture of peace, harmony
                      and Love. Its mission: From Fear to Friendship

                     PEACE CONVENTION:
                     https://www.youtube.com/watch?v=CzYNhmgCE7Y
                     https://www.youtube.com/watch?v=C7BbFdNBcSE
                     https://www.youtube.com/watch?v=V603SHOzm8o
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                   https://www.youtube.com/watch?v=X6R0lu8j1Y4
                   https://www.youtube.com/watch?v=wozZgVfZvB0


2015            HANDS AROUND THE MOSQUE , SYNAGOGUE,TEMPLE,CHURCH,GURUDWARA

                Hands around the mosque: Developed and was brain child in creating a concept and theme for this
                project. Wrote an Anthem. Developed an elaborate and extensive concept of bringing in specific religious
                color facts and creating a rainbow with those colors to combat the battle of colored humans.
                   Hands around the mosque article
                   http://www.dailydemocrat.com/events/20160111/hundreds-gather-to-dispel-fears-of-islam
                   Helped bringing in the concept of a Spiritual confluence of humans as opposed to a Religious strife
                    and to appreciate religion more as different means of praying for the same common purpose of
                    attaining spiritual confluence and peace. Attended by almost 80 top officials from Woodland
                    California and over 400 people. Shared the Master of Ceremonies with the National President of
                    American Muslim Voice in the capacity of Communications Director


2009 to         BIRD OF PARADISE MANOR, Sacramento, CA
2016            Administrator /President
                 Certification for RCFE Administrative license
                 Established Bird of Paradise Manor LLC. Successfully running an operating Residential Care facility
                   for the elderly, trained staff members, performed medication training, also set up an operation
                   protocol.
                 Obtained Dementia Waiver and Hospice waiver for Bird of Paradise Manor LLC RCFE

2007 to         SOUTH SACRAMENTO NEUROLOGY MEDICAL ASSOCIATES, Sacramento, CA
5-31-2019       CEO Medical Director President - Private Practice Physician
                 Developed a viable interventional pain management practice from the ground up. Developing a
                  comprehensive goal and objectives protocol and continue to help my patients have a better
                  understanding of their medications, pain attitude and behavior as well as helped build endurance
                 Save the Medical Industry countless dollars
                 Fewer ER visits, fewer MRI , and making myself available 24/7 for crisis intervention and counseling
                 Have managed to implement multi-modality intervention with timely trigger points, occipital nerve
                  blocks etc. Neuromuscular Stimulation and reeducation techniques and massage therapy along with
                  pain modifying non-narcotic medications which has helped me maintain them on their current
                  narcotic usage without increasing or successfully decreasing it
                 Pain management care for patients with complex and highly sensitive pain issues. Providing
                  compassionate care, I communicated professionally and effectively with patients with a variety of
                  health issues to ensure they received optimal care


2007 to         NEURO-NURTURE.COM AUTISM, Sacramento, CA
2012            Administrator
                 Biomedical training in Autism and also listed as a certified expert in Autism Research Institute. A
                   mission to educate myself and be aware of the developing protocols in tackling the Illness.
                 Understanding that Medical approach was not sufficient and having the desire and passion to learn
                   and understand other modalities present in the market and the need for making myself well informed.
                   That drove me to become a DAN doctor. Implement only what I feel is necessary and very sensitive
                   about parental concerns and dilemma pertaining to the endless treatments offered for Autism
                 Certified and Implemented Sensory Learning protocol as a non-invasive and beneficial tool in
                   helping sensory perception issues in Autistic children
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                      Complex issues with Balance and sensory impairment issues were successfully addressed and treated
                       along with vision therapy in collaboration with a Developmental Neuro-Optometrist Certified in
                       HBOT: Hyperbaric Oxygen Therapy
1998 to 2008          Worked as a volunteer in Shifa clinic . A UCDMC student run free clinic for the indigent and needy




2006 to current

                  CERTIFICATION MEDICAL AESTHETICS

                       Trained in laser/derm abrasion.
                       Facial Rejuvenation
                       Therapeutic and Cosmetic Botox
                       Vanquish Me Trained in fat burning with electromagnetic wave therapy
                       Smart Graft – Hair transplantation
                       Z-wave therapy


2016              Director of Communication
                   Participated in raising funds for Mariko Yamada, Don Saylor, Dave Jones, Darrel Steinberg, Steve Ly
                      and many in promoting dialogue, tolerance and better understanding of different cultures and helping
                      blend the differences.
                   Invited by Dr Maria Armstrong (Superintendent Heads 16 schools in Woodland Unified School
                      District) to brainstorm and implement methods to decrease unrest in schools and help bring focus and
                      harmony amongst students across the school communities.
                   Invited by Jon Fish CEO Sacramento Interfaith to speak on Women of Faith and also to work on a
                      project: Freedom of Faith
                       INTERFAITH
                       Speaker Woman of Faith
                       Woman of faith
                       https://youtu.be/XRMUwVhqT1c
                  


1998 to           RIVER CITY MEDICAL GROUP, Sacramento, CA
2009              Medical Advisory Board Member
                   Utilizing my wealth of knowledge in patient care and pain management, I provided clinical product
                     feedback for the development of an extensive pain management and patient care protocol. Also
                     participated in QA.


1997 to           SOUTH SACRAMENTO NEUROLOGY MEDICAL ASSOCIATES, Sacramento, CA
Present           CEO Medical Director President
                   Established South Sacramento Neurology Medical Associates Private Practice
                   Responsible for training residents at my office from the Family Practice Residency Program at
                    Methodist Hospital which was affiliated with University of Davis Medical Centre. In this position, I
                    was also responsible for the mentoring training and supervising residents.
                   Certified in Medical Aesthetics. Well trained in Laser/Dermabrasion/Skin care/Obagi trained/PPL
                    skin care trained. A quest for helping people build their self-esteem and self-worth as an extension of
                    my healing mission
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Page 5
                   Obtained 100 CME hours of training and workshops in Pain Management to better assist my patients
                    in dealing with their Pain
                   Worked as a Neurologist on call for Acute care hospital Kindred/Vibra caring for very complex
                    patients. Following trauma, intracranial bleeds, Strokes etc.


1995 to         UNIVERSITY OF DAVIS MEDICAL CENTER, Sacramento, CA
Present         Chief Resident - Department Neurology
                 Well versed in Electrophysiology with a Fellowship training, extensive experience in EMGNCS with
                   research experience and publications in this field.




Awards and Honors :
NMKRV College
Bachelors in Science BSc degree

Honors & 1st Rank in Botany, Chemistry, and Zoology
    N.M.K.R.V. College, Bangalore, India: 1978

Kasturba Medical College
M.B.B.S degree

Honors & 1st Rank in Botany, Chemistry, and Zoology
    N.M.K.R.V. College, Bangalore, India: 1978
Honors in Anatomy, Physiology and Biochemistry
    Kasturba Medical College, Mangalore, India: 1981
Honors in Forensic Medicine, Preventative and Social Medicine
    Kasturba Medical College, Mangalore, India: 1983
Honors in Ophthalmology and ENT
    Kasturba Medical College, Mangalore, India: 1984
Honors in Surgery
    Kasturba Medical College, Mangalore, India: 1985



2-22-2020       Awarded “ Bharat Ratna “ Dr Radhakrishnan Gold medal Award in Chennai India
                Given to 25 selected candidates from all over India . Select 2 candidates per state Nationwide


3-8-2017        INDIAN ACADEMY AWARDS on International Women’s Day award in New York
                 for “ Professional Excellence “ . Audited by Ernst & Young
                https://siliconeer.com/current/women-empowerment-sacramento-neurologist-honored-at-indian-
                academy-awards/

3-26-2017       INDIRA GANDHI GOLD MEDAL AWARD recipient on International Women’s Day by GEPRA
                NEW DELHI For Individual accomplishment & National Development
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1994             Chief Resident Neurology : University Davis Medical Centre

1980-1984       Medical School: Kasturba Medical College, Mangalore, India: 1985
                Was crowned “ Freshie Queen “
                Was crowned a “Versatile Genius “


1977-1980       Undergraduate: N.M.K.R.V. College, Bangalore, India: 1980
                “Literary Champion”. Won many contests in arts and science and bagged the championship based on
                Highest number of awards

1970            Sacred Hearts Convent
                School President


Publications :
Sheikh, F, Maselli R.: Unsuspected V Nerve lesion resulting from perineural cancer spread
detected by blink reflex.
AAEM abstracts of 18th Annual meeting, Montreal, 1995, pg. 133



Maselli R., Sheikh F., Niazi W., Cappazzoli N, et al: Electrophysiology of botulism of
suspected wound origin.
AAEM abstracts of 18th annual meeting, Montreal, 1995, pg. 75

ARTICLES PUBLISHED
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Certifications:

Board Certified Neurology & Psychiatry: (June 2000 Recertified in February 2014-2024)
American Board of Neurology & Psychiatry

Internship:
Bowring and Lady Curzon Hospital, Bangalore, India: 1985-1986
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Achar Neuroscience Center, Bangalore, India: 1986-1987
House Officer in Neurology
VA Medical Center, Boise, Idaho: 1990-1991
Internal Medicine


Residency:
Anesthesia; St. Martha's Hospital, Bangalore, India: 1986-1987
Neurology: University of California, Davis, CA: 1991-1993
     Resident
Neurology; University of California, Davis, CA: 1993-1994
     Chief Resident

Fellowship:

Clinical EMG and Electrophysiology, University of California, Davis: 1994-1995
Fellow Associate

Clinical Appointments
University of California at Davis, Sacramento: 1995- October 1999
Assistant Clinical Professor of Neurology
Private Practice: Present Day

California Northstate University Elk Grove –Ca – 2017-2021
Assistant Clinical Professor of Electrodiagnostic Medicine

California Northstate University Elk Grove –Ca – 2017-2021
Assistant Clinical Professor of Neurology

Licensure:
California

Societies
American Academy of Neurology: 1995
American Academy of Electrophysiology: 1995


Affiliations:
Board of Directors UCDMC Alumni Association 2011 to 2015
Medical Director Interim Healthcare 2014
Autism Research Institute
MAPS fellowship programme (Medical Academy of Pediatrics for Special Needs)
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How have I made an impact to the world?
Was School President Sacred Hearts Convent in India 1974
Literary Champion and College President in My Bachelor’s Degree College 1979
Medical School I was crowned the Freshie Queen and a Versatile Genius. It’s a huge accomplishment. The whole town
waits to see who the winner is. 1980
UCDMC medical Residency I was the Chief Resident of Neurology 1993
UCDMC was a Fellow of Electro diagnostic Medicine 1994
I have been Assistant Clinical Professor in UCDMC
I have been an interviewer for selection of medical students MMS (Mini medical interviewer) selection committee in
UCDMC 2017
Board of Director Alumni Association UCDMC 2016-2018
Assistant Clinical Professor of Neurology in California North State University 2017-2021
Assistant Clinical Professor of Electro diagnostic medicine in California North State University2017-2021
Indian Academy Award for Professional Excellence. Rated top 10 Indian American Achievers in all of the US audited by
Ernst & Young firm and was selected for the women empowerment award 2017
Was given the Indira Gandhi Gold medal award again for Professional Excellence by India 2017
Was given the Bharat Ratna Dr Radhakrishna Gold Medal Award by India 2020 ( I was invited to receive this award on
2-22-2020 and because of this case Have not travelled )
Currently completing the MAPS fellowship (Medical Academy of Pediatric Special Needs fellowship) 2015-current
Rated as an Expert Clinician in Autism Research Institute in San Diego 2009
Dan biomedical trained for Autism 2008
Trained in medical aesthetics 2006
Work with interfaith Councils 1988-current
Work with many non profit and volunteer 1988-current
Contribute monthly to Loaves & Fishes
Contribute monthly to Shriners Hospital
Contribute monthly to Sankara eye Foundation
Was Communication Director for American Muslim Voice 2017
Was Medical Director for Interim Hospice2016
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                  Ex. HHH
       (39 Letters of Support from Community Leaders)
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                                    CISA
                        Center for Interfaith Studies in America




To Whom It May Concern:                                                 March 2020

       Re: Dr. Firdos Sheikh


I have known Firdos for several years now, and have found her to be anxiously
engaged in many good causes. She is a doer – something I’ve always admired
about her. She is passionate about home country causes, home fires/motherhood
causes, neighborhood and civic causes as well as many other important topics and
circumstances she has approached, spending times that enrich all of us in small
ways and large.

She is a deeply religious woman. She is a good thinker and a friend to many.

We have worked closely on several issues dealing with interfaith topics and
directions and she is generous with her time and is always willing to help others
about her.

For further questions or comments you can reach me at boutfohr48@gmail.com or at
916-801-8883.

                                    Respectfully,

                                         Jon
                                    Jon B. Fish
                     Chief Executive Officer and Co-Founder
                    The Center for Interfaith Studies in America
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                                          In The Name Of God, The Gracious, The Merciful
S acramento
A rea
L eague of                                                   Since 1987
A ssociated
M uslims
                                            Sacramento Area League of Associated Muslims

                       Tuesday, March 10, 2020
                                                            To Whom It May Concern:
                                                     Re: Dr. Firdos Sheikh

                       Let me introduce myself. My name is Metwalli B. Amer. I have been on
Purpose                the Faculty of the College of Business Administration, at California State
SALAM is a             University, Sacramento since 1969. I also served as Department
nonprofit religious
organization,
                       Chairman for nine years during that period. Currently I am Professor
incorporated in the    Emeritus.
State of California.   Also, I am the Founder of Sacramento Area League of Associated
                       Muslims, known as SALAM, an Islamic Center which provides religious,
Its purpose is to      educational and social services to its Muslim congregation and is heavily
promote Islamic
teaching,
                       involved with interfaith work with the Sacramento community. Currently I
understanding, and     serve SALAM Center as its Executive Director.
unity among all
Muslims in the         Dr. Firdos Sheikh asked me to write a letter about her personal qualities
greater Sacramento     and characters. I welcome the opportunity to provide such a letter
area
                       summarizing my knowledge of the qualities, characters and spiritual
                       values that she possesses.

                       I have known Dr. Firdos Sheikh since she came to Sacramento in 1988.
                       We have worked together in various projects to serve the community we
                       live in including the congregation of SALAM Center. She is a family
                       woman who raised well behaved daughter and son.
Address                Dr. Sheikh is a very caring and sharing individual who has devoted a
SALAM                  valuable time in her active life to help those who are in need. She used her
4545 College Oak Dr
Sacramento, CA         medical profession to help patients freely in the SHIFA Clinic, a non-
95841-4515             profit organization providing free medical services to the needy in the
                       Greater Sacramento area. She served to help the needy through Loaves &
                       Fishes and other service organizations.

                       She is a woman of deep faith, devoting part of her life to serve those in
                       need. She is very active and well known in the community because of her
                       trustworthiness, spiritual values, and her honest reputation among her
(916) 979-1933 X3      peers and members of her congregation. She is highly regarded with the
www.salamcenter.org
                       utmost respect due to her high morals and fine characters. She is a great
                       problem solver and often called on to solve individual, family, and
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            community problems.

            Please let me know if you need more information.



           Sincerely:



            dramer69@comcast.net

            916-456-9148
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T. Sami Siddiqui
                                                                                        11937 Rising Sun Way
                                                                                        Gold River, CA 95670
                                                                                               916-420-0058




 8/26/2016

 To Whom it May Concern,

 This letter is to attest to the character of the respected community member, Dr. Firdos Sheikh.

 I have known Dr. Sheikh for over twenty years both in personal and professional capacity. Due to
 the nature of my volunteer activities, I always had to call on her to provide moral, ﬁnancial and
 intellectual support and she always answered the call. In professional capacity, when mother and
 mother-in-law were sick, she was always there to support and visited with them late in the night
 after her regular professional calls. In fact, when my Mother-in-law was sick, she came and
 stayed with her for a few hours to monitor her and ﬁnally took her to the hospital to be
 admitted, spending most of the night by her side ensuring that she was well taken care of.

 During the last twenty plus years, I learned about her medical practice, her character, her
 principles, her outlook on life and her giving back to community. Personally, I did not see a ﬂaw.
 She has busy medical practice, she volunteers, she attends community events, she supports
 non-proﬁt and helps the sick community members. Frankly, I do not know how she does it all.
 She is a leader.

 She has garnered the respect of the community and will continue to do so.

 Should you need more information, please feel free to contact me.




 T. Sami Siddiqui
 Real Estate/Loan Broker
 Past Treasurer and Past Board Member, Elica Health Clinic, a Federally Qualiﬁed
 Past Health Clinic Board Member, Shifa Clinic, a UCD Student run Clinic
 Past President, Treasurer and Board Member for CAIR, a civil rights organization
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March 7, 2020

To Whom it May Concern,

I have known Dr. Firdos Sheikh through the community for many years and she has been
guest at my family’s home many times. She is very kind and has always been a wonderful
guest and dear friend.

I love how she interacts with everyone in the family and whenever we have other guests
over at the house, everyone truly loves her. She is easy to talk to and truly feels like a
member of our family when she visits us.

I know that Dr. Firdos is also an incredible doctor and she has helped my late
mother-in-law, I have never seen a doctor interact with his/her patient as Firdos did. She
showed so much compassion and patience in so many moments. We have been so thankfu
to have Firdos a friend. I would absolutely trust her with my own care.

She is a wonderful person, friend, and an integral part of the greater Sacramento
community.

Please feel to contact me with any questions.

Sincerely,

Sawsan Natsheh

916-791-3768
8140 Barton Road
Granite Bay CA 95746
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        Indus Valley American Chamber of Commerce,
                         A Non -Profit Organization Since 2001
                   Corporation I.D. 2350078. Fed. Tax ID # XX-XXXXXXX
                   9235 Cape may Court , Sacramento, CA, 95758, USA
                        Phone: 916-802-5776, Fax: 916-684-9581
                     Chainsukh@aol.com . www.induschamber.com.
        _________________________________________________________________
                                To whom it may concern

The Indus Valley American Chamber of Commerce was founded in 2001 by a group of
philanthropistic and ambitious individuals who saw a gap in a business-oriented community that
needed to be filled. They have undertaken this mountainous task and have exceeded not only the
expectations of the founders but those of their well-wishers as well. Since the IVACC's inception,
it's members have had the honor to directly participate in California's legislative process. They
did this by entertaining and being entertained by California's most well-respected dignitaries in
the political realm as well as in the social realm. IVACC has strategic alliances with the
prominent South Asian community members at large as well as with prominent community
members all across California. In 2005-2007 IVACC board members with Lieutenant Governor
John Garamendi, shortly before his recent legislative victory.
Objectives
Involvement in the IVACC is an excellent way to meet other business professionals and
contribute to the economic growth of your business and your community.

At present, we have 500 members on our mailing list. Dr. Firdos Sheikh is a regular member of
IVACC for the last few years. She has been very active in the affairs of the chambers. As a
doctor, she has offered her serves to our community free of charge. Where ever and whenever
our community needs, her she is a willing social worker. She has helped a few times with money
also.
She has built a great relationship with IVACC members.
IVACC members are lucky that she is a part of our organization. We wish her best of luck in life.
Thanks.

Sukh C. Singh- General Secretary
Indus Valley American Chamber of Commerce,
501(c) ID #31428
Phone 916 802 5776 Fax 916 897 8748
E mail :chainsukh@aol.com,www.induschamber.com
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                 (Patient Testimonials)
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                            AFFIDAVIT
                            A F F I D A V I T IIN S U P P O R T OF
                                                N SUPPORT       OF

                   APBLICATION FOR
                               FOR A  S E A R C H WARRANT
                                    A SEARCH
                   A P P L I C AT I O N           WAERANT

   I,1,Eugene Kizenko,being
       Eugene Kizenko, beingduly
                            dulysworn  onoath,
                                 swornon  oath,depose  andsay:
                                                depose and say:

1.. Iam
     I amaSpecial   Agentwith
          a SpecialAgent       theUnited
                          withthe         StatesDepartment
                                   UnitedStates Departmentof Homeland Security
                                                           ofHomeland Security
   (DHS), Immigration
   (DHS),  Immigration and Customs Enforcement
                       and Customs             (ICE), Homeland
                                   Enforcement (ICE), Homeland Security
                                                               Security
   Investigations(HSI),
   Investigations        presentlyassigned
                  (HSI),presently               the Office
                                   assignedtotothe         of the
                                                    Ofiice of  the Assistant
                                                                   Assistant Special
                                                                             Special Agent
                                                                                     Agent
   in Charge
   in        Sacramento, California.
      Charge Sacramento, California. Ihave   beenemployed
                                      I havebeen          as a
                                                 employed as aSpecial        for the
                                                                       Agent for
                                                               Special Agent     the
   Department of Homeland
   Department of          Security for
                 Homeland Security     morethan
                                   for more than 10 years. IIwas
                                                 10years.        previously
                                                             was previously

   employed with
   employed       the United
            with the  United States
                             States Immigration  and Naturalization
                                     Immigration and                 Service(INS)
                                                     Naturalization Service        as
                                                                             (INS) as
   a SpecialAgent
   aSpecial       formore
            Agentfor      than10
                     morethan  10years.    duties as
                                        My duties
                                 years. My        as an
                                                     an H
                                                        HSI   special agent
                                                          S I special agent include
                                                                             include
   the investigation
   the               of criminal
       investigation of criminal violations  relatingto
                                 violations relating     among other
                                                      to among other things, the
                                                                     things, the
   investigationofof human
   investigation     human trafficking  andforced
                           trafficking and forced labor.
                                                   labor.

2.. The
    The affiant
        affiant submits this application
                submits this                 affidavit in
                                         and affidavit
                             application and              support of
                                                       in support of aasearch
                                                                       search warrant
                                                                               warrant

   authorizing the search
   authorizingthe         of 10454
                   search of       Menlo Oaks
                             10454 Menlo      Court, Elk
                                         OaksCourt,        Grove,CA
                                                      Elk Grove,  CA (hereinafter
                                                                      (hereinafter
   “SUBJECT PREMISES”).
   “SUBJECT             SUBJECT
            PREMISES”).SUBJECT  PREMISES
                               PREMISES            residenceof
                                               theresidence
                                        is isthe            of Firdos
                                                               Firdos
   SHEIKH(hereinafter
   SHEIKH              “SHEIKH”),
          (hereinafter“SHEIKH”), and       locatedin
                                   andisislocated in the Eastern District
                                                     the Eastern District of
                                                                          of
               as further
   California,as
   California,            described in
                  further described in Attachment A. The
                                       Attachment A.     affiantbelieves
                                                     The affiant         that located
                                                                 behaves that located
   within the
   within  the SUBJECT PREMISES is
               SUBJECT PREMISES is evidence,
                                    evidence,fruits,   andinstrumentalities
                                               fruits,and   instrumentalities relating
                                                                               relating
   to forced
   to  forced labor,   in violation
               labor, in   violation of 18USC
                                     of 18      1589; and
                                           USC§ §1589;      involuntary servitude,
                                                       andinvoluntary   servitude, in
                                                                                   in
   violation of
   violation of 18
                18USC         The affiant
                       §1584. The
                   USC §1584.             requests authority
                                  affiant requests            tosearch
                                                   authority to        the entire
                                                                search the entire
   SUBJECTPREMISES,
   SUBJECT                        allrooms,
                          includeall
           PREMISES,toto include             attics, basements,
                                      rooms, attics,            and all
                                                     basements, and all other
                                                                        other parts
                                                                              parts
  therein, and
  therein,     surroundinggrounds,
           andsurrounding  grounds,garages,
                                    garages, storage rooms, or
                                             storage rooms, or outbuildings of any
                                                               outbuildings of any

  kind, attached or
  kind, attached or unattached,
                    unattached, located on the
                                 locatedon  the SUBJECT
                                                SUBJECT PREMISES, and aany
                                                        PREMISES, and   ny

           and computer
  computer and
  computer     computer media located therein,
                        media located therein, where the items
                                               where the       specified in
                                                         items specified in
  Attachment  B m a ybebefound,
  Attachment Bmay         found,and
                                 and to seize all
                                     to seize  all items    listed ininAttachment
                                                     itemslisted        Attachment B as
                                                                                   Bas
  instrumentalities,   fruits,
  instrumentalities, fruits, and   evidenceofof the
                               andevidence      the crime.
                                                    crime. IIrequest
                                                              requestthat   the search
                                                                      that the  search
          authorizethe
  warrantauthorize
  warrant                searchofof vehicles
                     thesearch               located at
                                    vehicles located at or  near the
                                                        or near   the SUBJECT
                                                                       SUBJECT

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                                                                                    USA000300
                                                                                    USA000300
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    PREMISES which
    PREMISES       fallunder
             which fall underthe  dominionand
                              thedominion      controlofofthe
                                           andcontrol      theperson  orpersons
                                                               personor  persons
    associated with
    associated      the SUBJECT
               with the          PREMISES.
                        SUBJECT PREMISES.   The
                                          The   searchofofthese
                                              search       thesevehicles
                                                                 vehiclesisis to
                                                                              to

    include all
    include     internaland
            all internal    externalcompartments
                         andexternal                  allcontainers
                                                  and all
                                     compartments and     containers that
                                                                      thatmay be
                                                                          maybe

    associated with
    associated with the documents or
                    the documents or evidence ofthe
                                     evidenceof  thehiring of employees
                                                    hiring of            for work
                                                              employees for  work at
                                                                                  at the
                                                                                     the
    SUBJECT
    S U B J E C T PREMISES.
                  PREMISES.

    Thestatements
3.. The statements in thisaffidavit
                   in this affidavitare  based in
                                     arebased  in part on information
                                                  parton              providedby
                                                          informationprovided by other
                                                                                 other

   law enforcement agents,
   law enforcement         aswell
                   agents, as weUas
                                  asmy  owninvestigation.
                                     myown                  Since this
                                             investigation. Since  this afidavit  is
                                                                        affidavit is
   being submitted
   being           for the
         submitted for the limited purpose of
                           limited purpose    securingaasearch
                                           of securing         warrant, IIhave
                                                        search warrant,   have not
                                                                               not
   included each
   included each and
                 and every factknown
                     everyfact  knownto
                                      tome concerningthis
                                        meconcerning  thisinvestigation.    have set
                                                           investigation. IIhave set

   forth onlythe
   forthonly      facts that
              thefacts   thatIbelieve
                              I believe     necessaryto
                                        arenecessary
                                      are                establishprobable
                                                      toestablish  probablecause
                                                                            cause to
                                                                                  to
   believe that
   believe      evidence, fruits,
           that evidence,              instrumentalitiesofofthe
                                   and instrumentalities
                           fruits, and                       theviolation      and18
                                                                 violationofofand  18USC  §§
                                                                                      USC§§
   1584 and
   1584 and 1589       presentatatthe
                  arepresent
             1589are                  SUBJECT
                                    the SUBJECTPREMISES.
                                                PREMISES. Specifically. there is
                                                          Specifically, there is
  probable cause
  probable cause to  believethat
                  to believe      from approximately
                             that from approximatelySeptember
                                                     September2009, to July
                                                              2009, to July1,1,2013,
                                                                               2013,
   SHEIKH
   SHEIKH did intentionallyand
          did intentionally     knowinglytotocommit
                            andknowingly             anoffense
                                              commitan          against the
                                                       ofi'ense against  the United
                                                                             United

   States, that
   States,  that is   tohold
                  is to  holdindividuals
                               individuals in    condition of
                                            in aacondition     forced labor
                                                           of forced   labor and
                                                                              andinvoluntary
                                                                                   involuntary
              SHEIKHknowingly
  servitude. SHEIKH
  servitude.          knowingly
                              obtained thethelabor
                                obtained             andservices
                                               laborand           of individuals
                                                         services of  individuals by
                                                                                  by
  one or
  one or more ofthe
         more of thefollowing
                     following means:
                               means:
         a. by
         a. by means of force,
               means of  force, threats  of force,
                                 threats of                  restraint, and
                                                    physicalrestraint,
                                             force,physical             and threats of physical
                                                                            threats of physical
              restraint;
              restraint:

         b. by
         b. by means
               means of
                     of serious  harm and
                         serious harm and threats
                                           threats of
                                                   of serious
                                                       serious harm;
                                                               harm;
         c. by
         c.  bymeans of the
               meansof      abuse and
                        the abuse and threatened        of law
                                                  abuse of
                                      threatened abuse         and legal
                                                           law and       process; and
                                                                    legalprocess; and
         d. by
         d. by means
               means of
                     of aascheme, plan and
                          scheme, plan      pattern intended
                                       and pattern   intended to cause individuals
                                                              to cause  individuals to
                                                                                    to
              believe that
              believe that ifif they did not
                                they did     perform labor
                                         not perform       and services,
                                                     labor and                would suffer
                                                                         they would
                                                               services, they       suffer
              serious harm
              serious harm and  physical restraint.
                           and physical   restraint.
  ////
    //

  /I”
    //

  /I/
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                                       STATUTES
                                       S TATUTES

4. The following
4. The following criminal violationsare
                 criminal violations     at issue
                                     are at              thisaffidavit:
                                             issue inin this  affidavit:
      a.  18U.S.C.
      a. 18        1584: Whoever
            U.S.C. 1584: Whoeverknowingly
                                 knowinglyand  willfully holds
                                           andwillfully  holds to
                                                               to involuntary
                                                                   involuntary
         servitude
         servitude or sells into
                   or sells          condition of
                                 any condition
                            into any           of involuntary servitude,any
                                                  involuntary servitude,    otherperson
                                                                         anyother person

         for any
         for           or brings
                 term, or
             any term,           withinthe
                          bringswithin      UnitedStates
                                        theUnited         anyperson
                                                   Statesany         soheld,
                                                              personso       shallbe
                                                                       held,shall be
         fined under
         fined under this titleor
                     this title orimprisoned
                                   imprisonednot
                                              notmore than20
                                                 morethan  20years,    both
                                                                    or both
                                                             years, or

     b. 18
     b.     USC
         18use 1589:  Whoeverknowingly
                1589:Whoever  knowinglyprovides  orobtains
                                        providesor          thelabor
                                                    obtainsthe            services of
                                                                laborororservices  of aa

         person by
         person    any of
                by any    one, or
                       of one,  orby  anycombination
                                   byany  combination of,
                                                      of, the
                                                           the following
                                                                following means
                                                                          means

             i.i. by
                   bymeans    force, threats
                           offorce,
                      meansof                of fore,
                                     threats of fore, physical
                                                      physical restraint,  or threats
                                                                restraint, or threats of
                                                                                      of
                physical restraint
                physical               thatperson
                         restrainttotothat        or another
                                           personor  another person;
                                                             person;
                     bymeans
            iii.i . by       of serious
                       meansof  serious harm
                                        harmor
                                             or threats of serious
                                                threats of serious harm to that
                                                                   harm to      person or
                                                                           that person or
                another person;
                another person;
           iii.bybymeans
           iii.     meansofofthe
                              theabuse  or threatened
                                  abuseor   threatenedabuse
                                                       abuseofoflaw or legal
                                                                 lawor       process; or
                                                                        legalprocess; or
           iv. bybymeans
           iv.      meansofofany scheme, plan,
                             any scheme,       or pattern
                                         plan, or          intendedtotocause
                                                  pattern intended            the person
                                                                        cause the person

                   believe that,
                to behave
                to                    that person
                           that, ifif that        did not
                                           person did not perform
                                                          perform such  laboror
                                                                  such labor or services,
                                                                                services,
                that person
                that        or another
                     person or         person would
                               another person would suffer serious harm
                                                    suffer serious harm or
                                                                        or physical
                                                                           physical

                rrestraint,
                  estraint,

        shall be punished
        shall be  punished in  accordance with
                            in accordance with the
                                                the statute.
                                                     statute.
       BACKGROUND
       B           RELARTING
         ACKGROUND R          T0
                     ELARTING T O                 F O R C E D LABOR/INVOLUNTARY
                                                 FORCED        L A B O R / I N V O L U N TA RY

                                           SERVITUDE
                                           SERVITUDE

   Throughmy
5. Through
5.         myown                andspeaking
                  investigationand
             own investigation              withother
                                    speakingwith otherlaw
                                                       lawenforcement  officers in
                                                           enforcement officers in
  the field, IIhave
  the field,    havebecome familiarwith
                    become familiar       thepractice
                                    withthe   practiceofofpersons  whoengage
                                                           personswho         in forced
                                                                       engage in forced

  labor and
  labor and involuntary  servitude.Such
             involuntary servitude.     persons control
                                    Suchpersons         their workers
                                                control their         through force,
                                                              workers through force,
  threats of force,
  threats of         or threats
             force, or   threats of  legal coercion.
                                 of legal   coercion. In
                                                       In addition,
                                                           addition, such persons will
                                                                     such persons will obtain
                                                                                       obtain
  labor
  labor services of their
        services of  their workers
                           workers through          restraintororby
                                           physicalrestraint
                                   through physical               bymeans of aascheme,
                                                                    means of   scheme,
  plan or pattern
  plan or          intendedtotocause
          pattern intended      causethe workertotobelieve
                                      theworker             thatif ifheheor
                                                    believethat             she did
                                                                         or she did not
                                                                                    not
  perform labor or
  perform labor    services, that
                or services,       person would
                              that person       sufferharm
                                          wouldsuffer harm of physical restraint.
                                                           ofphysical              Such
                                                                        restraint. Such
                                             3
                                             3




                                                                                       USA000302
                                                                                       U SA000302
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                               “N                                 “\




    persons often
    pefsons often take   steps totocontrol
                   take steps                theirworkers
                                    controltheir   workersby
                                                           bylimiting,   monitoring, and
                                                               limiting, monitoring, and
    otherwise surveilHng
    otherwise             theirmovements
              surveillingtheir           anduse
                               movementsand     of time.
                                            use of  time.

6.. Such persons will
    Suchpersons       also cause
                 will also cause their workers to
                                 their workers to perform laborand
                                                  performlabor     services but
                                                               andservices      not pay
                                                                            but not pay

    their wages,
    their        or make deductions
          wages, or'make deductionsfrom  wagesso
                                    from wages sothat  theworkers
                                                  thatthe             left with
                                                                  areleft
                                                          workersare            little
                                                                           with Httle
    or no
    or    money. Oftentimes
       no money.                      willkeep
                             employerswill
                 Oftentimes employers      keeprecords of hours
                                                recordsof       workedby
                                                          hours worked by employees
                                                                          employees
    or deductions
    or deductions made
                  made to theirwages,
                       to their        aswell
                                wages, as     aswages
                                          wellas       owed and
                                                 wages owed     employment
                                                            and employment
    agreements. As
    agreements.  As itit concerns  these records
                          concernsthese          and other
                                         records and       evidence of
                                                     other evidence of employment,
                                                                       employment, itit is
                                                                                        is

       experience and
    my experience
    my            and the
                       the experience   ofother
                            experience of        agentswith
                                           otheragents  withwhom     have spoken,
                                                             whom I Ihave spoken, that:
                                                                                   that;
       a. persons involved
       a. persons            in the
                   involved in        forcedlabor
                                 the forced   laborand
                                                    andinvoluntary   servitude will
                                                         involuntaryservitude   will maintain
                                                                                     maintain
            records
            records utilizing  computers,compact
                    utilizing computers,         discs, digital
                                          compactdiscs,         video discs
                                                        digitalvideo        and other
                                                                      discs and other
            electronicdevices
            electronic devices such as cellular
                               such as cellixlar phones,
                                                 phones, palm
                                                         palm pilots,        and tape
                                                                      pagers and
                                                              pilots, pagers     tape
            recorders; and
            recorders; and

       b.  these records
       b. these  records include, but are
                         include, but     not limited
                                      are not          to correspondence,
                                               limited to correspondence, notes,
                                                                          notes, daily
                                                                                 daily
            planners, business
            planners,          and financial
                      business and financial transaction  recordssuch
                                              transactionrecords       as ledgers,
                                                                  such as  ledgers, journals,
                                                                                     jomnals,
                          receipts,phone
            spreadsheets, receipts,
            spreadsheets,                 and address
                                    phone and address books, notes, pay/owe
                                                      books, notes,         slips, receipt
                                                                    pay/owe slips, receipt

            books, bank
            books, bank statements for personal
                        statements for          and business
                                       personal and          checking and
                                                    business checking and savings
                                                                          savings

            accounts, deposit and
            accounts, deposit and withdrawal  slips,canceled
                                  withdrawal slips,          checks, check
                                                    canceled checks, check registers,
                                                                            registers,
            money order
            money        receipts, cashier’s
                  order receipts,            checks, and
                                   cashier’s checks,            transfer documents.
                                                          wire transfer
                                                      andwire            documents.
         times such
    Many times
7.. Many            persons control
               such persons          their workers’
                            control their  workers’ freedom
                                                    freedom by
                                                            by installing         and
                                                                           chains and
                                                                installing chains
   locks on
   locks    doors and
         on doors     gates so
                  and gates    the workers
                            sothe          are not
                                   workers are           to leave
                                                   able to
                                               not able      leave freely.   Such persons
                                                                    fi-eely. Such persons

       also have
   may also
   may             electronic surveillance
             have electronic                cameras in
                               surveillance cameras     place to
                                                     in place               their workers’
                                                                   monitor their
                                                               to monitor         workers’
   movements.
   m o v e m e n t s .


    Such persons
8.. Such               maintain control
                 often maintain
         persons often          control of  the workers’
                                        of the                      and travel
                                                           identity and
                                                 workers’ identity       travel documents
                                                                                documents

   to prevent their
   to prevent  their freedom
                      freedom of
                              of movement.
                                  movement.                   .
    Ofientimessuch
9.. Oftentimes      persons will
               such persons      take steps
                            will take        to isolate
                                      steps to            their workers
                                                 isolate their  workers by  preventing their
                                                                        by preventing   their
   association with
   association      other individuals.
               with other               Suchpersons
                          individuals. Such          w i l l also
                                             persons will    also often  limit or
                                                                  often limit  or monitor
                                                                                  monitor
     h e i r workers’
   ttheir    w o r k e r s ’ communications.
                              communications.

                                                4




                                                                                    USA000303
                                                                                    U SA000303
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                     FACTS     E S T A B L I S H I N G EROBQLE
                     F A C T S ESTABLISHING                            C A USE
                                                       P R O B A B L E 9A  USE

   Statement of
   Statement    Witness 11
             of Witness

10. In furtherance
10.In               of the
        furtherance of  the investigation,  at or
                             investigation, at    about June
                                               or about June 26, 2013, HSI
                                                             26, 2013, HSI Sacramento
                                                                           Sacramento
   received
   received information  from an
             information from an individual
                                  individual (hereinafter             as “WITNESS
                                                           identifiedas
                                             (hereinafter identified              1”),
                                                                         “WITNESS 1”),
   who previously
   who            worked for
       previously worked for SHEIKH at the
                             SHEIKH at  the SUBJECT
                                            SUBJECT PREMISES.
                                                    PREMISES. WITNESS
                                                              WITNESS 11
   reported the
   reported the following:
                 following:
         SHEIKHhad
      a. SHEIKH
      a.        hademployed
                    employedillegal  aliensand
                             illegalaliens     paid them
                                            andpaid      littleoror no
                                                    them little        wages with
                                                                    no wages with

            poor working conditions.
            poor working  conditions,
      b. WITNESS 1claimed
      b. WITNESS           thathe
                 1 claimedthat     had been
                                he had been employed
                                             employed by  SHEIKH from
                                                       bySHEIKH   from April
                                                                        April

            through June
            through      2013. WITNESS
                    June 2013.           provided information
                               WITNESS 11provided              that two
                                                   information that     other
                                                                    two other
            individuals,         2 andWITNESS
                         WITNESS2and
            individuals, WITNESS       WITNESS3,3,had  also been
                                                   hadalso  been employed
                                                                 employed full
                                                                           full time
                                                                                 time
           by SHEIKH,
           by         butthat
              SHEIKH, but thatthey
                               theywere only receiving
                                   were only  receiving$200 per month.
                                                       $200 per        WITNESS 11
                                                                month. WITNESS
            also  saidthat
            also said       WITNESS 22and
                       thatWITNESS    and 33were               trailer on
                                                   hving inina atrailer
                                            were living                 on SHEIKH’s
                                                                            SHEIKH’s
                    and were
           property and
           property     were afraid to leave.
                             afraid to leave.
   Welfare Check
   Welfare CheckatatSUBJECTPREMSES
                     SUBJECT PREMISES
11. On
11. On July    2013, HSI
            1, 2013,
       July 1,       HSI agents along with
                         agents along with two            County Sheriffs
                                               Sacramento County
                                           two Sacramento                 Oficers
                                                                 Sheriffs Officers
   went to
   went to the   SUBJECT PREMISES
            the SUBJECT           to conduct
                         PREMISES to conduct aawelfare check on
                                               welfare check on WITNESSES 2
                                                                WITNESSES 2

   and 3.
   and    The property
       3. The          was fenced
              propertywas          and had
                            fenced and had a large gate
                                           alarge       and two
                                                   gate and two pedestrian gates that
                                                                pedestrian gates that
   were locked
   were        with chains
         lockedwith chains and padlocks. SHEIKH
                           and padlocks. SHEIKH allowed the officers
                                                allowedthe           to enter
                                                            officers to       the
                                                                        enter the
  property.
  p r o p e r t y.

12.Upon enteringthe
   Uponentering      property, the
                 theproperty,  the affiant observed aalong
                                   affiant observed   long driveway which led
                                                           driveway which  led to
                                                                               to a
   residential dwelling.The
   residential dwelling. Theproperty  consistedofof avery
                             propertyconsisted      a very large  manicured acreage
                                                            large manicured acreage

  with alake,
  with        several aviaries,
       a lake,several           pens for
                      aviaries,’pens for animals,   horse. long
                                         animals, aahorse,        footpaths lined
                                                            long footpaths   lined with
                                                                                   with

  flowering        several gazebos
            plants,several
  floweringplants,         gazebos and  patios, tables,
                                   and patios,             large grassy
                                                 tables, aalarge  grassy area,
                                                                          area,a atwo-story
                                                                                 two-story

  residence, several
  residence,         sheds and
             several sheds  and an  RVtrailer
                                 anRV   trailerparked  nextthe
                                                parkednext   thefront   patio.AApublic
                                                                  frontpatio.   public
  records database
  records           indicated that
          database indicated       the property
                              that the          was approximately
                                       property was                21 acres.
                                                    approximately 21  acres.



                                                 5




                                                                                  USA000304
                                                                                  USA000304
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13. SHEIKH allowed
13.SHEIKH  allowed HSI         entry into
                       agents entry
                   HSI agents               the trailer
                                      into the           where WITNESSES
                                                 trailer where WITNESSES 2 and 33
                                                                         2and
   were believed
   were believed to
                  to have  resided. There
                      haveresided.        were noindividuals
                                    There were  no individuals present   in the
                                                                present in        trailer, but
                                                                             the trailer,  but
   itit appeared to have
        appeared to have been            Lived inin and
                               recently lived
                         been recently                   hastily abandoned.
                                                     andhastily  abandoned. Of note, there
                                                                            Of note, there

   were dishes
   were             the sink,
                in the
        dishes in       sink, bread
                              bread on
                                    on aatable,     beds that
                                                and beds
                                         table, and           appearedto
                                                         that appeared    have been
                                                                       to have been
            slept in.
   recently slept
   recently           Afternot
                  in. After     locatingany
                            notlocating          SHEIKH’semployees
                                         anyofofSHEIKH’s  employees on
                                                                    on the SUBJECT
                                                                       the SUBJECT
   PREMISES, SA
   PREMISES, SA Kizenko contacted aatelephone
                Kizenko contacted             number that
                                    telephone number      hadprovided
                                                     that had          to him
                                                              provided to     by
                                                                          himby
   WITNESS 1 for WITNESS
   WITNESS 1for          3. WITNESS
                 WITNESS 3.         3 didnot
                            WITNESS3did   notanswer  thephone,
                                              answerthe         butWITNESS
                                                         phone, but WITNESS
   2 did.WITNESS
   2did. WITNESS2agreed
                 2 agreedtotomeet withHSI
                             meetwith HSIagents.
                                          agents.

   Statement of
   Statement of Witness
                Witness 2
                        2
14.1 met with
14.1 met        andinterviewed
          with and               WITNESS 2.
                     interviewed WITNESS 2. During an initial
                                            During an  initial interview  at the
                                                                interview at the
   SUBJECT PREMISES,
   SUBJECT PREMISES, he
                     he told to me
                        told to    the following:
                                me the following:
     a.. W
     a   WITNESS
           I T N E S S 2 s2asaid   a t h ehe
                            i d t hthat            o t aat
                                             a s n not
                                           w was           h e ttrailer
                                                        t tthe   r a i l e r aat  h e ttime
                                                                              t tthe    i m e oof
                                                                                                f the
                                                                                                   t h e welfare
                                                                                                         welfare

         check, and
         check, and that he hadbeen
                    that he had been hiding    the bushes
                                            in the
                                     hiding in            on the
                                                   bushes on the property because
                                                                 property because

         several minutes earlier
         several minutes           SHEIKH told
                          earlier SHEIKH   told WITNESS   that Homeland
                                                WITNESS 22that Homeland Security
                                                                        Security

             come for
         had come
         had       for him   and that
                        him and   that he hadtotoget
                                       hehad      getout   thethe
                                                      outofof      trailer. WITNESS
                                                                trailer.    WITNESS 22was
                                                                                      was

         not feeling
         not         well, and
             feeling well, and had
                               had only eaten minimal
                                   only eaten minimal food
                                                      food of  questionable quality
                                                           of questionable  quahty in
                                                                                    in
         the last
         the       couple ofofdays.
             last couple              Inoted that
                               days.I noted   that WITNESS   appeared dehydrated,
                                                   WITNESS 22appeared dehydrated, gaunt,
                                                                                  gaunt,
         and hungry.
         and  hungry.
15.WITNESS
15. WITNESS 22was
              was transported     the H
                               to the
                  transported to      HSI      Sacramento, and
                                            in Sacramento,
                                        S I in                 was interviewed
                                                           and was              by
                                                                    interviewed by
   HSI SA Ann
   HSI SA     Marie Del
          Ann Marie     Castillo and
                    Del Castillo           SAKizenko.
                                      HSI SA
                                 and HSI               WITNESS 22reported
                                              Kizenko. WITNESS   reported the
                                                                          the
   following:
   following:
     a.
     a. WITNESS 2 enteredthe
        WITNESS2entered        United
                           theUnited States   fromNepal
                                      Statesfrom   Nepalinin1996  andwas
                                                             1996and     in the
                                                                     was in the

         country illegally.
         country  illegally,
     b. WITNESS 2said
     b. WITNESS        thathe
                2 saidthat     spoke with
                            he spoke with SHEIKH  in December
                                          SHEIKH in  December 2012
                                                              2012 regarding
                                                                    regarding

        potential                the SUBJECT
                  employmentatat the
        potentialemployment          SUBJECT PREMISES and other
                                             PREMISES and other properties
                                                                 properties

        owned by SHEIKH
        owned by         in the
                  SHEIKH in  the surrounding
                                  surrounding area. SHEIKHtold
                                              area. SHEIKH toldhim  thatthe
                                                                himthat  the job
                                                                             job
        was going
        was going to   be six
                   to be   sixdays   week and
                               daysa aweek      would involve
                                           and would           cooking and
                                                       involve cooking and cleaning and a
                                                                           cleaning and a

                                                       6
                                                       6




                                                                                                          USA000305
                                                                                                          USA000305
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       littleoutside
       little         work. SHEIKH
              outside work.         alsopromised
                             SHEIKHalso          himone
                                         promisedhim     day ofl'
                                                     one day off a      either
                                                                   week either
                                                                  aweek
       Saturday or
       Saturday or Sunday.         2 agreedtotothese
                           WITNESS2agreed
                   Sunday. WITNESS              theseconditions
                                                      conditionsof
                                                                ofemployment
                                                                   employment
       with
       w i t h SHEIKH.
               SHEIKH,

    c. WITNESS
    c.         2’s first
       WITNESS2’s        week of
                   first week     work atatthe
                              of work        theSUBJECT   PREMISES consisted
                                                 SUBJECT PREMISES   consisted

              offollowing
       mainlyof
       mainly    followingaround WITNESS3,3,who
                           aroundWITNESS    whowas alreadyemployed
                                                wasalready          by
                                                           employed by
       SHEIKH. SHEIKH
       SHEIKH.  SHEIKHdid
                       didnot  provideany
                           notprovide           to WITNESS
                                           foodto
                                       anyfood             2 thatweek
                                                   WITNESS 2that       so
                                                                  weekso
      WITNESS2had
      WITNESS 2 hadtoto share food with
                        share food with WITNESS 3.
                                        WITNESS 3.

    d. On
    d.    thesecond
       Onthe  second week
                     week of WITNESS 2’s
                          of WITNESS     employmentwith
                                     2’semployment with SHEIKH, WITNESS 22
                                                        SHEIKH, WITNESS
      worked     night at
             one night
      worked one       at abanquet hall to
                          a banquethaU     which he
                                        to which    was driven
                                                 he was        by SHEIKH.
                                                        driven by SHEIKH.
      However, SHEIKH
      However,        toldhim
               SHEIKH told     thatshe
                           himthat  shewould
                                       wouldno  longer be
                                             no longer be transporting himto
                                                          transporting him to

      that job, and
      thatjob,  and told WITNESS 2his
                    told WITNESS 2 hisjob
                                       jobwas      going to
                                              only going
                                          was only       to be
                                                            be working for
                                                               working for
      SHEIKH.  SHEIKHtold
      SHEIKH. SHEIKH  toldWITNESS
                           WITNESS2that
                                   2 thathis
                                           hissalary  wouldbe
                                               salarywould  be$300
                                                              $300 a month,
                                                                   amonth,
      plus room
      plus      and board.
           room and        SHEIKHonly
                    board. SHEIKH onlyspent     a monthfor
                                            $80 amonth
                                      spent $80             foodfor
                                                        forfood      WITNESS
                                                                 for WITNESS
      2, which
      2, which according
               according to  WITNESS 2
                          to WITNESS 2was  not enough.
                                       was not enough,
   e. WITNESS
   e.         2’s work
      WITNESS2’s  work for
                       for SHEIKH  involvedtaking
                           SHEIKH involved  takingcare  of animals,
                                                   care of          mowing the
                                                           animals, mowing the
      lawn, taking
      lawn, takingcare  of plants,
                   care of         housework, fixing
                           plants, housework,        machines, painting
                                              fixing machines, painting and other
                                                                        and other
      work that
      work that SHEIK needed done
                SHEIK needed       at the
                             done at    theSUBJECT
                                            SUBJECT PREMISES.
                                                     PREMISES,

   f.  WITNESS2was
   f. WITNESS  2 waspaid
                     paid$300  cashfor
                          $300cash     hiswork
                                    forhis work each
                                                each month
                                                     month in
                                                           in January and
                                                              January and

      February        Hissalary
               2013. His
      February2013.       salarywas  raisedtoto $400
                                 wasraised      $400 amonth      Marchbut
                                                     a monthinin March    he had
                                                                       buthe had
      to buy
      to     his own
         buy his           However,in
                     food. However,
                 own food.          in April 2013he
                                       April2013  hewas paid$300.
                                                    waspaid  $300. He  received
                                                                    Hereceived

      $250 in
      $250  in May. Hehas
               May. He hasnot receivedany
                          notreceived             for June,
                                          salary for
                                      any salary      June.
      WITNESS2complained
   g. WITNESS
   g.                         SHEIKHabout
              2 complainedtotoSHEIKH       herfailure
                                     abouther               liveup
                                               failuretotolive   uptotohis
                                                                        hisagreed
                                                                            agreed

             and the
      salary and
      salary      the sporadic   payment schedule.
                       sporadic payment              SHEKIH told
                                          schedule. SHEKIH        WITNESS 22she
                                                             told WITNESS   she
          connected politically
      was connected
      was                           thatififhe
                                and that
                    politically and             continuedto
                                             hecontinued  tocomplain  shewould
                                                             complainshe       have
                                                                         wouldhave
      him deported back
      him deported back to
                         to Kathmandu
                             Kathmandu (Nepal). SHEIKHalso
                                       (Nepal). SHEIKH also advised him that
                                                            advised him  that
      she had
      she had wireless            watching WITNESS
                         cameras watching
               wireless cameras                      and WITNESS
                                           WITNESS 22and         3.
                                                         WITNESS 3.


                                      7




                                                                          USA000306
                                                                          U SA000306
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                              fix                                                 ‘\




    h. WITNESS
    h. WITNESS2said   thathe
               2 saidthat    workedaminimum
                           heworked a minimum         hoursaday,
                                            of of1010hours  a day,seven  days aa
                                                                   sevendays

        week. There
        week. There were occasionswhen
                    were occasions whenhe  hadtoto work
                                        he had           in excess
                                                   work in         of twelve
                                                            excess of  twelve hours
                                                                              hours a
                                                                                    a

        day. WITNESS
        day.         2 neverreceived
             WITNESS 2never  receivedaday
                                      a dayoffofffor holidayororifif he
                                                for holiday             was sick.
                                                                     he was sick.
        SHEIKHwould
        SHEIKH wouldprovide  himwith
                     providehim       littleorornonoassistance
                                withlittle           assistanceeven
                                                               even ifif WITNESS
                                                                         WITNESS 22
        felt i l land
        felt ill  andunable
                      unableto          hisduties.
                                perform his
                             to perform              Forexample,
                                            duties. For  example,on the previous
                                                                 on the previous

        weekend, WITNESS
        weekend, WITNESS 2 hadto
                         2had     workinintemperatures
                               to work                  exceeding90
                                           temperaturesexceeding     degrees
                                                                  90degrees
        although WITNESS 2
        although WITNESS   hadtold
                         2had             hewas
                                   SHEIKHhe
                              told SHEIKH           i l l to
                                                too iU
                                            was too       to work.              be
                                                                          shouldbe
                                                                    ( I tshould
                                                             work. (It
       noted that,
       noted       according to
             that, according    National Weather
                             to National         Service data
                                         Weather Service       from Sacramento
                                                         data from  Sacramento
       Executive Airport,
       Executive          thehigh
                 Airport,the  hightemperature      June27,
                                   temperatureononJune  27,2013,
                                                            2013,was     degrees.
                                                                      98degrees.
                                                                  was98

       Between June
       Between June 28, 2013, and
                    28, 2013, and July 1, 2013,
                                  July 1, 2013, high
                                                high temperatures  wereabove
                                                      temperatures were       100
                                                                        above 100
       degrees.)
       degrees.)
   ii.. WWITNESS
         I T N E S S 2 s2t a t e d t hthat
                           stated      a t t hthere           a m e r a s installed
                                                      e r e ccameras
                                               e r e wwere                                  a t the
                                                                          i n s t a l l e d at   t h e SUBJECT
                                                                                                        SUBJECT

       PREMISESaround
       PREMISES aroundMay        Fiveor
                          2013. Five
                      May2013.           six cameras
                                      or six         were installed
                                             cameras were            and three
                                                           installed and  three
       were pointed
       were           at the
             pointed at         trailer, where
                           thetrailer,    whereWITNESS   and WITNESS
                                                WITNESS2 2and          lived. That
                                                              WITNESS 33lived. That
       was later
       was       changed to
           later changed    one camera
                         to one          pointed at
                                 camera pointed      the trailer
                                                 at the           and the
                                                          trailer and     others were
                                                                      the others were

       moved  to difl'erent
       moved to             locations,one
                 different locations,     facing the
                                      one facing           of the
                                                     front of
                                                 the front     the property and the
                                                                   property and the other
                                                                                    other

       camera facing
       camera        the back
              facing the      of the
                         back of  theproperty.
                                      property,

   j.  SHEIKHtold
   j. SHEIICH toldWITNESS 2 thatthe
                  WITNESS2that        surveillancecameras
                                  thesurveillance                 watch their
                                                               to watch
                                                          were to
                                                   cameraswere           their

       work and
       work     to make
            and to       sure they
                   make sure         wouldn’t leave
                               they wouldn’t          from the
                                               leave from   theSUBJECT
                                                                SUBJECT PREMISES.
                                                                        PREMISES.
       WITNESS2was
       WITNESS 2 wasprepared       leave the
                     preparedtoto leave  the SUBJECT
                                             SUBJECT PREMISES but had
                                                     PREMISESbut  had not
                                                                      not
       been paid
       been       in June
            paid in  June and
                          and was stiU owed
                              was still       moneyfor
                                        owed money      previous months
                                                    forprevious  months of
                                                                        of working
                                                                            working
         o r SHEIKH.
       ffor  SHEIKH.

   k. SHEIKH
   k.        referredtoto WITNESS
      SHEIKHreferred              2 “nokur”,
                          WITNESS2“nokur”, which       saidwas
                                             whichhehesaid     the Urduword
                                                           was the Urdu word
       for “slave.”
       for “slave.'

   l. WITNESS
   1.         2 toldSHEIKH
      WITNESS2told   SHEIKH      herparents,
                             andher
                           and                    hadrecently
                                              whohad
                                     parents,who     recentlymoved  into the
                                                              moved into the
       SUBJECT           thathe
               PREMISES,that
       SUBJECT PREMISES,      hewas
                                was going  to leave
                                    going to   leaveSHEIKH’s
                                                     SHEIKH’s employ.
                                                              employ.


                                                       8




                                                                                                           USA000307
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        However, WITNESS
        However,         2 felthehecould
                 WITNESS2felt       couldnot
                                          notleave  untilhe
                                              leave until    received the
                                                          he received     money that
                                                                      the money  that
        was owed
        was       to him
            owed to  him as
                         as he  hadno
                             hehad     family or
                                    nofamily      friends who
                                               orfriends  who could   support him.
                                                               could support  him.
     m. On
     m. On the
           the morning of July
               morningof       1,2013,
                          July1,       WITNESS 2had
                                 2013, WITNESS 2 hadnot  receivedpayment
                                                     notreceived         and
                                                                 payment and

        was told
        was      by SHEIKH
            told by SHEIKHtotoleave
                               leavebecause  Homeland Security
                                     because Homeland          was there
                                                      Security was           him.
                                                                         for him.
                                                                   there for
        As a
        As   result,WITNESS
           aresult,         2 r a nfrom
                    WITNESS2ran      fromthe  SUBJECTPREMISES
                                          theSUBJECT           andjumped
                                                      PREMISESand  jumpedover
                                                                         over

        a fence, where
        afence,        he hid
                 where he     in the
                          hid in the bushes
                                     bushes until he was
                                            until he was contacted
                                                         contacted by  the afliant.
                                                                   by the  affiant.
  Statement of
  Statement    Witness 33
            of Witness                                         ,

16.On
16.    July 2,
    OnJuly  2, 2013, WITNESS33was
               2013,WITNESS   was interviewedby
                                   interviewed by SA
                                                  SA Del
                                                     Del Castillo and-Group
                                                         Castillo and Group
             Carol Webster
  Supervisor Carol
  Supervisor               regarding his
                   Webster regarding his employment by SHEIKH.
                                         employment by          Accordingto
                                                       SHEIKH. According  to GS
                                                                             GS
  Webster, WITNESS
  Webster,         3 was gaunt,
           WITNESS 3was  gaunt, emotional and appeared
                                emotionaland  appeared visibly traumatizedwhen
                                                       visibly traumatized when
  recounting his experiences
  recounting his experiences with   SHEIKH. WITNESS
                              with SHEIKH.          3 stated he
                                            WITNESS 3stated  he was
                                                                was unlawfully
                                                                     unlawfully
           in the
  present in
  present     the U S . There
                  U.S.  There are no known
                              are no  known records
                                             records to   theaffiant
                                                      tothe   affiant that
                                                                       that indicate
                                                                             indicate

  WITNESS 3has
  WITNESS 3 has legal
                legal status to be
                      status to        the United
                                    in the
                                be in      United States. WITNESS 3reported
                                                  States. WITNESS           the
                                                                  3 reportedthe
  following:
  following:
    a. WITNESS
    a.         3 was introduced
       WITNESS 3was   introduced to
                                 to SHEIKH in 2009
                                    SHEIKH in 2009 by    individual that
                                                      anindividual
                                                   by an            that
        WITNESS 3had
        WITNESS      worked for
                3 hadworked for previously.
                                previously. WITNESS
                                            WITNESS 3       working for
                                                      began working
                                                    3began          for
        SHEIKHon
        SHEIKH onthe weekends in
                  theweekends in approximately
                                 approximatelySeptember
                                               September 2009 and lived
                                                         2009 and livedon  the
                                                                        on the
       traileratat the
       trailer     the SUBJECT PREMISES.WITNESS
                       SUBJECT PREMISES.         3 wasthetheonly
                                         WITNESS3was         onlyperson  on the
                                                                  personon  the
                at that
       property at
       property         time, as
                   that time,               residence was
                                  SHEIKHS’s residence
                              as SHEIKHS’s                 beingbuilt.
                                                      was being  built. Initially  he
                                                                         Initially he
       worked for
       worked     her on
              for her on weekends
                         weekends for         months as
                                      several months
                                  for several        as he
                                                        he continued
                                                            continued working at his
                                                                      working at his
       other job,
       other      Monday through
             job, Monday  through Friday.        thistime,
                                          Duringthis
                                  Friday. During      time,WITNESS 3 receivedno
                                                           WITNESS3received  no
           but was
       pay but
       pay         allowed to
               was allowed to stay
                              stay at     SUBJECTPREMISES
                                      the SUBJECT
                                   at the         PREMISESin
                                                           in exchange  for
                                                               exchange for

       working there two
       workingthere             week.
                         days aaweek,
                     two days
    b. In approximately
    b. In                         2010, WITNESS
                        September 2010,
          approximately September       WITNESS 3 and SHEIKH
                                                3and         came to
                                                      SHEIKH came      verbal
                                                                  to aaverbal
       agreement where
       agreement       he would
                 where he would work
                                work on   permanent basis
                                      ona apermanent basis for
                                                            for SHEIKH.  She
                                                                 SHEIKH. She
       agreed to
       agreed      a y him
              to ppay   him $400     r week.
                             $400p eper week.However,  WITNESS 33never
                                              However,WITNESS          received that
                                                                 never received  that


                                            9




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                    highest salary
                The highest
       amount. The
       amount.                     he received
                            salary he           during his
                                       received during his employment   for SHEIKH
                                                            employment for   SHEIKH
       was $400
       was      per month.
           $400 per month,
    c. After
    c.        a fewmonths,
        Afterafew   months,SHEIKH
                            SHEIKHbegan         deductionsfrom
                                         takingdeductions
                                   begantaking             fromWITNESS
                                                               WITNESS3’s
                                                                       3’s
              for various
       salary for
       salary                  and would
                          fees and
                  variousfees      would pay himin
                                         pay him inincrements
                                                    incrementsofof$40  or$100.
                                                                   $40or  $100.
               3 wouldcomplain
       WITNESS 3would
       WITNESS                 about SHEIKH’s
                      complainabout  SHEIKH’slack of pay
                                              lackof         his efforts.
                                                         for his
                                                     pay for     efi'orts.
       SHEIKHtold
       SHEIKH     WITNESS3that
              toldWITNESS 3 thatshe  didn'thave
                                 shedidn’t  havethe
                                                 themoney  to pay
                                                    money to      him.
                                                              pay him.
    d. WITNESS3’s
    d. WITNESS 3’s responsibilities
                   responsibilities for the first
                                    for the firstyear consisted of
                                                  yearconsisted of maintaining the
                                                                   maintaining the
       over 20
       over          property, feeding
                acreproperty,
            20 acre                      theanimals
                                feeding the  animals and   landscaping. After
                                                      andlandscaping.   After that,
                                                                               that,
       SHEIKH
       SHEIKH would drive WITNESS
              would drive WITNESS 3to      otherproperties
                                       herother
                                  3 toher                  andhave
                                                propertiesand      him cut
                                                              have him out
       grass and clean
       grass and clean up
                       up in
                           in and        the residences
                                  around the
                              and around     residences that were located
                                                        that were         on the
                                                                  locatedon  the
      other properties.
      other properties, ,
   e. When
   e.      WITNESS3first
      WhenWITNESS 3 firstbegan  workingatatthe
                          beganworking      theSUBJECT  PREMISES,no
                                                SUBJECTPREMISES,  noone
                                                                     one

      lived on the
      lived on     property besides
               the property besides WITNESS 3, and
                                    WITNESS 3, and the
                                                    the structure thatisis now
                                                        structure that     now the
                                                                               the
      main residence was
      main residence       horse barn.
                     was aahorse        Abouttwo
                                 barn. About  twoyears       the barn
                                                        ago, the
                                                  years ago,     barn was
                                                                      was
      rremodeled        into a
        e m o d e l e d into a rresidence
                                 e s i d e n c e where     S H E I K H rresides.
                                                 w h e r e SHEIKH        esides,

   f.      thefirst
       Forthe
   f. For            twoyears
               firsttwo  years that WITNESS3lived
                                thatWITNESS 3 livedatatthe SUBJECTPREMISES,
                                                        theSUBJECT PREMISES,
      the trailer
      the trailerwhere
                  where he
                        he lived
                           lived did not have
                                 did not have electricity or running
                                              electricity or  running water.
                                                                      water.
      WITNESS 3used
      WITNESS       thefunds
              3 usedthe                smallwages
                                   hissmall
                               fromhis
                        funds from                     purchase the
                                                    to purchase
                                             wages to           the equipment
                                                                    equipment

      needed  to install
      needed to           electricity and
                  install electricity     plumbing last
                                      and plumbing last year.
                                                        year,
      SHEIKHthreatened
   g. SHEIKH
   g.        threatenedWITNESS 3 withcontacting
                       WITNESS3with              thepohce
                                      contactingthe police or
                                                           or immigration
                                                               immigration
      authorities
      authorities ififhe
                       heperformed poorlyororifif she
                         performedpoorly               suspected he
                                                   she suspected         planning to
                                                                    was planning
                                                                 he was           to rrun
                                                                                       un

      away with
      away      someone. WITNESS
           with someone.         3 stated that
                         WITNESS 3stated              made this
                                               SHEIKHmade
                                          that SHEIKH           threat about
                                                           this threat about

      30 times.
      30  times. SHEIKH consideredleaving,
                 SHEIKHconsidered  leaving,but
                                            butdidn’t
                                                didn’thave
                                                       havethe  means of
                                                            the means of
                 anyone outside
      contactinganyone
      contacting        outsideof  the property
                                of the property and he wouldn’t
                                                and he          know who
                                                       wouldn’t know who to
                                                                         to call
                                                                            call
      even if had
      even if had the
                  the ability
                      ability totodo
                                   doso.
                                     so.
      WITNESS3had
   h. WITNESS
   h.               a friendwho
              3 hadafi*iend  whocut  thegrass
                                 cutthe  grassfor a neighborand
                                              for aneighbor      wouldcome
                                                             andwould  come

      over and visit
      over and         him. However,
                visit him.  However, SHEIKH  kickedWITNESS
                                     SHEIKH kicked               friendoff
                                                   WITNESS3’s3’sfriend off the
                                                                           the

                                                    110
                                                      0




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       SUBJECT
       S              R E M I S E S a and
         U B J E C T PPREMISES        n d t told
                                            old WWITNESS
                                                  I T N E S S 33t hthat  e ccould
                                                                    a t hhe  o u l d have
                                                                                     h a v e no
                                                                                              n o more
                                                                                                   more ■

       vvisitors.
         isitors,

    i.i. WITNESS  3 felt
          WITNESS3felt   isolated
                       isolated   becausehe
                                because      didn’t have
                                          he didn’t have aatelephone       the majority
                                                                       for the
                                                            telephone for      majority of
                                                                                        of
       his employment
       his            with SHEIKH.
           employment with          Initially,
                           SHEIKH. Initially, hehehad  a mobiletelephone
                                                   had amobile  telephone and
                                                                          and
       SHEIKHpromised
       SHEIKH          thatshe
              promised that     would keep
                            she would keep his payments up
                                           his payments up to  date. SHEIKH
                                                            to date. SHEIKH
       did not
       did     pay for
           not pay  for his  phone service
                        his phone           andit itwas
                                    serviceand       wasdisconnected.   WITNESS 33lost
                                                          disconnected. WITNESS   lost his
                                                                                       his
       phone contacts
       phone          after his
             contacts after his phone was disconnected.
                                phone was disconnected,

    j.j. Although
          Although SHEIKH
                  SHEIKH promised to to
                           promised     provide
                                      provide        andboard,
                                                roomand
                                              room              she would
                                                         board,she  would only
                                                                          only
       provide WITNESS
       provide         3 withone
               WITNESS 3with      mealaday,
                              one meal        oftenconsisting
                                       a day,often consistingof  a rationofofsoup
                                                              of aration      soup

       or sometimes bread.
       or sometimes bread. WITNESS 3 wouldtypically
                           WITNESS 3would  typicallynot      breakfast or
                                                        have breakfast
                                                     nothave           or lunch.
                                                                           lunch,
    k.       WITNESS3began
       Since WITNESS
    k. Since         3 beganworking  forSHEIKH,
                            workingfor   SHEIKH,  thegates
                                                the         havebeen
                                                      gateshave  been closed
                                                                      closed
       and locked,
       and locked, WITNESS 3 hadakey
                   WITNESS 3had            thepadlock
                                 a keytotothe padlockon  the gate,
                                                      on the gate, but
                                                                   but
       approximately six
       approximately     monthsago,
                     six months      SHEIKHtook
                                ago, SHEIKH took away  the key
                                                 away the         WITNESS 33
                                                               andWITNESS
                                                           keyand
       didn’t  feel he
       didn’t feel     could leave
                    he could        at will.
                              leave at will.

       SHEIKHwas
    1. SHEIKH
    1.            always accusing
              was always          WITNESS 3of
                         accusing WITNESS 3 of stealing her birds
                                               stealingher        and other
                                                            birds and other
                at the
       propertyat
       property    the SUBJECT PREMISES,and
                       SUBJECTPREMISES,  andgiving      stolenitems
                                                    thestolen
                                             givingthe               to his
                                                               itemsto  his
       friends. WITNESS
       friends.         3 toldSHEIKH
                WITNESS3told   SHEIKHhehe
                                        didn’t   haveany
                                          didn’thave      friendsand
                                                      anyfriends  and was
                                                                      was always
                                                                          always
       on her
       on her property. On one
              property. On     occasion, SHEIKH
                           one occasion,  SHEIKH threatened  to cut
                                                 threatened to      off WITNESS
                                                                cut off WITNESS
       3’s hands
       3’s       because he
           hands because    was stealing
                         he was          so much.
                                stealing so much,
   m. WITNESS
   m.           developed aafriendship
      WITNESS 33developed              withWITNESS
                             friendshipwith WITNESS1during    thecourse
                                                    1 duringthe   course of
                                                                         of
       WITNESS I’s
       WITNESS  1’s employment
                    employment in 2013. WITNESS
                               in 2013. WITNESS 11worked for SHEIKH
                                                  worked for SHEIKH and
                                                                    and
       stayed in an
       stayed in an apartment withhis
                    apartment with     wifeononthe
                                   hiswife                  floor of
                                                    second floor
                                                thesecond            her residence.
                                                                  of her residence.
       WITNESS  1’swife
       WITNESS I’s      worked for
                   wife worked for SHEIKH      a briefperiod
                                           for abrief
                                   SHEIKH for          periodofof time, but stopped
                                                                  time, but stopped
              whenSHEIKH
      workingwhen
      working             refusedtotopay
                  SHEIKHrefused             her,saying
                                      p a yher,  sayingthat  thefact
                                                        thatthe  factshe  could live
                                                                      she could live
      at the
      at the residence and that
             residence and  that SHEIKH
                                 SHEIKH paid     husbandshould
                                             her husband
                                         paidher               be enough.
                                                         shouldbe enough.
      WITNESS
      W              l eleft
        I T N E S S 11         h e SSUBJECT
                         f t t the   U B J E C T PPREMISES
                                                  R E M I S E S i ninJ June
                                                                       u n e 22013        a llack
                                                                                      ver a
                                                                              0 1 3 oover     a c k of
                                                                                                    of

               WITNESS3was
      payment. WITNESS
      payment.                           with WITNESS
                                 contact with
                       3 wasinincontact               1 afterhe
                                              WITNESS1after       left and
                                                              he left  and

                                                  l1
                                                  11




                                                                                                  USA000310
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             WITNESS1agreed
             WITNESS I agreedtoto assist himifif WITNESS
                                  assist him             3 wasable
                                                 WITNESS3was           leave the
                                                                    to leave
                                                               ableto        the

              SUBJECT PREMISES.
              SUBJECT           WITNESS 3made
                      PREMISES. WITNESS        arrangements with
                                        3 made arrangements with WITNESS
                                                                 WITNESS 11to
                                                                           to
             leave, and
             leave,     on June
                    and on June 28,  2013,WITNESS
                                28, 2013, WITNESS 33jumped
                                                    jumped over
                                                           over the       fence.
                                                                     back fence.
                                                                 the back

17. SHEIKH was interviewed by GS Webster on July 1, 2013, regarding her employees
  at the SUBJECT PREMISES. This interview consisted of apersonal meeting at the
  SUBJECT PREMISES, as weU as follow up email and telephone calls throughout
  the day. SHEIKH told GS Webster the following information:
           SHEIKHdenied
        a. SHEIKH        thatthe
                  deniedthat      workerslived
                              the workers       in the
                                          livedin  the trailer  located on
                                                        trailer located     the SUBJECT
                                                                        on the   SUBJECT

             PREMISESnear
             PREMISES near the main residence.
                           the main  residence.

        b.   SHEIKH initially denied having an employee named WITNESS 2, however,
             after
             after agents recoveredWITNESS‘2’s
                   agents recovered WITNESS 2’sidentification  documentsfrom
                                                identification documents fromthe
                                                                              the trailer,
                                                                                   trailer,
             SHEIKH stated that
             SHEIKH stated that he had worked
                                he had workedfor
                                              forher
                                                  herintermittently.
                                                       intermittently,
            SHEIKHstated
        c. SHEIKH  statedshe paidWITNESS
                          shepaid WITNESS3and WITNESS2in
                                         3 andWITNESS           foreach
                                                           cashfor
                                                      2 incash      eachjob
                                                                        job
             that they
             that  they performed
                        performedand  thatthey
                                  andthat       didnot
                                           theydid     liveon
                                                   notlive    the property
                                                           on the          or work
                                                                  property or      for her
                                                                              work for her
             full time.
             full        SHEIKHsaid
                  time. SHEIKH  saidthat         hadno
                                            theyhad
                                      thatthey          set work
                                                     no set work schedule.
                                                                 schedule,

        d. SHEIKH told GS Webster that she is aMedical Doctor with aspecialty in
             Neurology.  (Accordingtoto open
             Neurology. (According                   information, SHEIKH
                                             source information,
                                        open source                       is board
                                                                  SHEIKH is  board certified
                                                                                    certified
             in Neurology
             in Neurology and  is afiiliated
                          and is              with well-known
                                   affiliated with                      in the
                                                              hospitals in
                                                   well-known hospitals    the Sacramento
                                                                               Sacramento

             area and
             area and has  private practice.)
                       hasaaprivate practice.)
        SHEIKHsaid
    e. SHEIKH       thatthe
               saidthat   thegates
                              gateson  herproperty
                                    onher  propertywere  locked to
                                                   were locked  to keep out intruders
                                                                   keep out  intruders
             and to
             and to deter her employees
                    deter her employees from
                                         from stealing.
                                               stealing.
    f        SHEIKH
             S              a t e d t hthat
               H E I K H s tstated            h e hhad
                                        a t s she        i d e o surveillance
                                                   a d vvideo                              a m e r a s installed
                                                                 s u r v e i l l a n c e ccameras      i n s t a l l e d oon
                                                                                                                           n her
                                                                                                                             her

             property     order to
             propertyinin order to prevent
                                   prevent the employees from
                                           the employees  from stealing.
                                                                stealing.

             During the interview at the SUBJECT PREMISES, SHEIKH retrieved a
                       SHEIKH
             computer.SHEIKH
             computer.          claimed
                             claimed  notnot     resideatat the
                                          to toreside        the residence
                                                                 residence from where she
                                                                           from where she

             retrieved the computer.
             retrievedthe             SHEIKH
                           computer. SHEIKH   claimed
                                            claimed      liveinin aseparate
                                                    totohve       a separatehouse on the
                                                                             houseon the


                                                                12




                                                                                                                        USA00031
                                                                                                                        U S A 0 0 0 3 1 11
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         property  towardthe
         property toward  the east. Thatresidence
                              east. That residencewas not visible
                                                  was not         from where
                                                          visible from where the
                                                                             the

         interview with SHEIKH
         interviewwith         took place,
                        SHEIKHtook  place.
    ‘ h. SHEIKHalleged
      h. SHEIKH         thather
                allegedthat  heremployees  stolebirds,
                                 employeesstole  birds,goats, palmtrees
                                                        goats,palm trees and tools
                                                                         and tools
         from her and
         from her     said that
                  and said            the employees
                           that ifif the            wantedto
                                          employees wanted     leave they
                                                           to leave  they had to ask
                                                                          had to ask her
                                                                                     her

         for the
         for       key totounlock
              the key       unlockthe   gate.SHEIKH
                                    thegate.          beheved that
                                              SHEIKH believed  that WITNESS
                                                                    WITNESS 33was
                                                                              was

         stealingthings
         stealing               the SUBJECT
                          from the
                  things from               PREMISESand
                                    SUBJECT PREMISES     told him
                                                     andtold  him that
                                                                  that ifif he
                                                                            he
         continuedto
         continued to work  for her,
                      work for  her,she
                                     she would deduct money
                                         would deduct money from hiswages
                                                            fromhis       for the
                                                                    wages for the
         iitems
           t e m s tthat
                     h a t hhad  b e e n taken.
                             a d been     taken,

            SHEIKH
      i.i. SHEIKH   stated
                  stated   that
                         that        treatedthe
                                shetreated
                              she             theemployees
                                                  employeeson   the SUBJECT
                                                            on the          PREMISES
                                                                    SUBJECT PREMISES
              and that
         well and
         well           although WITNESS
                   that although         3 and WITNESS
                                 WITNESS 3and          2 didn’tHve
                                               WITNESS2didn’t   liveon
                                                                    on her
                                                                       her

         property,      took them
                   she took
         property,she         themto  Winco on
                                   to Winco on several
                                               several occasions
                                                       occasions and       for their
                                                                     paid for
                                                                 and paid       their
         clothing
         clothing and accessories. SHEIKH
                  and accessories.        stated that
                                   SHEIKH stated       she could
                                                  that she        produce aareceipt
                                                           could produce    receipt
         from Winco for
         from Winco     those purchases
                    for those purchases and thatshe
                                        and that     scans all
                                                 she scans     her receipts
                                                           all her receipts on to her
                                                                            on to her
         laptop            SHEIKH
                computer. SHEIKH
         laptop computer.             askedtoto provide
                                  wasasked
                                 was                    the receipt
                                                providethe           that day
                                                            receipt that      but was
                                                                          day but was
         unable
         u n a b l e tto r e t r i e v e ii tt ..
                       o retrieve

     j.j. SHEIKH
           SHEIKH  stated
                 stated   that
                        that   WITNESS
                             WITNESS   3 used
                                     3used to to workforforher
                                               work         herand
                                                                andshe       him $400
                                                                        paid him
                                                                    she paid     $400
                  butthat
         a month,but
         amonth,      thathe  longer worked
                           he longer worked for   her. SHEIKH
                                             for her.         stated that
                                                       SHEIKH stated      about three
                                                                     that about  three
         monthsago,
         months      she told
                ago, she  told WITNESS 3 thathe
                               WITNESS 3that    wasn’temployed
                                              hewasn’t employedby  herand
                                                                byher and she
                                                                          she
         couldn’t pay
         couldn’t     him but
                  pay him     that WITNESS
                          but that         3 wouldshow
                                   WITNESS 3would  showup      work an5rway.
                                                           and work
                                                        up and      anyway.

         SHEIKHsaid
         SHEIKH saidshe  stillpaid
                     shestiU       himfrom
                              paidhim  fromtime
                                            timetototime
                                                     timeso
                                                          sothat    could buy
                                                                  hecould
                                                            that he           food
                                                                          buy food
         and
         and find
              find aajob.              weeks ago,
                          A coupleofof weeks
                     job. Acouple            ago, WITNESS   told SHEIKH
                                                  WITNESS 33told         thathe
                                                                 SHEIKH that he had
                                                                                had
        “no food”
        “no food” soSHEIKH  gave WITNESS
                  so SHEIKH gave WITNESS 3some  bread and
                                         3 some bread and gave  him$25
                                                           gave him $25 aa
        couple of
        couple of days  after that.
                  days after   that.

18.  public records
18.AApublic         database indicated
            records database  indicated that   the SHEIKH
                                         that the          family trust
                                                    SHEIKH family       owns three
                                                                  trust owns  three
  propertiesin
  properties    Elk Grove.
             in Elk Grove, California;  three in
                           California; three      Sacramento, Cahfornia;
                                               in Sacramento,             andone
                                                              California;and one in
                                                                                 in
  Wilton, California.
  Wilton, California.



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